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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

THE UNITED STATES OF AMERICA                 COMPLAINT FOR DAMAGES
     ex rel. Wayne Allison, Relator, and     UNDER THE FEDERAL AND
THE STATE OF OKLAHOMA                        OKLAHOMA FALSE CLAIMS
     ex rel. Wayne Allison, Relator,         ACTS AND DEMAND FOR
     Plaintiffs,                             JURY TRIAL

v.                                                 Case No. CIV-16-569-F
                                                   Hon. Stephen P. Friot
1. SOUTHWEST ORTHOPAEDIC
    SPECIALISTS, PLLC,
2. OKLAHOMA CENTER FOR
    ORTHOPAEDIC &
    MULTISPECIALTY SURGERY, LLC,
3. USP OKLAHOMA, INC.,
4. USPI HOLDING COMPANY, INC.,
5. USP INTERNATIONAL, INC.,
6. TENET HEALTHCARE
    CORPORATION,
7. UAP OF OKLAHOMA, LLC,
8. ANESTHESIA PARTNERS OF
    OKLAHOMA, LLC,
9. INTEGRIS AMBULATORY CARE
    CORPORATION,
10. INTEGRIS SOUTH OKLAHOMA CITY
    HOSPITAL CORPORATION,
11. ANTHONY L. CRUSE, D.O.,
12. R.J. LANGERMAN, JR., D.O.,
13. DANIEL J. JONES, M.D.,
14. MEHDI ADHAM, M.D.,
15. DEREK WEST, D.O.,
16. BRIAN LEVINGS, D.O.,
17. SHANE HUME, D.O.,
18. BRAD REDDICK, D.O.,
19. KRISTOPHER AVANT, D.O.,
20. STEVE HENDLEY, and
21. MICHAEL KIMZEY,
      Defendants.

              PLAINTIFF’S SECOND AMENDED COMPLAINT
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         Relator WAYNE ALLISON brings this suit on behalf of the United States of

America and the State of Oklahoma against Defendants pursuant to the Federal Civil False

Claims Act (“FCA”), 31 U.S.C §§ 3729, et seq., and the Oklahoma Medicaid False Claims

Act (“OKFCA”), 63 O.S. § 5053, et seq., and states as follows:

                                  I.      INTRODUCTION

A.       OVERVIEW OF DEFENDANTS’ CONDUCT

         1.     This case involves unlawful conduct by and a conspiracy among numerous

Oklahoma orthopedic surgeons, their clinical practice group, the surgical hospital they

created, and the corporate entities who purchased and/or control the surgical hospital.1

Defendants conspired to defraud Medicare, Medicaid, TriCare, and other federal healthcare

programs through multiple unlawful schemes. Defendants based years of medical decision-

making, including their referral and provision of federally-reimbursed healthcare services,

on greed by using illegal kickbacks, unlawful compensation, and unearned

reimbursements. This wrongful profit came at the expense of the integrity of federally-

reimbursed, tax payer-funded healthcare programs. In attempting to extract every dollar of

potential revenue from their practice, Defendants violated the very healthcare laws

designed to protect that integrity.

         2.     Defendants’ unlawful conduct and fraudulent schemes arise from their

entangled history of using their patient referrals and various entities as a self-interested,



1
    Relator provides a detailed description of each Defendant in Section II (“Parties”), infra.

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profit-oriented, multi-million-dollar money-making machine. That history began in 1995,

when Defendant Drs. Cruse and Langerman established Defendant Southwest Orthopedic

Specialists, PLLC (“SOS”), an orthopedic surgery clinical practice. Cruse and Langerman

recruited a group of surgeons to practice with them (collectively, the “SOS Doctors”). SOS

hired Relator in 2002 as its administrator and business manager; Relator acquired the

information he alleged herein during the course of his employment with SOS. Also in 2002,

Cruse, Langerman, and the SOS Doctors built and opened Defendant Oklahoma Center for

Orthopaedic and Multispecialty Surgery, LLC (“OCOM”), a surgical specialty hospital. In

2004, Cruse, Langerman, and the SOS Doctors partially sold OCOM to a national

healthcare provider, Defendant USP Oklahoma, Inc., a subsidiary of Defendant United

Surgical Partners International, Inc. (“USPI”).2 When USP purchased an equity interest in

and took over management of OCOM, the SOS Doctors and OCOM (with USP’s and later

Tenet’s consent and knowledge) entered into a series of financial relationships and

kickbacks that plainly violate the FCA and OKFCA. For over a decade, OCOM annually

derived tens of millions of dollars of revenue from tainted referrals from the SOS Doctors.

       3.     The OCOM Defendants equally and enthusiastically matched the SOS

Doctors’ willingness to violate federal law.3 OCOM and USP had the power to stop the


2
  At that time, United Surgical Partners, Inc. was a publicly traded company; it and its more
than 700 subsidiaries are now majority owned by Tenet Healthcare Corp. and are therefore
subsidiaries of Defendant Tenet Healthcare Corp.
3
 Relator provides a detailed description of each Defendant in Section II (“Parties”), infra.
The OCOM Defendants include OCOM, USP, USPI, USPH, UAP, APO, Tenet, Kimzey
and Hendley.

                                             3
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SOS Doctors, but instead enabled the Schemes. OCOM depends on SOS for approximately

two-thirds of its revenue, so OCOM readily acquiesced to, and indeed promoted and

facilitated, SOS’s demands and abuses that violated federal and state law. Together, the

SOS Doctors and OCOM contrived multiple schemes to pay unlawful kickbacks,

compensation, perks, and benefits to those SOS Doctors who referred to OCOM the

greatest volume and value of federally-reimbursed healthcare services. This blatantly

illegal conduct subjects Defendants to liability under the Stark Law, AKS, FCA, and

OKFCA for damages and civil penalties.

       4.     Since USP purchased a portion of OCOM in July 2004, the relationship

between SOS and OCOM has been illegally tainted by unlawful financial relationships and

illegal kickbacks. As a result, healthcare reimbursement claims Defendants submitted to

the federal government and the State of Oklahoma violate healthcare laws.

       5.     Healthcare fraud is an urgent public matter.4 The manipulation of federal

healthcare reimbursements costs the American taxpayers billions of dollars each year.

Congress expects its Medicare and Medicaid providers to use taxpayer funds

appropriately—i.e., to base their decisions about patient care on their patients’ best

interests, not their own profit. Congress provides detailed guidance as to what constitutes


4
  Since 2000, the detection and elimination of health care fraud and abuse has been a “top
priority of federal law enforcement.” The Department of Health and Human Services and
the Department of Justice Health Care Fraud and Abuse Control Program, Annual Report
of the Attorney General and the Secretary Detailing Expenditures and Revenues under the
Healthcare Fraud and Abuse Control Program for Fiscal Year 1999 (Jan. 2000), available
at: https://oig.hhs.gov/publications/docs/hcfac/HCFAC%20Annual%20Report%20FY%
201999.htm (last visited March 23, 2018).

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permissible (and impermissible) conduct. Further, it condemns those providers—like

Defendants—who prioritize their own greed over patient care. As such, Congress has

expressly prohibited and even criminalized conduct most likely to lead to improperly-

motivated referrals of healthcare services. Congress enacted these prohibitions to protect

the integrity of the federal healthcare programs. The severity of the remedies in these laws

demonstrates how seriously the government takes the prohibited conduct. In lockstep with

Congressional intent, the State of Oklahoma also combats healthcare fraud at the state level

by prohibiting such conduct. That conduct—namely, the referral of services pursuant to

improper relationships, the solicitation or receipt of kickbacks for referrals, and the

submission of false claims for reimbursement to the government—is the conduct

Defendants have perpetrated for years.

       6.     Despite Defendants’ awareness of the government’s expectations and

prohibitions, Defendants’ conduct demonstrates they consistently and deliberately based

their decision-making on profit and greed in knowing and reckless disregard of the law.

Defendants’ violations cost the federal government and the State of Oklahoma millions of

dollars each year in tainted and/or unwarranted reimbursements for federal healthcare

services.5 Defendants’ fraudulent conduct shares a common theme, which was fittingly

expressed by OCOM’s Chairman, Medical Director—SOS Doctor Cruse—who said, “we



5
  Defendants referred patients and services covered and reimbursed by all federally-funded
healthcare programs under which medical providers are subject to the healthcare laws,
including Medicare, Medicaid, TriCare/CHAMPUS, Blue Cross Blue Shield Federal, etc.
Defendants submitted false claims for reimbursement to these entities.

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do the bulk of the work, and therefore I think we need to get the bulk of [the OCOM

Equity],” and OCOM’s CEO, Kimzey (a USP employee), who said “my whole point is,

let’s get [the OCOM Equity] to SOS...it’s the status quo. I mean this is how this place was

built and it works pretty well.”

         7.     Improper Financial Relationships and Kickbacks Between the SOS

Defendants and OCOM Defendants: Relator alleges two core financial relationships, or

“Schemes,” between SOS and the SOS Doctors (“SOS Defendants”), on one hand, and

OCOM, USP, USPI, USPH, and Tenet (“OCOM Defendants”), on the other. These

Schemes violate the Stark Law, AKS, FCA, and/or OKFCA. While temporally overlapping

and cumulative to some extent, these Schemes taint all reimbursements OCOM received

from the Government6 resulting from referrals from SOS Doctors from at least 2007 under

the Stark Law, AKS, FCA, and/or OKFCA.7 The SOS Defendants and the OCOM

Defendants employed these two core improper financial relationships—the Equity Scheme

and the Employment Agreement Scheme—to reward SOS Doctors for past referrals and

incentivize future referrals to OCOM.

                a.      The Equity Scheme—Using OCOM Equity to Reward and

Incentivize SOS Doctors: First, the SOS Defendants and OCOM Defendants used a series

of transactions (the “Equity Scheme”) to transfer OCOM Equity to SOS Doctors in clear


6
 As used in this Complaint, “Government” refers to the government of the United States,
CMS, other federal healthcare authorities, government of the State of Oklahoma, and/or
Oklahoma Medicaid authorities, as applicable.
7
    Relator details each of these schemes in detail in Section V (“Factual Allegations”), infra.

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violation of both the OCOM Operating Agreement and the Stark Law and/or AKS. The

Equity Scheme used highly valuable OCOM Equity—which should have been made

available to all physician owners of OCOM (including approximately eighteen non-SOS

physicians)—to reward and incentivize the SOS Doctors who referred to OCOM the

majority of its business. Although the hospital’s operating agreement requires the OCOM

board to offer available equity to all OCOM owners, the SOS Doctors exploited their

influence and control over the OCOM board to ensure that the SOS Doctors who referred

the greatest volume and value of services to the hospital got the first opportunity to

purchase shares that became available. OCOM’s managers and corporate parents allowed

this conduct because it fostered much-needed revenue for the hospital and kept its most

profitable referrers—the SOS Doctors—happy. This conduct is illegal and fraudulent

because the hospital submits claims for reimbursement to and receives reimbursement from

federally-funded healthcare programs for services rendered pursuant to this improper

relationship. The Equity Scheme involved a series of transactions that began in 2012 at the

latest and continued at least until 2016.

              b.     The Employment Contract Scheme—OCOM Shouldered the

Cost and Risk of Recruiting New SOS Doctors: Second, the SOS Defendants and OCOM

Defendants further exploited their muddied relationship through an improper physician

employment contract and space rental arrangement, whereby OCOM bore all the cost, risk,

and burden of recruiting new SOS Doctors while SOS enjoyed only the upside (the

“Employment Contract Scheme”). For over ten years, this new physician employment

agreement with OCOM provided a bonus at the end of the agreement, which the new

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physician then earned only by joining SOS. This agreement offloaded a significant cost of

SOS’s medical practice—the recruitment of new physicians—to OCOM. OCOM

undertook this costly burden to appease the SOS Doctors and ensure their continued high

volume of high value referrals. The Employment Contract Scheme began in 2007 and ran

until December 2016. The SOS and OCOM Defendants abruptly terminated the

Employment Contract Scheme after Tenet executed its September 30, 2016 Non-

Prosecution Agreement (“NPA”).8 Given how blatantly this scheme violated the law, the

SOS and OCOM Defendants likely feared reprisal from Tenet for threatening its NPA

compliance if the Tenet Monitor discovered the Scheme.

                c.    The Equity and Employment Contract Scheme—2007 to Present:

When considered together, the Equity and Employment Contract Schemes subject all

Governmental reimbursements to OCOM from 2007 to the present resulting from SOS

referrals to recovery and trebling under the Stark Law, AKS, FCA, and/or OKFCA, in

addition to statutorily-prescribed per-claim penalties provided in each.

                d.    Additional Schemes Between the SOS Defendants and the OCOM

Defendants: The Equity and Employment Contract Schemes are sufficient to reach all

Government reimbursements to OCOM resulting from SOS referrals beginning in 2007.

However, the SOS Defendants and the OCOM Defendants entered into four additional

financial relationships and kickbacks that also violate the Stark Law, AKS, FCA, and/or

OKFCA. Although these four additional Schemes are cumulative (in the sense that they


8
    Relator details the Tenet Non-Prosecution Agreement in Sections IV.F. and V.G., infra.

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reach the same Government reimbursements as the Equity and Employment Contract

Schemes), the presence of these four additional Schemes (a) demonstrates that the entire

relationship between the SOS Defendants and the OCOM Defendants is fraught with illegal

and improper financial relationships and kickbacks; and (b) confirms that the SOS

Defendants and OCOM Defendants acted with knowledge and intent (as broadly defined

by the AKS, FCA, and/or OKFCA, as applicable), which gives rise to treble damages under

the FCA and OKFCA. The four additional Schemes as between the SOS Defendants and

OCOM Defendants are:

                     i.    The Surgical Scrub Scheme: The OCOM Defendants paid the

majority of the cost of personal medical assistants for Cruse and Langerman because Cruse

and Langerman were the most profitable and influential referring physicians (the “Surgical

Scrub Scheme”). OCOM offered this perk exclusively to Cruse and Langerman in

consideration of their influence, control, and ability to pad the OCOM Defendants’ pockets

with profit.

                    ii.    The Sham Lease Scheme: OCOM entered into a sham and

commercially unreasonable lease of an empty building owned by Cruse and Langerman to

appease Cruse and Langerman and reward them for their high volume of referrals (the

“Sham Lease Scheme”). OCOM perpetuated the sham building lease long after its

commercially-justifiable need for the leased space ceased. It perpetuated the lease solely

as a means to pay off Cruse and Langerman in exchange for their high volume of high

value referrals.

                   iii.    The Office Space Scheme: OCOM provided Cruse free office

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space in exchange for his referrals and influence (the “Office Space Scheme”). Cruse used

this free office space to manage his personal affairs.

                   iv.         The Credit Card Scheme: In a remarkably audacious

concession, which reveals Cruse’s influence over OCOM and OCOM’s acquiescence to

Cruse, OCOM allowed Cruse to use his personal credit card to purchase OCOM surgical

equipment so that Cruse could rack up reward points (the “Credit Card Scheme”). Cruse

then used the points to purchase personal flights to his many favorite vacation destinations.

              e.         Each of these four Schemes separately violates the Stark Law, AKS,

FCA, and/or OKFCA and would allow the Government to recover all Government

reimbursements to OCOM resulting from SOS Doctor referrals during the duration of the

Scheme. When these four schemes are considered together, and in combination with the

Equity and Employment Contract Schemes, the relationship between the SOS Defendants

and the OCOM Defendants is so tainted with improper financial relationships and

kickbacks that all OCOM reimbursements from the Government from at least 2007 to the

present are reachable by the Stark Law, AKS, FCA, and OKFCA.

       8.     The Anesthesia Company Scheme: The SOS Defendants and the OCOM

Defendants further violated the Stark Law, AKS, FCA, and/or OKFCA by forming and

operating Anesthesia Partners of Oklahoma, LLC (“APO”), which they designed and used

to refer designated health services to themselves (the “Anesthesia Company Scheme”).

OCOM’s CEO initiated the creation of APO as OCOM’s exclusive anesthesia service

provider. APO’s ownership was a private club comprised of only the SOS Doctors, USP,

and Kimzey (individually). APO’s profit distribution to these owners depended directly on

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the volume and value of the SOS Doctors’ referrals to OCOM. The SOS Doctors, USP,

and Kimzey formed the company to provide exclusive anesthesia services at OCOM,

driving additional profits to themselves. In doing so, they created a textbook self-referring

financial and kickback relationship. Referrals to OCOM constituted referrals to APO by

virtue of the exclusive relationship. The owners of APO had full control over OCOM; even

OCOM’s CEO, Kimzey, owned part of APO. According to its most recent Form 10-K,

Tenet owns through USPI/USPH twenty-two companies similar to UAP Oklahoma. As

Kimzey stated to Relator, Tenet and USP perpetuated this scheme across the U.S., with

each such company using a USP-supplied kit comprised of boilerplate corporate formation

and governance documents.9

       9.     USP has propagated their uniform anesthesia model in six states since at least

2012. Based on Relator’s firsthand exposure to the Oklahoma model and Kimzey’s

representation to Relator that the Oklahoma model was set up and operated the same as

other states’, Relator alleges that all of the USP anesthesia companies (i.e., the “UAP”

companies) are engaged in identical unlawful activities. Because USP alone possesses and



9
  Tenet’s SEC 10-K filing lists 22 subsidiaries named “…UAP…,” including: Dreamland
UAP Anesthesia, LLC (MO); Eye Center of Nashville UAP, LLC (TN); Franklin Endo
UAP, LLC (TN); GLS UAP Sugarland, LLC (TX); JFP UAP Sugarland, LLC (TX); Lee’s
Summit Endo UAP, LLC (MO); Mid State Endo UAP, LLC (TN); SKV UAP Sugarland,
LLC (TX); UAP Chattanooga Pain, LLC (TN); UAP Las Colinas Endo, LLC (TX); UAP
Lebanon Endo, LLC (TN); UAP Nashville Endoscopy, LLC (TN); UAP of Arizona, Inc.
(AZ); UAP of California, Inc. (CA); UAP of Missouri, Inc. (MO); UAP of New Jersey,
Inc. (NJ); UAP of Oklahoma, Inc. (OK); UAP of Tennessee, Inc. (TN); UAP of Texas, Inc.
(TX); UAP Sacramento, PC (CA); UAP San Antonio Endo, LLC (TX); UAP Scopes, LLC
(TX).

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controls all of the specific information on each states’ corporations’ structures, Relator

does not know each states’ specific anesthesia companies or their owners; however,

because all such states’ companies’ operations and structures are designed using the

USPH/USPI-provided corporate structure and documents used in Oklahoma, Relator

alleges each operate virtually identically.

       10.    Like Defendants’ Employment Contract Scheme, USP ordered Kimzey to

dismantle the anesthesia company expeditiously by selling its shares back to the SOS

Doctors in fear of Tenet’s reprisal after Tenet entered into its NPA. Because of the improper

financial relationship and kickbacks between the SOS Defendants and the OCOM

Defendants with respect to APO, all Government reimbursements to APO from referrals

from SOS Doctors (as well as all government reimbursements to analogous USP-formed

anesthesia companies nationwide) are subject to recovery under the Stark Law, AKS, FCA,

and/or state analogue laws.

       11.    The E.R. Call Scheme: The financial relationships and kickbacks between

the SOS Defendants, on one hand, and Integris Ambulatory Care Corporation (“Integris”)

and Integris South Oklahoma City Hospital Corporation (“ISMC”) (collectively “Integris

Defendants”), on the other hand, also violate the Stark Law, AKS, FCA, and/or OKFCA.

As a result, all Government reimbursements to Integris resulting from referrals from SOS

Doctors from at least August 2014 to present were improper. Additionally, all Government

reimbursements to the SOS Defendants resulting from ISMC Emergency Room (“E.R.”)

referrals were improper. Specifically, the SOS Defendants and the Integris Defendants

entered into an unlawful contract for exclusive E.R. orthopedic call services (the “E.R. Call

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Scheme”). While the contract may have been facially compliant, Integris imposed an

unwritten but mutually-agreed condition before excluding other orthopedists and giving

the SOS Doctors exclusivity: that the SOS Doctors were to “do more volume there.” The

SOS Doctors complied readily, resulting in a clear quid pro quo Stark and AKS violation.

Defendants structured an unlawful contract for E.R. exclusivity whereby Integris offered

the SOS doctors exclusive rights to perform E.R. services in an Integris facility, and in

exchange, the SOS Doctors traded performing more non-trauma, elective surgeries at

Integris.

       12.   The SOS Defendants’ Direct Submission of False Claims: Finally, the

SOS Defendants used two additional Schemes to defraud the Government through the

direct submission of false claims for reimbursement. While these direct fraudulent

reimbursement Schemes likely resulted in fewer false claims than those outlined above, the

existence of these independent Schemes in the milieu of the pervasive improper financial

relationships and kickbacks between the SOS Defendants and the OCOM Defendants

further confirms the SOS Doctors’ knowing, greed-driven approach to medical practice

and their blatant disregard for federal and Oklahoma law.

             a.     The Ultrasound Scheme: Defendants submitted false claims for

ultrasound needle guidance that was (1) performed when not medically necessary; (2)

never actually performed; or (3) performed by a Physician Assistant (“P.A.”) without the

required supervision (the “Ultrasound Scheme”);

             b.     The Levings P.A. Scheme: The SOS Defendants fraudulently billed

for Levings’ P.A. services, which were never actually provided (the “Levings P.A.

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Scheme”).

       13.    The SOS Doctors’ Other Wrongful Conduct: Throughout the Complaint,

Relator describes additional wrongful conduct by the SOS Doctors related to the practice

of medicine and compliance with state and federal law. This misconduct both (a) supports

Relator’s allegation that certain Defendants retaliated against him in reprisal for his attempt

to ensure compliance and proper claims protocol; and (b) provides an additional basis for

recovery under the FCA and OKFCA. For example, many of the SOS Doctors frequently

pre-signed their prescription pads in blatant violation of the law. They used “cheat sheets”

to coach their staff to circumvent preauthorization screenings and expedite high-value

reimbursements. Throughout his tenure, Relator cautioned Defendants about the potential

for fraud inherent to their bad acts. Ultimately, this earned him nothing less than an abrupt

termination without either a reason or payment of amounts due him at termination.

       14.    Defendants’ Scienter: Defendants had notice of the illegality of their

conduct for many years. CMS provided Defendants—as certified medical providers and

facilities—with countless regulatory and compliance advisories.10 The Government

charged Defendants with knowledge of the relevant laws impacting their provision of

federally-reimbursed services. Defendants frequently certified their compliance with those



10
  The Center for Medicare and Medicaid Services (“CMS”) is the federal agency within
the U.S. Department of Health and Human Services that administers the Medicare program
and partners with state governments to administer Medicaid, the Children’s Health
Insurance Program, and health insurance portability standards. Examples of CMS
regulation and guidance are available at https://www.cms.gov/Regulations-and-
Guidance/Regulations-and-Guidance.html (last visited March 22, 2018).

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laws, including when they sought partial reimbursement for the cost of implementing a

certified electronic medical records system. Additionally, Relator, as SOS’s business

administrator, repeatedly informed SOS about the potential for fraud in their wrongful

practices. In response to these warnings, the SOS and OCOM Defendants retaliated against

Relator by harassing, demoting, and ultimately terminating him. SOS immediately

replaced Relator with the former CEO of Integris, with whom the SOS Doctors previously

orchestrated the exclusive orthopedic E.R. Call services agreement.11

         15.    Tenet’s Non-Prosecution Agreement: Defendant Tenet Healthcare

Corporation (“Tenet”) acquired significant ownership of the OCOM Defendants in mid-

2015 (through its purchase of USPH). Shortly thereafter, on September 30, 2016, Tenet

entered into a Consent Decree and NPA with the Department of Justice in response to

unrelated, but similar, violations of the healthcare integrity laws.12 The NPA obligates

Tenet and its “affiliates and subsidiaries, or any of their present or former officers,

directors, employees, agents, and consultants” to report promptly any “evidence or

allegations of actual or potential” AKS violations to the U.S. Attorney’s Office and/or its

appointed compliance monitor. Further, the NPA obligates Tenet to a heightened diligence

in acquiring and operating healthcare practices. All OCOM Defendants are subject to the


11
   The SOS Defendants further retaliated against Relator by filing a harassing lawsuit
against him in state court under the suspicion that he had filed this FCA claim. As detailed
in Section V.F., infra, Defendants have taken great steps to silence Relator and keep secret
their many knowing violations. In doing so, these Defendants breached Relator’s
employment agreement and further violated the FCA and OKFCA.
12
     See Section IV (“Legal Framework”), infra.

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terms of the NPA after Tenet’s purchase of USPH. Tenet and the other OCOM Defendants

stand in violation of that NPA. As explained below, Tenet likely acquired full knowledge

of the fraud centered around the SOS Defendants and OCOM and subsequently either

failed to disclose it or actually took action to conceal it. This failure violated the NPA and

further violated the FCA and OKFCA.

B.     IMPACT OF DEFENDANTS VIOLATIONS OF THE STARK LAW, AKS, FCA, AND
       OKFCA

       16.    The SOS Defendants stand at the center of the various improper financial

relationships and kickbacks that form the basis of Relator’s Complaint. The following

Tables I summarizes the improper financial relationships and kickbacks that exist or

existed between the SOS Defendants and other Defendants:

        Table I: Improper Financial Relationships and Kickbacks that Violate
                      the Stark Law, AKS, FCA, and/or OKFCA
                       Improper
                                                                      Relator’s
   Defendants          Financial      Applicable     Applicable
                                                                      Damage
    Involved        Relationship        Years          Statutes
                                                                      Estimate
                   &/or Kickbacks
                        Equity         2012 to       Stark, AKS,
 The SOS &              Scheme         Present     FCA, & OKFCA
 OCOM                Employment        2007 to       Stark, AKS,
 defendants;       Contract Scheme      2017       FCA,  & OKFCA Single
 tainted            Surgery Scrub      2004 to       Stark, AKS,   damages of
 referrals of           Scheme         Present     FCA,  &  OKFCA  $100 to $150
 federally-          Sham   Lease                    Stark, AKS,   million from
                                        2015
 reimbursed             Scheme                     FCA,  &  OKFCA  2007 through
 healthcare         Office Space       2007 to       Stark, AKS,   2017.
 services to            Scheme         Present     FCA,  &  OKFCA
 OCOM                Credit Card       At Least      Stark, AKS,
                        Scheme          2011       FCA, & OKFCA




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       Table I: Improper Financial Relationships and Kickbacks that Violate
               the Stark Law, AKS, FCA, and/or OKFCA (Continued)
                      Improper
                                                                     Relator’s
  Defendants          Financial     Applicable      Applicable
                                                                      Damage
   Involved       Relationship &/or     Years         Statutes
                                                                     Estimate
                      Kickbacks
The SOS &                                                         Single
OCOM                                                              damages of
Defendants;           Anesthesia                    Stark, AKS,   $1.5 million
                                        2016
formation,         Company Scheme                 FCA, & OKFCA from Gov.
ownership of                                                      reimbursement
APO                                                               to APO
                                                                  Up to approx.
                                                                  $30 million
USPI &                                                            per year for
USPH;                                                             Gov.
                       National       From at
formation,                                          Stark, AKS,   reimbursement
                      Anesthesia     least 2012
ownership of                                      FCA, & OKFCA to other USP
                   Company Scheme      to 2016
UAP entities                                                      formed &
nationally                                                        managed
                                                                  anesthesia
                                                                  companies.
The SOS &
Integris
Defendants;
tainted                                                           Single
referrals of                                                      damages of
federally-                             2014 to      Stark, AKS,   $5.05 million
                   E.R. Call Scheme
reimbursed                             Present    FCA, & OKFCA from Gov.
healthcare                                                        reimbursement
services to                                                       to Integris.
Integris South
Oklahoma
City Hospital

      17.   The SOS Defendants also engaged in separate healthcare fraud in violation

of the FCA and OKFCA through the Ultrasound Scheme and the Levings P.A. Scheme.

The following Table II summarizes the SOS Defendants’ independently perpetrated

Schemes:


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           Table II: Independent Schemes that Violate the FCA and OKFCA
                                                                            Relator’s
     Defendants      Description      Applicable       Applicable
                                                                            Damages
      Involved       of Scheme          Years           Statutes
                                                                            Estimate
                                                                    $250,000 in single
 The SOS                 Ultrasound     2013 to         FCA &
                                                                    damages attributable to
 Defendants               Scheme         2014           OKFCA
                                                                    the Ultrasound Scheme13
                                                                    $500,000 in single
 The SOS             Levings P.A.       2014 to         FCA &       damages from
 Defendants            Scheme            2016           OKFCA       Governmental
                                                                    reimbursements to SOS.

         18.     Relator estimates single damages of $100 to $150 million from tainted

referrals pursuant to the Equity, Employment Contract, Surgical Scrub, Sham Lease, Office

Space, and Credit Card Schemes from SOS Doctors to OCOM from 2007 through 2017

(recognizing that some of these schemes overlap chronologically and, therefore, are

cumulative). Relator estimates $1.5 million per year in single damages from Governmental

reimbursements to APO pursuant to the Anesthesia Scheme, and another estimated $30

million per year from the analogous anesthesia companies formed and managed by USPI

and USPH in other states through one or more affiliates. Relator estimates $5.05 million in

single damages from Governmental reimbursements to Integris pursuant to the E.R. Call

Scheme. Relator estimates $250,000 in single damages attributable to the Ultrasound

Scheme.        Relator     estimates $500,000 in single       damages from Governmental



13
  From December 2012 through February 2014, the SOS Doctors and their PA’s employed
the Ultrasound Scheme approximately 4,500 times, on over 1,500 federal healthcare
program patients, and submitted claims for and received over $750,000 in total
reimbursement for CPT 76942, with over $250,000 of that from federal healthcare
programs.

                                                  18
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reimbursements to SOS pursuant to the Levings P.A. Scheme. In sum, Relator estimates

that a conservative single damages estimate may be as high as $158,000,000, subject to

FCA/OKFCA trebling and damages for knowing submission of false claims.

       19.    Relator has made these allegations from his direct and independent

knowledge of Defendants’ fraud, which he acquired while employed as Defendant SOS’s

Administrator and Business Manager from April 2002 until his retaliatory termination in

January 2017. Relator filed his original qui tam complaint against the Defendants while

still in their employ in May 2016.

                                      II.   PARTIES

A.     RELATOR

       20.    Relator WAYNE ALLISON (“Relator”) is citizen of the United States who

resides in the State of Oklahoma. Relator served as Administrator of Defendant Southwest

Orthopaedic Specialists, PLLC, from April 2002 until January 2017 in either a full time,

part time, or contractual capacity.

       21.    During Relator’s tenure with SOS, Relator personally financed his legal

education and attended Oklahoma City School of Law at night. He graduated Summa Cum

Laude in December 2007 and was admitted to the Oklahoma Bar in April 2008. Relator is

a member in good standing of the Oklahoma Bar.

       22.    At no time has Relator undertaken legal representation of or entered into an

attorney-client relationship with any of the corporate Defendants on matters relevant to this




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Complaint.14 To the extent Relator may have participated in any confidential conversations

with outside counsel through his employment with SOS either before or after becoming a

licensed attorney, Relator has not disclosed those conversations herein. Any legal

representation Relator undertook for certain individual Defendants involved completely

unrelated and discrete matters; Relator acquired no confidential information nor derived

any part of the allegations and disclosures herein from such representation. However, even

if Relator has disclosed confidential information herein, pursuant to Relator’s employment

agreement with SOS, Relator never had an attorney-client relationship with the SOS

Defendants and/or the SOS Defendants disclaimed any attorney-client privilege which may

have otherwise arisen. Finally, even if Relator has disclosed confidential information

herein, he has done so permissibly to prevent, mitigate, and rectify Defendants’ fraud upon

the federal healthcare programs pursuant to Rule 1.6 of the Oklahoma Rules of Professional

Conduct and as provided under 12 O.S § 2502(D).

       23.    Through Relator’s employment with Defendants and his personal

investigation, Relator acquired direct personal knowledge of and non-public information

about Defendants’ fraud.

B.     DEFENDANTS

       24.    Defendants to this action include healthcare corporations and the individuals




14
   As detailed in Section V.F., infra, Relator’s employment agreement expressly
acknowledged that he was not acting as attorney for SOS or the SOS Doctors’ attorney,
and SOS expressly disclaimed any attorney-client relationship or privilege by signing the
employment agreement.

                                            20
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perpetuating fraud through them.

       1.     Corporate Defendants

       25.    The corporate defendants include the physicians group under which the

individual physicians practice, the hospital that various individual and organizational

defendants own, and the entities that own a portion of that hospital.

       26.    Defendant SOUTHWEST ORTHOPAEDIC SPECIALISTS, PLLC (“SOS”)

is a professional limited liability company organized under the laws of Oklahoma. SOS is

the physician’s group under which the individual physician Defendants practice and

perform medical services. SOS operates as a partnership between the SOS Doctors; each

SOS Doctor receives monthly compensation in an amount proportional to the receipts each

generated that month. Each Doctor is obligated to pay the same proportion of the month’s

operational costs as determined by each Doctor’s proportional share of monthly receipts.

The SOS financial relationship between the Doctors operates on the aggregate of

operational costs without attributing each individual Doctor’s actual overhead cost to that

Doctor; thus, when a particular Doctor generates additional receipts, all SOS Doctors

derive a financial benefit. SOS is a credentialed and contracted provider for federal

healthcare programs and routinely submits claims for payment to those programs directly

and/or on behalf of the SOS medical providers. According to data published by the U.S.

Centers for Medicare & Medicaid Services (“CMS”), the SOS Doctors submitted at least

74,847 claims for payment for a subset of Medicare beneficiaries for the years from 2012-




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2015.15 SOS has appeared for all purposed through its counsel of record.

      27.    Defendant     OKLAHOMA          CENTER       FOR      ORTHOPAEDIC          &

MULTISPECIALTY SURGERY, LLC (“OCOM”) is a limited liability corporation

organized under the laws of Oklahoma. OCOM is a licensed hospital in Oklahoma. OCOM

is managed under contract by Defendant USP, a subsidiary of Defendant Tenet, and as such

is subject to the terms and obligations provided by the Tenet’s NPA and Monitor. OCOM

is a single-member LLC, with its single member being Southwest Ambulatory Surgery

Center, PLLC (“SASC”), the entity in which certain Defendants hold beneficial ownership

and/or management control.16 OCOM provides designated health services, which include

inpatient and outpatient services, surgery, imaging, and physical therapy to beneficiaries

of federal healthcare programs,17 commercial-sponsored health insurance programs, and

patients who are self-insured or uninsured.18 OCOM is a credentialed and contracted



15
    CMS-produced data available at https://www.cms.gov/Research-Statistics-Data-and-
Systems/Statistics-Trends-and-Reports/Medicare-Provider-Charge-Data/index.html,        is
limited in scope, may or does not include other government-paid programs (e.g., Medicaid,
Tricare, Medicare Advantage), and the numbers indicated herein include only SOS Doctors
(i.e., not SOS P.A.s).
16
  Defendants with ownership in “OCOM” have that ownership indirectly through their
ownership in SASC.
17
   Designated Health Services (“DHS”) include “inpatient and outpatient hospital
services,” “radiology and certain other imaging services,” “physical therapy, occupational
therapy, and outpatient speech-language pathology services,” and “clinical laboratory
services,” and that are “payable, in whole or in part, by Medicare.” 42 C.F.R. § 411.351.
18
    Federal and State health insurance programs include Medicare, Medicaid,
Tricare/Champus, Soonercare, InsureOklahoma, BCBS Federal, and other such programs
paid for in full or part with Federal and/or State funds.

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provider for federal healthcare programs and routinely submits claims for payment to those

programs. According to data published by CMS, OCOM submitted at least 11,370 claims

for payment for Medicare beneficiaries for the years from 2011-2015.19 OCOM may be

served through its registered agent for service of process, The Corporation Company, at

1833 S. Morgan Road, Oklahoma City, Oklahoma 73128.

      28.    Defendant USP OKLAHOMA, INC. (“USP”) is a for-profit corporation

organized under the laws of Oklahoma with its principal place of business in Oklahoma.

USP operates under contract as the management company for OCOM and holds an

ownership interest in OCOM through one or more affiliated entities. USP’s Oklahoma

Secretary of State Filing number is 1900688298. USP is a majority-owned subsidiary of

Defendant Tenet. USP holds a seat on the OCOM board and provides management services

to OCOM, subjecting it to the terms and obligations of the Tenet NPA and Monitor. USP

may be served through its registered agent for service of process, The Corporation

Company, at 1833 S. Morgan Road, Oklahoma City, Oklahoma 73128.

      29.    Defendant USPI HOLDING COMPANY, INC. (“USPH”) is a Delaware

corporation with its principal place of business in Dallas, Texas. According to Defendant



19
   This data represents only a subset of Medicare beneficiaries and is limited in scope.
CMS-produced data available at https://www.cms.gov/Research-Statistics-Data-and-
Systems/Statistics-Trends-and-Reports/Medicare-Provider-Charge-Data/index.html,         is
limited in scope, may or does not include other government-paid programs (e.g., Medicaid,
Tricare, Medicare Advantage), and the numbers indicated herein include only that reported
by CMS (“the data is limited to only a select number of APCs [Ambulatory Payment
Classification Groups] and thus does not necessarily include all Medicare outpatient
procedures from a given hospital.”).

                                           23
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Tenet’s 2017 SEC Form 10-k filing, Tenet owns 95% of USPI Holding Company, Inc. All

other USP-related entities are subsidiaries of USP Holding Company, Inc. (including the

following Defendants: APO, USP Oklahoma, UAP Oklahoma, and OCOM). USPH is

listed as a subsidiary of Tenet in Tenet’s SEC 10-K and as such is subject to the terms and

obligations of the Tenet NPA and Monitor. USPH may be served through its registered

agent for service of process, The Corporation Trust Company, 1209 Orange Street,

Wilmington, Delaware 19801.

       30.    Defendant UNITED SURGICAL PARTNERS INTERNATIONAL, INC.

(“USPI”) is a Delaware corporation with its principal place of business at 15305 Dallas

Parkway, Suite 1600 in Addison, Texas. USPI owns and operates short-stay surgical

facilities which are licensed as either ambulatory surgery centers, specialty hospitals or

hospitals. In April 2015, USPI and Defendant Tenet Healthcare entered into an agreement

to create the nation’s largest ambulatory surgery platform. The transaction was finalized in

June 2015. USPI is listed as a subsidiary of Tenet in Tenet’s SEC 10-K and as such is

subject to the terms and obligations of the Tenet NPA and Monitor. USPI may be served

through its registered agent for service of process, The Corporation Trust Company, 1209

Orange Street, Wilmington, Delaware 19801.

       31.    Defendant UAP OF OKLAHOMA, INC. (“UAP”) is a for-profit corporation

organized under the laws of Oklahoma with its principal place of business in Oklahoma.

UAP is a subsidiary of and owned by USP. UAP is a founder, owner, and manager of APO.

UAP is listed as a subsidiary of USP and Tenet in Tenet’s SEC 10-K and as such is subject

to the terms and obligations of the Tenet NPA and Monitor. UAP may be served through

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its registered agent for service of process, The Corporation Company, at 1833 S. Morgan

Road, Oklahoma City, Oklahoma 73128.

         32.    Defendant ANESTHESIA PARTNERS OF OKLAHOMA, LLC (“APO”),

the anesthesia company, is a limited liability company organized in the State of Oklahoma.

APO was formed and owned by the SOS Doctors, UAP, and Defendant Kimzey. APO is a

credentialed and contracted provider for federal healthcare programs and routinely submits

claims for payment to those programs. APO is listed as a subsidiary of USP and Tenet in

Tenet’s SEC 10-K and as such is subject to the terms and obligations of the Tenet NPA

and Monitor. APO may be served through its registered agent for service of process, The

Corporation Company, at 1833 S. Morgan Road, Oklahoma City, Oklahoma 73128.

         33.    Defendant TENET HEALTHCARE CORPORATION (“Tenet”) is a Nevada

corporation with its principal place of business in Dallas, Texas. Tenet, through its many

subsidiaries, owns and operates hospitals throughout the United States and in Oklahoma.20

Tenet directly or via an affiliate or subsidiary acquired ownership of USP, and thus

acquired ownership and management control of OCOM via and/or through one or more

affiliated entities. Tenet is a public company traded on the New York Stock Exchange

under the symbol “THC.” Tenet is presently subject to a NPA with the Government entered

into on September 30, 2016, to resolve criminal investigation and civil litigation wherein

Tenet paid to the Government over $500 million and committed to continue to enhance

their compliance and ethics program and internal controls, including ensuring that their


20
     As listed on Tenet’s recent 10-K SEC filing dated Feb. 26, 2018.

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compliance program is designed and implemented to prevent and detect violations of the

AKS.21 Pursuant to the NPA, Tenet and its subsidiaries have affirmative duties and

obligations which are applicable to present or former officers, directors, employees, agents

and consultants. The following Defendants are all subsidiaries and/or former officers,

directors, employees, agents and consultants of Tenet, and therefore subject to the terms of

the NPA: OCOM; USP, USPI, USP Holding Company, Inc., UAP, Kimzey and Hendley

as the current and former OCOM CEO; Cruse and Langerman as OCOM Board Members;

OCOM owners; and the SOS doctors as APO (anesthesia company) and OCOM owners

and partners with USP in APO and OCOM. Tenet may be served through its registered

agent for service of process, The Corporation Trust Company of Nevada, at 701 S. Carson

Street Suite 200, Carson City, Nevada, 89701.

         34.   Defendant    INTEGRIS      AMBULATORY           CARE      CORPORATION

(“Integris”) is a for-profit corporation organized under the laws of Oklahoma with its

principal place of business in Oklahoma. Integris operates as a subsidiary within the

Integris healthcare system in Oklahoma and holds ownership interest in OCOM via and/or

through one or more affiliated entities. Integris holds a seat on the OCOM board and as

such is subject to the terms and obligations provided by the Tenet NPA and Monitor.

Integris is a credentialed and contracted provider for federal healthcare programs and

routinely submits claims for payment to those programs. Integris may be served at 3366

NW Expressway Suite 800, Physicians Building D, Oklahoma City, OK 73112.


21
     Tenet U.S. Securities and Exchange Commission Filing Form 8-K, September 30, 2016.

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      35.    Defendant    INTEGRIS       SOUTH      OKLAHOMA         CITY    HOSPITAL

CORPORATION (“ISMC”) is a non-profit corporation organized under the laws of

Oklahoma with its principal place of business in Oklahoma. ISMC does business as Integris

Southwest Medical Center and is a subsidiary within the Integris healthcare system in

Oklahoma. ISMC is a credentialed and contracted provider for federal healthcare programs

and routinely submits claims for reimbursement to those programs. ISMC may be served

at 3366 NW Expressway Suite 800, Physicians Building D, Oklahoma City, OK 73112.

      2.     SOS Doctor Defendants

      36.    The following Defendants (collectively, “SOS Doctors”) are the physician-

members of the SOS Doctors group: Cruse, Langerman, Jones, Adham, West, Levings,

Hume, Reddick, and Avant.22 Each SOS Doctor is citizen of Oklahoma.

      37.    Defendant ANTHONY L. CRUSE, D.O. (“Cruse,” an “SOS Doctor”) is an

individual physician who practiced at SOS, held ownership in SOS, served as a board

member of SOS, holds ownership in OCOM and APO, serves as a board member and

Chairman of the Board of Managers of OCOM, serves as Medical Director of OCOM, and

throughout the relevant period referred federal healthcare program patients to OCOM.23

Cruse, as a Board Member, Chairman of the OCOM Board, and Medical Director, is an

officer and agent of OCOM and as such is subject to the terms and obligations of the Tenet


22
   Hume left SOS on November 30, 2015, but was an SOS Physician at all times before
that and was equally involved, participated in, and benefited from the unlawful schemes
complained of herein.
23
   Cruse retired in May 2016 and no longer conducts a medical practice or performs
surgery. Subsequent to his retirement, Cruse relinquished his ownership in SOS in 2016.

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Non-Prosecution Agreement and Monitor. Cruse is a credentialed and contracted provider

for federal healthcare programs and routinely submitted claims for payment to those

programs. Cruse has appeared for all purposed through its counsel of record.

      38.    Defendant RICHARD JAMES LANGERMAN, JR., D.O. (“Langerman,” an

“SOS Doctor”) is an individual physician who practices at SOS, holds ownership in SOS,

serves as a board member of SOS, holds ownership in OCOM and APO, serves as a board

member of OCOM, and throughout the relevant period referred federal healthcare program

patients to OCOM. Langerman, as a Board Member of the OCOM Board, is an officer and

agent of OCOM and as such is subject to the terms and obligations of the Tenet Non-

Prosecution Agreement and Monitor. Langerman is a credentialed and contracted provider

for federal healthcare programs and routinely submits claims for payment to those

programs. Langerman has appeared for all purposed through its counsel of record.

      39.    Defendant DANIEL J. JONES, M.D. (“Jones,” an “SOS Doctor”) is an

individual physician who practices at SOS, holds ownership in SOS, holds ownership in

OCOM, and throughout the relevant period referred federal healthcare program patients to

OCOM. Jones is a credentialed and contracted provider for federal healthcare programs

and routinely submits claims for payment to those programs. Jones has appeared for all

purposed through its counsel of record.

      40.    Defendant MEHDI ADHAM, M.D. (“Adham,” an “SOS Doctor”) is an

individual physician who practices at SOS, holds ownership in SOS, holds ownership in

OCOM and APO, and throughout the relevant period referred federal healthcare program

patients to OCOM. Adham is a credentialed and contracted provider for federal healthcare

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programs and routinely submits claims for payment to those programs. Adham has

appeared for all purposed through its counsel of record.

      41.    Defendant DEREK WEST, D.O. (“West,” an “SOS Doctor”) is an individual

physician who practices at SOS, holds ownership in SOS, serves as a board member of

SOS, holds ownership in OCOM and APO, and throughout the relevant period referred

federal healthcare program patients to OCOM. West is a credentialed and contracted

provider for federal healthcare programs and routinely submits claims for payment to those

programs. West has appeared for all purposed through its counsel of record.

      42.    Defendant BRIAN LEVINGS, D.O. (“Levings,” an “SOS Doctor”) is an

individual physician who practices at SOS, holds ownership in SOS, holds ownership in

OCOM and APO, and throughout the relevant period referred federal healthcare program

patients to OCOM. Levings is a credentialed and contracted provider for federal healthcare

programs and routinely submits claims for payment to those programs. Levings has

appeared for all purposed through its counsel of record.

      43.    Defendant CHRISTOPHER SHANE HUME, D.O. (“Hume,” an “SOS

Doctor”) is an individual physician who formerly practiced at SOS, was formerly an SOS

Doctor, formerly held ownership in OCOM, and throughout the relevant period referred

federal healthcare program patients to OCOM. Hume is a credentialed and contracted

provider for federal healthcare programs and routinely submits claims for payment to those

programs. Hume may be served at his place of business, 3115 S.W. 89th Street, Oklahoma

City, Oklahoma 73159.



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      44.    Defendant BRAD REDDICK, D.O. (“Reddick,” an “SOS Doctor”) is an

individual physician who practices at SOS, holds ownership in SOS, serves as a board

member of SOS, holds ownership in OCOM and APO, and throughout the relevant period

referred federal healthcare program patients to OCOM. Reddick is a credentialed and

contracted provider for federal healthcare programs and routinely submits claims for

payment to those programs. Reddick has appeared for all purposed through his counsel of

record.

      45.    Defendant KRISTOPHER AVANT, D.O. (“Avant,” an “SOS Doctor”) is an

individual physician who practices at SOS, holds ownership in SOS, serves as a board

member of SOS, holds ownership in OCOM and APO, and throughout the relevant period

referred federal healthcare program patients to OCOM. Avant is a credentialed a contracted

provider for federal healthcare programs and routinely submits claims for payment to those

programs. Avant has appeared for all purposed through its counsel of record.

      3.     Non-SOS Individual Defendants

      46.    Defendant Steve Hendley (“Hendley”) is an executive manager at and

employee of USP. Hendley is the former CEO of OCOM, who left the position in 2014.

He is Certified Public Accountant. Hendley, as an employee of USP and former CEO of

OCOM, is subject to the terms and obligations of the Tenet NPA and Monitor. Hendley

may be served at his residence, 6009 Chestnut Court, Edmond, Oklahoma 73025.

      47.    Defendant Michael Kimzey (“Kimzey”) is a USP employee and the current

Chief Executive Officer of OCOM. Kimzey holds ownership in APO. Kimzey became the

OCOM CEO in 2014. From 2004 until 2014, Kimzey was CEO of Southwest Oklahoma

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MRI (“SWMRI”), a freestanding radiology diagnostic facility. Cruse and Langerman had

significant ownership of SWMRI, along with nearly fifty other physicians. OCOM

acquired SWMRI in 2014, made it a department of OCOM, and made Kimzey OCOM’s

new CEO. This purchase allowed OCOM’s owning doctors to refer government patients

to SWMRI. Kimzey, as an employee of USP and CEO of OCOM, is subject to the terms

and obligations of the Tenet NPA and Monitor. Kimzey may be served at OCOM, his place

of employment, at 8100 S. Walker Avenue, Oklahoma City, Oklahoma 73158.

C.       IDENTIFICATION OF DEFENDANT GROUPS

         48.   This Complaint organizes Defendants into the following groups:

               a.     The “SOS Defendants” are SOS together with all the SOS Doctors.

               b.     The “OCOM Defendants” are OCOM, USP, USPI, USPH, Tenet24,

                      Integris25, UAP26, APO27, Hendley28, and Kimzey29.

               c.     The “Integris Defendants” are Integris and ISMC.




24
  Tenet is an OCOM Defendant with respect to the time period approximately August
2015 to Present.
25
  Integris is an OCOM Defendant with respect to the Equity, Employment Contract,
Surgical Scrub, Sham Lease, Office Space and Credit Card Schemes only.
26
  Defendant UAP is an OCOM Defendant with respect to the Anesthesia Company
Scheme only.
27
  Defendant APO is an OCOM Defendant with respect to the Anesthesia Company
Scheme only.
28
     Hendley is an OCOM Defendant with respect to the time period from 2002 to present.
29
     Kimzey is an OCOM Defendant with respect to the time period 2014 to present.

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                         III.   JURISDICTION AND VENUE

       49.    This Court has jurisdiction over this action pursuant to 31 U.S.C. § 3732(a)

and (b), 28 U.S.C. § 1331, and 28 U.S.C. § 1345.

       50.    Relator brings this action under the FCA, 31 U.S.C. § 3729, et seq., to recover

treble damages, civil penalties, and costs of suit, including reasonable attorneys’ fees and

expenses. Relator has authority to bring this action and his claim on behalf of the United

States pursuant to 31 U.S.C. §§ 3730(b) and 3730(e)(4). Relator satisfied all conditions

precedent to his participation as Relator. Pursuant to 31 U.S.C. § 3730(e)(4)(A), the

allegations contained herein have not been publicly disclosed as defined by the FCA, or

alternatively, Relator qualifies as an “original source” within the meaning of 31 U.S.C. §

3730(e)(4)(A) and (B). Pursuant to 31 U.S.C. § 3730(e)(4)(B), Relator voluntarily provided

in writing to the Attorney General of the United States and the United States Attorney for

the Western District of Oklahoma substantially all material evidence and information in

Relator’s possession upon which these allegations are based. In accordance with 31 U.S.C.

§ 3730(b)(2), Relator served the United States pursuant to Federal Rule of Civil Procedure

4 and filed his original and first amended complaints in camera. Relator complied with all

state law procedural requirements.

       51.    This Court has jurisdiction over Relator’s state law claims pursuant to 31

U.S.C. § 3732, as those claims arise from the same transaction or occurrence as Relator’s

claim under § 3729, et seq. Additionally, this Court has supplemental jurisdiction over

Relator’s state law claims pursuant to 28 U.S.C. § 1367(a), because those claims form part



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of the same case or controversy under Article III of the United States Constitution as

Relator’s claims under the federal FCA.

          52.   This Court may exercise personal jurisdiction over all Defendants. Upon

information and belief, SOS, OCOM, Integris, ISMC, USP, AOP, and UAP were

incorporated under the laws of Oklahoma and maintain their principal place of business

within the State, thereby subjecting themselves to this Court’s jurisdiction. USPH, USPI,

and Tenet purposefully direct their services at the State of Oklahoma, thereby purposefully

availing themselves of the privilege of conducting business within the State and invoking

the benefits and protections of its laws. This action arises out of that conduct. This Court’s

exercise of jurisdiction over USPH, USPI, and Tenet does not offend traditional notions of

fair play and substantial justice. Upon information and belief, the SOS Doctor Defendants

and Individual Defendants are domiciled in Oklahoma, thereby subjecting themselves to

this Court’s jurisdiction.

          53.   Venue is proper in the Western District of Oklahoma pursuant to 31 U.S.C.

§ 3732(a) and 28 U.S.C. § 1391(b)-(c). One or more of the Defendants can be found, reside,

and/or transact business within the geographic boundaries of this District. Additionally,

one or more of the Defendants committed acts proscribed by 31 U.S.C. § 3729, et seq. in

the judicial District by perpetrating the schemes described herein within this District.

                              IV.    LEGAL FRAMEWORK

          54.   The allegations set forth above are hereby incorporated as if fully set forth

herein.



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       55.    Relator’s claims rest on the interplay of the Federal False Claims Act, Stark

Law, Anti-Kickback Statute, applicable Oklahoma state law analogues, and the special

legal duties and obligations pursuant to Tenet’s NPA. Together, these laws protect the

integrity of Medicare, Medicaid, and the other federal healthcare programs. These laws

ensure that physicians base their referrals of federally-reimbursed patients and services on

the patients’ best interests, not their own profit or enrichment. Defendants’ conduct

violated these laws, defrauded the federal and Oklahoma governments, and disrupted the

integrity of the federal healthcare programs.

A.     THE FEDERAL FALSE CLAIMS ACT

       56.    The Federal False Claims Act (31 U.S.C. § 3729, et seq.) (“FCA”) provides,

in pertinent part:

       (a)(1) [a]ny person who (A) knowingly presents, or causes to be presented a
       false or fraudulent claim for payment or approval; (B) knowingly makes,
       uses, or causes to be made or used, a false record or statement material to a
       false or fraudulent claim; (C) conspires to commit a violation of
       subparagraph (A), (B), (D), (E), (F), or (G); (D) has possession, custody, or
       control of property or money used, or to be used, by the Government and
       knowingly delivers, or causes to be delivered, less than all of that money or
       property … or (G) knowingly makes, uses, or causes to be made or used, a
       false record or statement material to an obligation to pay or transmit money
       or property to the Government, or knowingly conceals or knowingly and
       improperly avoids or decreases an obligation to pay or transmit money or
       property to the Government ...

       is liable to the United States Government for a civil penalty of not less than
       $5,000 and not more than $10,000, as adjusted by the Federal Civil Penalties
       Inflation Adjustment Act of 1990, plus 3 times the amount of damages which
       the Government sustains because of the act of that person.

                                           ***



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       (b) For purposes of this section, the terms “knowing” and “knowingly” mean
       that a person, with respect to information (i) has actual knowledge of the
       information; (ii) acts in deliberate ignorance of the truth or falsity of the
       information; or (iii) acts in reckless disregard of the truth or falsity of the
       information, and no proof of specific intent to defraud is required.30

B.     THE STARK LAW

       57.    The Stark Law (42 U.S.C. § 1395nn(a)(1)) prohibits entities from submitting

claims to federal healthcare programs for patient services referred by a physician with

whom the referred-to provider has an impermissible “financial relationship.” Congress

designed the Stark Law to remove monetary influences from physicians and their referral

decisions, and thereby protect federal healthcare programs from paying for the cost of

questionable utilization of services. The Stark Law establishes a presumptive, strict-

liability rule that referred-to providers may not bill, and federal healthcare programs will

not reimburse, for certain health care services generated by a referral from a physician with

whom the referred-to provider has a financial relationship.

       58.    In relevant part, the Stark Law states: (a) Prohibition of certain referrals

       (1)    In general
       Except as provided in subsection (b) of this section, if a physician (or an
       immediate family member of such physician) has a financial relationship
       with an entity specified in paragraph (2), then -

30
   Congress amended the FCA pursuant to Public Law 111-21, the Fraud Enforcement and
Recovery Act of 2009 (“FERA”), enacted May 20, 2009. Given the nature of the claims at
issue, Sections 3279(a)(1) and 3279(a)(7) of the prior statute, and Section 3729(a)(1)(A)
and 3729(a)(1)(G) of the revised statute are all applicable here. Sections 3729(a)(1) and
3729(a)(7) apply to conduct that occurred before FERA was enacted, and sections
3729(a)(1)(A) and 3729(a)(1)(G) apply to conduct after FERA was enacted. Section
3729(a)(1)(B) is applicable to all claims in this case by virtue of Section 4(f) of FERA,
which makes the new changes to that provision applicable to all claims for payment
pending on or after June 7, 2008.

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       (A) the physician may not make a referral to the entity for the furnishing
       of designated health services for which payment otherwise may be made
       under this subchapter, and

       (B) the entity may not present or cause to be presented a claim under this
       subchapter or bill to any individual, third-party payor, or other entity for
       designated health services furnished pursuant to a referral prohibited under
       sub paragraph (A).

                                           *****
       (g)    Sanctions

       (1)    Denial of payment
       No payment may be made under this subchapter for a designated health
       service which is provided in violation of subsection (a)(l) of this section.

       (2)     Requiring refunds for certain claims
       If a person collects any amounts that were billed in violation of subsection
       (a)(1) of this section, the person shall be liable to the individual for, and shall
       refund on a timely basis to the individual, any amount so collected.

42 U.S.C. § 1395nn(a), (g).

       59.    The Stark Law broadly defines “financial relationship” to include any

physician ownership or investment interest in the referred-to entity, or a “compensation

arrangement” between the referred-to entity and the referring physician. 42 U.S.C. §

1395nn(a)(2). “Compensation arrangement” is broadly defined to mean “any arrangement

involving any remuneration between a physician . . . and an entity.” “Remuneration”

broadly means “any remuneration, directly or indirectly, overtly or covertly, in cash or in-

kind.” 42 U.S.C. 1395nn(h)(l)(A), (B), 42 C.F.R. § 411.354 (emphasis added).

       60.    Under the Stark Law, a physician “referral” includes establishing a plan of

care or certifying a patient for healthcare services. 42 U.S.C. §1395nn(h)(5)(B). The Stark

Law is a strict liability statute and promulgated regulations, with 42 C.F.R. § 411.353(a)

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stating that “a physician who has a direct or indirect financial relationship with an entity

… may not make a referral to that entity for the furnishing of [DHS] for which payment

otherwise may be made under Medicare.” Section 411.353(b) states that an “entity that

furnishes DHS pursuant to a referral that is prohibited by paragraph (a) of this section may

not present or cause to be presented a claim or bill to the Medicare program or to any

individual, third party payer, or other entity for the DHS performed pursuant to the

prohibited referral” (emphasis added).

       61.    Similar to the AKS, there are statutory and regulatory Safe Harbors to the

Stark Law permitting certain financial relationships between health care providers and

physicians. 42 U.S.C. §1395nn(b); 42 C.F.R. § 411.350 - § 411.389. These Safe Harbors

protect arrangements from creating liability under the statute. An arrangement must strictly

satisfy all applicable conditions for protection. Once the plaintiff demonstrates that the

Stark Law applies and establishes a prima facie case, the burden shifts to the defendant to

prove that the conduct is within one of the Safe Harbor exceptions.

       62.    Falsely certifying compliance with the Stark Law is a material consideration

of federal healthcare program administration for reimbursing claims.

       63.    Relator has standing to pursue Stark Law violations in this action.

       Notwithstanding subsection (b), the Government may elect to pursue its
       claim through any alternate remedy available to the Government, including
       any administrative proceeding to determine a civil money penalty. If any
       such alternate remedy is pursued in another proceeding, the person initiating
       the action shall have the same rights in such proceeding as such person would
       have had if the action had continued under this section. Any finding of fact
       or conclusion of law made in such other proceeding that has become final
       shall be conclusive on all parties to an action under this section. For purposes
       of the preceding sentence, a finding or conclusion is final if it has been finally

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       determined on appeal to the appropriate court of the United States, if all time
       for filing such an appeal with respect to the finding or conclusion has expired,
       or if the finding or conclusion is not subject to judicial review.

31 U.S.C. § 3730(c)(5). Violation of the Stark Law submits the defendant to strict liability

for single damages and civil penalties for each and every reimbursement claim sent to the

government pursuant to the tainted referral.

       64.    Reimbursement claims submitted pursuant to a knowing (as broadly defined

in the FCA and OKFCA) violation of the Stark Law are false and/or fraudulent claims

under the FCA and OKFCA. Defendants’ continued participation in federal healthcare

programs constitutes an express and implied certification that they will abide by and adhere

to all statutes, rules, and regulations governing those programs. Defendants’ submission of

claims for reimbursement related to or derived from their knowing violation of the Stark

Law violates this express and implied certification of continued adherence to the

requirements for participation in the program.31 Further, Medicare only pays for “covered

services.” 42 C.F.R. §424.5(a). A “covered service” includes, by definition, only services

that were furnished by a supplier “that was, at the time it furnished the services, qualified

to have payment made to them.” 42 C.F.R. §424.5(a)(2).32 When the defendants violated




32
   Similarly, the Medicaid Statute, 42 U.S.C. § 1396b(s), titled “Limitations on certain
physician referrals,” provides that “no payment shall be made to a State under this section
for expenditures for medical assistance under the State plan consisting of a designated
health service (as defined in [the Stark Law]) furnished to an individual on the basis of a
referral that would result in the denial of payment for the service under subchapter XVIII
of this chapter if such subchapter provided for coverage of such service to the same extent
and under the same terms and conditions as under the State plan.” 42 U.S.C. § 1396b(s).

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anti-kickback and anti-referral laws, they became ineligible to receive payment. Because

the defendants were not eligible for payment at the time they rendered the services,

Medicare regulation §424.5 prescribes that those services are noncovered. Claims for

noncovered services are in and of themselves false.

         65.    The Oklahoma Medicaid (“Soonercare”) General Provider Agreement

requires that providers under the State Medicaid plan “comply with and certify compliance

with […] Title XIX of the Social Security Act, 42 U.S.C. § 1396, et seq.33 Section 1396b(s)

prohibits, inter alia, payments to the State for claims submitted in violation of the Stark

Law.34

C.       THE ANTI-KICKBACK STATUTE

         66.    The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b) (“AKS”), arose out of

congressional concern that remuneration provided to those who can influence health care

decisions would result in goods and services being provided that are medically

unnecessary, of poor quality, or harmful to a vulnerable patient population. To protect the

integrity of federal healthcare programs from these harms, Congress enacted a prohibition

against the payment of kickbacks in any form in 1972. Congress strengthened the statute

in 1977 and 1987 to ensure that kickbacks masquerading as legitimate transactions did not

evade its reach.35



33
     Soonercare General Provider Agreement § 5.2.
34
     See Note 30, supra.
35
  See Social Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42
U.S.C. § 1320a-7b, Medicare-Medicaid Antifraud and Abuse Amendments, Pub. L. No.
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       67.    The AKS prohibits any person or entity from soliciting, receiving, offering,

or paying remuneration, in cash or in kind, directly or indirectly, to induce or reward any

person for purchasing, ordering, or recommending or arranging for the purchasing or

ordering of federally funded medical goods or services:

       [W]hoever knowingly and willfully solicits or receives any remuneration
       (including any kickback, bribe, or rebate) directly or indirectly, overtly or
       covertly, in cash or in kind--

       (A) in return for referring an individual to a person for the furnishing or
       arranging for the furnishing of any item or service for which payment may
       be made in whole or in part under a Federal health care program, or

       (B) in return for purchasing, leasing, ordering, or arranging for or
       recommending purchasing, leasing, or ordering any good, facility, service,
       or item for which payment may be made in whole or in part under a Federal
       health care program,

       shall be guilty of a felony and upon conviction thereof, shall be fined not
       more than $25,000 or imprisoned for not more than five years, or both. 42
       U.S.C. § 1320a-7b(b).

Violation of the statute also can subject the perpetrator to exclusion from participation in

federal healthcare programs and, “a claim that includes items or services resulting from a

violation of this section constitutes a false or fraudulent claim for purposes of” the FCA.

42 U.S.C. § 1320a-7(g).36



95-142: Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No.
100-93.
36
   The AKS and the corresponding regulations establish a number of exceptions (“Safe
Harbors”) for common business arrangements. 42 C.F.R. § 1001.952. These Safe Harbors
protect arrangements from AKS liability. An arrangement must fall squarely in a Safe
Harbor to receive its protection (i.e., Safe Harbor protection requires strict compliance with
all applicable conditions set out in the relevant regulation). Once the plaintiff proves that
the AKS applies, the burden shifts to the defendant to prove that the conduct strictly
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       68.    The AKS is a criminal statute without its own private cause of action.

However, violations of the AKS trigger FCA and OKFCA liability. Defendants who

submit, cause to be submitted, or conspire to submit claims for reimbursement resulting

from unlawful referrals violate the FCA and OKFCA. Defendants’ false certification of

compliance with the AKS is a material consideration of federal healthcare program

administration in reimbursing claims.

D.     THE OKLAHOMA MEDICAID FALSE CLAIMS ACT

       69.    Medicaid was enacted by Congress on July 30, 1965, under Title XIX of the

Social Security Act, as a health coverage program intended to provide medical benefits to

those who could not afford necessary medical expenses.

       70.    Oklahoma Medicaid is a jointly funded program by the federal and state

government and is administered by the Oklahoma Health Care Authority, an Oklahoma

State agency responsible for receiving, reviewing, and paying properly compliant Medicaid

claims submitted by health care providers who are properly qualified, credentialed,

contracted and eligible to receive payment.

       71.    The Oklahoma Medicaid False Claims Act (“OKFCA”; 63 O.S. § 5053, et

seq.)37 provides, inter alia, that any person who knowingly presents, or causes to be

presented, a false or fraudulent claim for payment or approval; or who knowingly makes,


satisfies one of the exceptions. While unnecessary at this stage, Relator alleges that no Safe
Harbor applies to the conduct alleged herein as violating the AKS.
37
  The 2016 Oklahoma Legislature amended the OKFCA in effort to better conform the
OKFCA to the FCA. The amended OKFCA became effective on November 1, 2016. 63
O.S. § 5053, et seq.

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uses, or causes to be made or used, a false record or statement to get a false claim paid is

liable to the State of Oklahoma for civil penalties per claim consistent with the federal

FCA, plus three times the amount of damages the State sustains. 63 O.S. § 5053.1.

       72.    The OKFCA broadly defines “knowing” and “knowingly” to mean that a

person, with respect to information, (1) has actual knowledge of the information; (2) acts

in deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless

disregard of the truth or falsity of the information; and, no proof of specific intent to defraud

is necessary. 63 O.S. § 5053.1.

       73.    Because of the Federal Government’s partial funding of Medicaid, false

claims for reimbursement to Medicaid are false claims to the Federal Government. The

false claims, which Defendants submitted to the State of Oklahoma under Medicaid, which

the State then passed on to the United States for consideration in determining federal

financial participation (“FFP”), are false claims, as those claims arose under improper

financial relationships with Defendants in violation of the Stark Law and/or AKS.38

       74.    The law prohibits CMS from paying FFP for services provided under

Medicaid if the payment would be prohibited under Medicare due to an illegal referral in

violation of the Stark Law. The Oklahoma Healthcare Authority relies on the Medicaid

Provider’s certification of compliance with the Stark Law; false certifications of



38
  Under the Medicaid program, the federal government does not pay Medicaid providers
directly. Rather, Medicaid providers submit claims for payment to the States, which pay
the claims and then seek partial reimbursement from the federal government. The federal
payment to the State is often referred to as “federal financial participation” or “FFP.”

                                               42
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compliance with the Stark Law jeopardize the State’s receipt of FFP for Medicaid claims.

Therefore, claims for reimbursement to Medicaid based on false certifications of

compliance with the Stark Law violate the FCA and OKFCA in the same manner as

certifying compliance for full reimbursement under Medicare.

       75.    Violating or falsely certifying compliance with the Stark Law, AKS, FCA,

or OKFCA is a material consideration of federal healthcare program administration to

reimbursing claims.

E.     OKLAHOMA KICKBACK PROHIBITIONS

       76.    Under the Oklahoma Medicaid Program Integrity Act (“OMPIA”), 56 Okla.

Stat. § 1005, the Oklahoma legislature outlawed kickbacks in connection with the

Oklahoma Medicaid Program. It is a crime to “willfully and knowingly […] [s]olicit or

accept a benefit, pecuniary benefit, or kickback in connection with goods or services paid

or claimed by a provider to be payable by the Oklahoma Medicaid Program[.]” 56 Okla.

Stat. §1005(A)(6). “For the purposes of this section, a person shall be deemed to have

known that a claim, statement, or representation was false if the person knew, or by virtue

of the person’s position, authority or responsibility, had reason to know, of the falsity of

the claim, statement or representation.” 56 Okla. Stat. § 1005(D). Violations of this section

exceeding $2,500.00 constitute a felony. 56 Okla. Stat. § 1006(A) and (B)(1). This section

incorporates by reference the Safe Harbors of the federal AKS. 56 Okla. Stat. § 1006(C).

       77.    The Oklahoma Legislature provided further kickback prohibitions:

              Any person who intentionally or knowingly pays to or accepts
              anything of value from any person, firm, association of
              persons, partnership or corporation for securing or soliciting

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              patients for any health care professional, health care provider
              or other entity providing health care services in this state, upon
              conviction, shall be guilty of a misdemeanor and shall be
              punished by a fine of not less than Five Hundred Dollars
              ($500.00) and not more than Two Thousand Dollars
              ($2,000.00).

63 Okla. Stat § 1-742(A)(1). This section incorporates by reference the Safe Harbors of the

federal AKS. 63 Okla. Stat. § 1-742(B)(3).

F.     RETALIATION UNDER THE FEDERAL FALSE CLAIMS ACT AND THE OKLAHOMA
       MEDICAID FALSE CLAIMS ACT

       78.    The FCA provides, inter alia, employees, contractors, and/or agents who are

discharged, demoted, suspended, threatened, harassed, or in any other manner

discriminated against because of lawful acts done in furtherance of an action under or to

stop violations of the FCA are entitled to relief for such damages, including reinstatement,

two times the amount of back pay, interest on the back pay, and compensation for any

special damages sustained as a result of the discrimination, including litigation costs and

reasonable attorneys’ fees. 31 U.S.C. § 3730(h).

       79.    Oklahoma enacted its own retaliation prohibition, which provides

              Any employee who is discharged, demoted, suspended, threatened,
              harassed, or in any other manner discriminated against in the terms
              and conditions of employment by his or her employer because of
              lawful acts done by the employee on behalf of the employee or others
              in furtherance of an action under this act, including investigation for,
              initiation of, testimony for, or assistance in an action filed or to be
              filed, shall be entitled to all relief necessary to make the employee
              whole. Such relief shall include reinstatement with the same seniority
              status such employee would have had but for the discrimination, two
              times the amount of back pay, interest on the back pay, and
              compensation for any special damages sustained as a result of the
              discrimination, including litigation costs and reasonable attorney fees.


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63 O.S. § 5053.5(F)(enacted 2009; re-labeled 63 O.S. § 5053.5(E) in 2016).

       80.     In 2017, the legislature amended that section to provide:

               1. All relief necessary to make the employee, contractor or agent
               whole, if the employee, contractor or agent is discharged, demoted,
               suspended, threatened, harassed, or in any other manner discriminated
               against in the terms and conditions of employment because of lawful
               acts done by the employee, contractor, agent or associated others in
               furtherance of an action under this act, or other efforts to stop one or
               more violations of the Oklahoma Medicaid False Claims Act.

               2. Relief which shall include reinstatement with the same seniority
               status the employee, contractor or agent would have had but for the
               discrimination, two times the amount of back pay, interest on the back
               pay, and compensation for any special damages sustained as a result of
               the discrimination, including litigation costs and reasonable attorney
               fees.

63 O.S. § 5053.5(E).

G.     TENET’S NON-PROSECUTION AGREEMENT

       81.     Tenet HealthSystem Medical, Inc. (on its behalf and on behalf of its

subsidiaries) entered into a Consent Decree and Non-Prosecution Agreement (“NPA”) with

the U.S. Department of Justice, Criminal Division, Fraud Section on September 30, 2016.

This NPA has a three-year term. The NPA is calibrated to the nature and seriousness of

Tenet’s offense, wherein senior executives and employees of a Tenet Subsidiary engaged

in at least a 10-year scheme to pay over $12 million to the owners and operators of a chain

of prenatal care clinics designed to induce unlawful referrals. Tenet’s fraud resulted in the

hospitals receiving over $146 million from the Medicaid and Medicare programs for

illegally referred patients.




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      82.    Tenet’s failure to comply fully with the material terms of the NPA or the

attached civil Settlement Agreement constitutes a breach of the NPA. If, during the Term

of the NPA, Tenet:

             • commits a felony related to the AKS;

             • provides in connection with the NPA deliberately false, incomplete, or

                 misleading information, including in connection with its disclosure of

                 information about individual culpability;

             • fails to cooperate as set forth in the NPA;

             • fails to continue to implement and maintain a compliance and ethics

                 program as set forth in the NPA; or

             • fails specifically to perform or to fulfill completely each obligation under

                 the NPA

—regardless of whether the DOJ becomes aware of such a breach before or after the Term

of the NPA is complete—Tenet, and Tenet’s subsidiaries and affiliates shall thereafter be

subject to prosecution for any federal criminal violation of which the DOJ has knowledge.

      83.    The NPA obligates Tenet to add new policies and amend existing policies

for contracts with referral sources, make improvements to its corporate auditing and

monitoring of hospital contracts with referral sources, and ensure that its compliance

program is designed and implemented to prevent and detect violations of the AKS and the

Stark Law.

      84.    On February 1, 2017, Tenet retained two partners with the national law firm

of Wilmer Hale to serve as independent compliance co-monitors. The Monitors assess,
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oversee, and monitor Tenet’s compliance with its obligations under the NPA, so as to

specifically address and reduce the risk of any recurrence of violations of the AKS and

Stark Law by any entity owned, in whole or in part, by Tenet.

       85.    Tenet (on its behalf and through its subsidiaries and affiliates) agreed to

continue to cooperate with any ongoing investigation of Tenet’s conduct or that of its

subsidiaries and affiliates and their officers, directors, employees, agents, business

partners, and consultants relating to violations of the AKS, or additional conduct.

       86.    During the Term of the Agreement, should Tenet learn of evidence or

allegations of actual or potential violations of the AKS, it must promptly report such

evidence or allegations to the DOJ.

       87.    The NPA does not foreclose future monetary penalties in a future prosecution

in the event of breach of the NPA; it does not preclude the DOJ from arguing in any

potential future prosecution that the Court should impose a penalty and the amount of such

penalty. The NPA does not provide any protection against prosecution for any past or future

conduct by Tenet, or any of its present or former parents, affiliates, or subsidiaries. In

addition, the NPA does not provide any protection against prosecution of any individuals,

regardless of their affiliation with Tenet. The NPA does not close or preclude the

investigation or prosecution of any natural persons, including any of Tenet’s officers,

directors, employees, agents, or consultants or its parent companies, direct or indirect

affiliates, subsidiaries, or joint ventures, who may have been involved in any of the matters

set forth in the NPA. Tenet’s disclosure to the Monitor concerning fraudulent or criminal



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conduct related to the AKS or Stark Law shall not relieve Tenet of any otherwise applicable

obligation to truthfully disclose such matters to the DOJ, pursuant to the NPA.

          88.   With respect to all entities in which Tenet or an affiliate of Tenet owns a

direct or indirect equity interest of 50% or less and does not manage or control the day-to-

day operations, the Monitor’s access to such entities shall be co-extensive with Tenet’s

access or control and for the purpose of reviewing Tenet’s conduct. Therefore, the NPA

applies fully to OCOM; USP, USPI, USP Holding Company, Inc., UAP, Kimzey and

Hendley as the current and former OCOM CEO; Cruse and Langerman as OCOM Board

Members; OCOM owners; and the SOS doctors as APO (anesthesia company) and OCOM

owners and partners with USP in APO and OCOM.

                            V.     FACTUAL ALLEGATIONS

          89.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          90.   Defendants violated the law by entering into a series of improper financial

relationships and kickbacks, or Schemes. The SOS Defendants are a party to each and

every improper financial relationship, but the counter-party varies depending on the

Scheme. Each improper financial relationship has resulted in certain Defendants

submitting unlawful claims for reimbursements to, and receiving unlawful reimbursements

from, federal healthcare programs. Relator alleges those improper financial relationships

and kickbacks while detailing Defendants’ unlawful conduct pursuant to them as follows:

                a.     In subsection A, Relator details the improper relationships between

the SOS Defendants and the OCOM Defendants with respect to referrals to OCOM. These

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improper relationships and kickbacks consist of two core Schemes—the Equity Scheme

and the Employment Contract Scheme. All claims for reimbursement OCOM submitted to

federal healthcare programs—which resulted from SOS referrals from at least 2007—

violated the Stark Law, AKS, the FCA, and/or the OKFCA.39 Additionally, this improper

relationship includes four additional schemes—the Surgery Scrub Scheme, Sham Lease

Scheme, Office Space Scheme, and Credit Card Scheme.

                b.     In subsection B, Relator details the improper financial relationships

and kickbacks between the SOS Defendants and the OCOM Defendants with respect to

referrals to APO. Through the Anesthesia Company Scheme, the SOS Defendants and the

OCOM Defendants formed, owned, and used APO—an anesthesia company—to refer

designated health services to themselves in violation of the Stark Law, AKS, FCA, and

OKFCA. USPI/USPH also perpetrated the Anesthesia Scheme in at least six other states.

                c.     In subsection C, Relator details the improper financial relationships

and kickbacks between the SOS Defendants and the Integris Defendants. Through the E.R.

Call Scheme, the SOS Defendants and the Integris Defendants entered into an unlawful

contract for E.R. orthopedic call services exclusivity. The improper financial relationship

that underlies the E.R. Call Scheme taints (1) all Government reimbursements to Integris

resulting from referrals from SOS Doctors and (2) all Government reimbursements to SOS

for referrals from the ISMC E.R. from at least August 2014 to present. These referrals

violate the Stark Law, AKS, FCA, and OKFCA.


39
     See Section V.E, infra.

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       91.    In subsection D, Relator details two additional Schemes, which the SOS

Defendants alone used to defraud the Government through the direct submission of false

claims for reimbursement. While these direct fraudulent reimbursement Schemes likely

resulted in fewer false claims than those outlined above, the existence of these independent

Schemes confirms the SOS Doctors’ knowing greed-driven approach to medical practice

and blatant disregard for federal and Oklahoma law. First, Defendants submitted false

claims for ultrasound needle guidance that was (1) not medically necessary; (2) never

actually performed; and/or (3) performed by a P.A. without the required supervisions (the

“Ultrasound Scheme”). Second, the SOS Defendants fraudulently billed for Levings’ P.A.

services, which were never actually performed (the “Levings P.A. Scheme”). The

Ultrasound Scheme and Levings P.A. Scheme violated the FCA and OKFCA.

       92.    In subsection E, Relator alleges additional wrongful conduct on Defendants

part that confirms that Defendants have little regard for the state and federal law governing

the practice of medicine or the reimbursement of federal healthcare claims.

       93.    In subsection F, Relator describes the extent to which the SOS Defendants

retaliated against him for his focus on compliance and fraud prevention. This retaliation

violated the FCA, the OKFCA, and state common law.

       94.    Finally, in subsection G, Relator alleges that Tenet stands in violation of its

Non-Prosecution Agreement with the DOJ and, thus, the FCA and OKFCA.




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A.     IMPROPER FINANCIAL RELATIONSHIPS AND KICKBACKS BETWEEN THE SOS
       DEFENDANTS AND THE OCOM DEFENDANTS WITH RESPECT TO REFERRALS
       TO OCOM

       95.    The SOS Defendants and the OCOM Defendants employed two core

improper financial relationships, or Schemes, to reward SOS Doctors for past referrals and

incentivize future referrals of patient services under federal healthcare programs to OCOM.

These two core schemes—the Equity Scheme and the Employment Contract Scheme—

funneled unlawful referrals of federally-reimbursed healthcare patient services to OCOM.

       96.    When considered together, the Equity and Employment Contract Schemes

subject all Governmental reimbursements to OCOM from 2007 to the present that resulted

from SOS referrals to recovery and trebling under the Stark Law, AKS, FCA, and/or

OKFCA, in addition to statutorily-prescribed per-claim penalties provided in each.

       1.     The Equity Scheme: the SOS and OCOM Defendants Used OCOM
              Equity as Remuneration to Incentivize and Reward Referrals of
              Patients and Services from the SOS Doctors to OCOM.

       97.    The SOS and OCOM Defendants used OCOM hospital equity as

remuneration to incentivize and reward referrals of patients and services from the SOS

Doctors to OCOM (the “Equity Scheme”). Defendants repeatedly prioritized their own

profit and greed at the expense of federal healthcare program integrity.

       98.    On several occasions, Cruse and Langerman directed the OCOM Board to

offer OCOM Equity only to SOS Doctors as a reward for their past referrals and as an

incentive and inducement for future referrals. The SOS and OCOM Defendants

repeatedly restricted the purchase of OCOM Equity to SOS Doctors alone, despite being

required by the OCOM Operating Agreement to offer it on a proportional basis to both

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SOS and non-SOS physicians.40 Further, the SOS and OCOM Defendants continually

based their decision about which doctors they would allow to purchase OCOM Equity on

the volume and value of the that doctor’s referrals of Designated Health Services (“DHS”)

to OCOM.

         99.    Defendants’ improper equity transactions and their unlawful referrals

pursuant to those transactions constitute violations of the Stark Law and AKS. Defendants’

claims for reimbursement to federal and Oklahoma healthcare program administrators

constitute violations of the FCA and OKFCA. The following subsections detail (i)

OCOM’s structure and governance vis-à-vis equity transactions; (ii) the financial

relationship through which Defendants use OCOM Equity as remuneration to incentivize

and reward referrals; and (iii) specific examples of the Scheme in action.

                a.     OCOM’s Structure and Governance Should Control the Proper
                       Flow of OCOM Equity.

         100.   OCOM’s structure and governance, as defined in its Operating Agreement

and the USP Purchase Agreement, should control the proper sale and purchase of OCOM

Equity. The SOS and OCOM Defendants repeatedly defied OCOM governing documents

for their own illegal benefit.

         101.   At all relevant times, approximately twenty-five physicians and two

corporate entities owned OCOM.41 Of the twenty-five physicians, eight are SOS Doctors.


40
     Proportional based on the current equity percentages held by each physician.
41
   Description of OCOM Equity includes approximations based on OCOM-provided
information regarding individual and corporate ownership on or about December 31, 2015.
Individual ownership amounts change from time to time because of buy-in and/or buy-out
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Those SOS Doctors collectively owned and controlled approximately 35% of OCOM

Equity. These SOS Doctors referred patients to OCOM for DHS. SOS Doctors account for

approximately two-thirds of OCOM’s referrals and total revenue.

      102.   The remaining OCOM physician owners collectively owned and controlled

approximately 10% of OCOM Equity. Each of these non-SOS physicians refer patients to

OCOM for DHS. These non-SOS physicians collectively account for a small fraction of

OCOM’s referrals and total revenue.

      103.   At all relevant times, two non-physician corporate entities collectively

owned approximately 55% of OCOM Equity, with Integris owning approximately 20%

and USP 35%.42

      104.   At all relevant times, other physicians with no ownership or control of

OCOM Equity were in a position to refer patients to OCOM for DHS, and only account

for a small percentage of OCOM’s referrals and total revenue.

      105.   A Board of Managers governs OCOM. The Board includes one or more

representatives from each of the SOS Doctors, USP, and Integris.43 At all relevant times,



transactions occurring without publication or disclosure to Relator. Actual OCOM Equity
is required to be reported to the Government pursuant to 42 U.S.C. § 1395nn(f) and 42
C.F.R. § 411.361.
42
   Although USP owned a minority interest OCOM, at all relevant times, USP managed
OCOM as its hospital management company pursuant to a 2004 Management Agreement.
On or about August 2015, Tenet announced it was acquiring USP and USP’s interest in
OCOM Equity, thereby assuming beneficial ownership of OCOM and control of USP’s
role as OCOM’s hospital management company.
43
   On December 31, 2015, Tenet requested SOS Doctors enter into a complex, multi-layer
joint venture arrangement to provide Tenet with majority “control” of OCOM so that Tenet
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Cruse and Langerman were the senior members of the OCOM Board. They directly and

personally exerted control and influence over activities affecting OCOM, including the

purchasing and sale of OCOM Equity.

      106.   The OCOM Operating Agreement prescribes the process and procedure for

allocating, reallocating, and redeeming OCOM Equity in the event of certain trigger events,

including: a new physician member buy-in; an existing physician member buy-out; or, an

existing physician member disassociation from OCOM for any other reason.44 The OCOM

Operating Agreement makes no distinction between an SOS Doctor and a non-SOS

physician, and makes no mention of or reference to SOS. Per the terms of the OCOM

Operating Agreement, all existing physician owners (both SOS Doctors and non-SOS

physicians) of OCOM should receive a first right of refusal to purchase their proportional

share of a disassociating physician member’s OCOM Equity.

             b.     The SOS and OCOM Defendants Leveraged OCOM Equity to
                    Induce and Reward Referrals.

      107.   Defendants repeatedly breached the OCOM Operating Agreement to

concentrate OCOM Equity with certain SOS Doctors. Cruse and Langerman wielded their

influence and control over the OCOM referral revenue stream to ensure that only the SOS



could include OCOM on its purported higher-paying hospital reimbursement agreements
with commercial insurance carriers. This arrangement and “control” notwithstanding, the
Board of Managers controlling OCOM directly or indirectly includes participants from
SOS Doctors, USP, and Integris.
44
   The term OCOM Operating Agreement includes all related OCOM governance
documents, including the USP Purchase Agreement from 2004, and various amendments
and restatements of the OCOM Operating Agreement.

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Doctors received the opportunity to purchase newly-available OCOM Equity. The SOS

Doctors, who frequently asserted how deserving they were of such benefits because they

referred the majority of OCOM’s business, asserted sole entitlement to that available

OCOM Equity. OCOM readily acquiesced and even facilitated this practice to appease and

placate its most profitable referral sources, despite the conduct being counter to the terms

of the OCOM Operating Agreement.

         108.   Whenever portions of OCOM Equity would become available for repurchase

as result of a triggering event, Cruse and Langerman lobbied USP as OCOM’s

managing/governing organization and the OCOM Board, which included representatives

from USP and Integris, to offer that equity only to SOS Doctors. In Cruse’s words,

“…we’ve never let anyone get more than us” and “we haven’t let anybody get more than

1% other than SOS guys. That was kind of the icing on the cake: you come join us, you get

to get more, gold standard,...”

         109.   Ignoring federal and state law and the OCOM Operating Agreement, the SOS

Doctors claimed the right to the additional Equity as reward for their past referrals and as

incentive and inducement for future referrals because, as Cruse stated, “we do the bulk of

the work, so we should get the bulk of” the equity. When non-SOS physicians asked for an

additional portion of OCOM Equity, Cruse and Langerman would ensure the OCOM Board

denied their request if those non-SOS physicians, as Cruse crudely stated, “doesn’t do shit

over there [at OCOM].”45


45
     See Dr. Greenway Example, Section V.A.1.iii., infra.

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         110.   The SOS Doctors’ willingness to violate federal and state law was matched

with equal enthusiasm by the OCOM Defendants. OCOM’s CEO (formerly Hendley,

currently Kimzey) and the OCOM Board readily complied as part of their continued

ingratiation of the SOS Doctors to secure the continued high volume of high-value referrals

to OCOM. Indeed, OCOM furthered and encouraged this exploitation in light of the

unlawful revenue it produced.

         111.   If an SOS Doctor threatened to disassociate from SOS, the SOS Doctors

threatened to take away that physician’s OCOM Equity even if the disassociating SOS

Doctor expressed that he only wanted to take his clinical business (i.e., not surgery

business) to a non-SOS clinic, and wanted to keep his OCOM Equity.46

         112.   When a non-SOS physician requested the opportunity to obtain additional

OCOM Equity, OCOM’s CEO would seek Cruse and the SOS Doctors’ permission to offer

additional OCOM Equity. The SOS Doctors then decided whether the non-SOS physician

would receive the offer. The SOS Doctors would base these decisions on the non-SOS

physician’s profitability (based on the volume and value of his referrals to OCOM). Cruse

and Langerman quickly vetoed any Equity purchase by a non-SOS physician they deemed

unprofitable from a referral standpoint. OCOM’s management, under the leadership of

former CEO Hendley and/or current CEO Kimzey, readily followed those directives.

         113.   OCOM management, including Cruse, Langerman, former CEO Hendley,

and CEO Kimzey, routinely review, report, and consider OCOM Equity-related actions


46
     See Hume Example, Section V.A.1.iii., infra.

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based on the SOS Doctors’ performance and individual profitability of referrals to OCOM.

This includes buying out a physician’s interest if they are underperforming, allowing others

to buy more or buy-in if they are referring a sufficient volume and profitability of patients

to OCOM, and leveraging USP-affiliated resources for SOS’s use without documentation,

agreement, or consideration.

       114.   The SOS Doctors each individually, directly, and personally benefited from

this exploitation of OCOM Equity, as did SOS.47 So, too, have OCOM/USP executives and

OCOM’s CEO—formerly Hendley and currently Kimzey—benefitted. Defendants overtly

acted and conspired to control OCOM Equity to reward the SOS Doctors for their

continued high-volume referral of surgical cases and non-surgical orders to OCOM. They

each individually participated, orchestrated, agreed, and worked with OCOM, Integris,

USP, USPI, USPH, and Tenet to control OCOM Equity as an act in furtherance of the

conspiracy to violate healthcare laws.

       115.   Integris, USP, USPI, USPH, and Tenet as USP’s acquiring corporate parent,

as OCOM Owners and Board Members, by and through their agents, directly and

personally benefited from this exploitation of OCOM Equity by overtly acting and

conspiring to control OCOM Equity in return for the SOS Doctors’ continued high-volume

referral of surgical cases and non-surgical orders to OCOM. Integris, USP, USPI, and Tenet



47
   As Cruse said, joining SOS is the “gold standard.” See ¶108, supra. SOS benefited by
consolidating those surgeons producing the highest volume and profit. This produced more
income for all SOS Doctors in their “eat-what-you-kill” proportional financial
arrangement.

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participated, orchestrated, agreed, and worked with each other, OCOM, SOS, Kimzey,

Hendley, and the SOS Doctors, to control OCOM Equity as remuneration as an act in

furtherance of the conspiracy to violate healthcare laws.

              c.     Specific Examples Show the Equity Scheme in Action.

       116.   Cruse, Langerman, and the SOS Doctors frequently met with Kimzey to

make decisions about distributing OCOM Equity. The following examples demonstrate the

control and influence Defendants’ used to pad their own pockets and OCOM’s repeated

attempts to curry favor with its most profitable referring physicians.48

       117.   Dr. Nick Knutson, a non-SOS physician, owned approximately 3.5% OCOM

Equity. Knutson retired at or near the end of 2012. Per the OCOM Operating Agreement,

USP had first right of refusal to purchase Knutson’s OCOM Equity; otherwise, the OCOM

Board was obligated to offer it for sale to all physician owners of OCOM (which includes

approximately seventeen non-SOS physician owners). On or about November 27, 2012,

Cruse explained to the SOS Doctors that they alone (and not the non-SOS physicians)

should have the Knutson OCOM Equity because they “do the bulk of the work.” Cruse

also told the SOS Doctors that he knew this was improper. OCOM’s CEO, Hendley, was

clearly aware that this plan was improper; he feigned ignorance by saying “I didn’t hear




48
   While Relator alleges the following examples of improper equity transactions, other
transactions likely occurred. The examples are provided simply to illustrate the SOS and
OCOM Defendants manipulation of OCOM Equity in violation of federal and state law.
The examples provided here are based on discussions and information available to Relator;
however, Relator was SOS’ employee and did not have control of or responsibility for
managing OCOM Equity transactions.

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that,” where “that” was Cruse’s statement that the Equity should only be given to SOS

Doctors based on their referrals to OCOM. For the sake of plausible deniability, Hendley

wanted Cruse to tell him, even untruthfully, that the OCOM Board would offer the Equity

to all owners. Cruse and Hendley knew that the Equity was supposed to be offered to all

physician owners, but Cruse said he “didn’t want to do that.” Cruse and Langerman then

polled the SOS Doctors as to the amount of the Knutson OCOM Equity each wanted to

purchase, and all participated. The purchase transaction included only one non-SOS

physician—Dr. Greenway—in this offer because, as Cruse explained, “I threw in

Greenway because I think Greenway is going to be a big plus for us.” Shortly thereafter,

to be effective by December 31, 2012, Hendley administered the OCOM Equity sale

transaction involving only the SOS Doctors and Greenway; each purchasing SOS Doctor

paid Knutson directly (contrary to the transactional process the Operating Agreement

prescribed).

       118.    Dr. Beringer, another non-SOS physician, owned slightly under 1% of

OCOM Equity. Dr. Beringer sought to redeem his OCOM Equity because he was moving

his practice out of state. USP, via Hendley, coordinated the Beringer OCOM Equity buy-

out at an agreed value higher than the OCOM Operating Agreement required. Cruse had

struck a deal with Beringer, who agreed to continue referring spine patients to SOS Dr.

Hume in exchange for the higher buy-out price.

       119.    Dr. Tupper, a non-SOS physician, owned approximately 1% of OCOM

Equity. Tupper requested the OCOM Board offer him additional OCOM Equity. OCOM’s

CEO, Kimzey, brought the question not to the OCOM Board, but first to the SOS Doctors.

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The SOS Doctors asserted, and OCOM’s CEO agreed, that the considerations were

whether Tupper was “busy” enough, would “do more cases” at OCOM, would be “bringing

the business” and was “profitable” enough. The SOS Doctors stated it didn’t matter “how

busy [Tupper] is, he isn’t doing half of what we’re [the SOS Doctors] doing.” OCOM’s

CEO, Kimzey, recognized this quid pro quo consideration of OCOM Equity in return for

volume and value of business as “the status quo…this is how this place was built and it

works pretty well.” Based on the SOS Doctor’s determination that Tupper was not

sufficiently profitable, Relator believes the SOS Doctors killed the transaction and barred

Tupper from purchasing additional equity.

       120.   Cruse and Langerman both have special buyout arrangements for their

OCOM Equity. These arrangements contractually commit USP to pay each of them a 6.5

EBITDA multiple upon their retirement.49 The Cruse and Langerman special buyout

arrangements allow each to sell a limited amount of OCOM Equity annually to USP for a

6.5 EBITDA multiple. Other physician owners of OCOM Equity do not have this staged

buy-out benefit and receive only a 4.0 EBITDA multiple paid in lump sum. Cruse and

Langerman have, between approximately 2014 and 2017, sold some of their OCOM Equity

under these special buyout provisions, each selling to USP at a 6.5 EBITDA multiple. Upon

learning of Cruse and Langerman’s OCOM Equity sales to USP, the other SOS Doctors

demanded they, not USP, be offered that equity. However, the SOS Doctors refused to pay


49
  The other physician owners of OCOM Equity have buy-out provisions at a 4.0 EBITDA
multiple. EBITDA, in financial accounting, meaning “earnings before interest, taxes,
depreciation, and amortization.”

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the 6.5 multiple price. Cruse negotiated with USP on behalf of the SOS Doctors, and USP

agreed to allow only the SOS Doctors to purchase this OCOM Equity as a reward and

incentive at a 4.0 EBITDA (despite USP having just paid 6.5 EBITDA to purchase the

shares from Cruse and Langerman). Cruse explained:

   • USP knew which providers bring in the most referrals;

   • USP wanted to reward those providers—the SOS Doctors—and keep them happy;

   • USP created this special purchase arrangement for only SOS Doctors;

   • the arrangement provided for annual OCOM Equity offerings over multiple years;

   • the SOS Doctors receiving this benefit must be practicing at SOS at the time of the

       prospective purchase; and

   • USP would not require the SOS Doctors to pay the 6.5 EBITDA price USP paid

       when purchasing Cruse and Langerman’s equity.

Cruse and Langerman effectively received a built-in incentive—a 62.5% premium over

fair market value and what other physicians would receive. This anchored Cruse and

Langerman as committed referrers to OCOM, while anchoring the other SOS Doctors with

the reduced share price.

       121.   In the months leading to October 2015, Hume, a SOS Doctor at the time,

announced he was considering leaving SOS to join another clinical practice that competed

with SOS. This other clinical practice had a relationship with hospitals that competed with

OCOM. Hume expressed he wanted to leave the SOS clinic but had no desire to

disassociate from OCOM hospital or stop referring patients to OCOM. In October 2015,


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the SOS Doctors learned that Hume had decided to leave SOS. As punishment, Cruse,

Langerman, Kimzey, Hendley, USP, and Tenet secured the 75% OCOM vote per OCOM’s

Operating Agreement to forcibly disassociate Hume from OCOM and pay Hume a

discounted penalty price in redemption of his OCOM Equity. Cruse asked the SOS Doctors

and USP for their affirmative vote for this action, stating that everyone knew that when

Hume left SOS and joined a competitive group, Hume would significantly decrease or

altogether stop his referrals to OCOM. This demonstrates the inherent threat of penalty in

the SOS Doctors’ control over OCOM Equity—that failure to drive high volume and value

of referrals to OCOM will result in forcible disassociation.

       122.   Dr. Greenway, a non-SOS physician holding approximately 1% of OCOM

Equity, announced he was moving out of the Oklahoma City area and wished to sell his

OCOM Equity to his partner, Dr. Vavricka (another non-SOS physician who also owned

approximately 1% of OCOM Equity). On March 31, 2016, Cruse advised the SOS Doctors

of the proposed sale to Vavricka and asked if the sale could be blocked. Cruse explained

that Vavricka “doesn’t do shit over there [at OCOM], that’s why we don’t want him

[Greenway] selling to Vavricka.” OCOM’s CEO, Kimzey, answered, saying “we can

absolutely block that” because the “whole point is, let’s get it to SOS … that’s the whole

point of this drill.” OCOM then purchased the equity and sold it to only the SOS Doctors,

once again in violation of the OCOM Operating Agreement.

       123.   At the same meeting, Langerman summarized Defendants’ scheme

succinctly: “…remember we always talked about saying if you don’t own SOS, you can

only own so much [of OCOM].” Kimzey acknowledged that such an arrangement could

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never be memorialized in the Operating Agreement and that he could not formally treat

SOS Doctors any differently than anybody else, saying “I don’t know that you can put that

in an operating agreement. I don’t know that they’re going to allow me to treat you any

different than anybody else.” Langerman commented on the volume of business Greenway

and Vavricka provided to OCOM, stating “Greenway and him [Vavricka] ought to only

have one percent ownership.” Reddick agreed that it should remain “an unwritten rule.”

That unwritten rule—OCOM offers available equity to SOS Doctors only—constitutes an

impermissible financial relationship based on the volume and value of referrals. It further

constitutes impermissible remuneration to induce and reward referrals.

       2.     The Employment Contract Scheme: the OCOM Defendants
              Shouldered the Coast of SOS’s Recruitment of New Physicians.

       124.   For over ten years, the SOS Defendants and the OCOM Defendants

perpetrated a similarly egregious and improper compensation relationship—the

Employment Contract Scheme—wherein OCOM shouldered the financial responsibility of

SOS’s recruitment of new physicians and thereby funded SOS’s growth. OCOM’s

employment agreement with new physicians promised a sizeable bonus if, upon leaving

OCOM, the new physician joined SOS as an equal partner for at least eighteen months.

Defendants’ improper relationship and their unlawful referrals pursuant to that relationship

constitute violations of the Stark Law’s strict liability and the AKS. Defendants’ claims for

reimbursement to federal and Oklahoma healthcare program constitute violations of the

FCA and OKFCA.




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                  a.     Physicians Must Join SOS to Receive their Bonus.

           125.   When the SOS Doctors identified a new orthopedic surgeon as a potential

addition to SOS, Cruse, Langerman, and the SOS Doctors directed OCOM to enter into an

Employment Agreement with the new surgeon (the “Physician”) whereby the Physician

would work as an OCOM employee for two years. This agreement provided that OCOM

employs the Physician, and the Physician thereby agreed to purchase a Membership

Interest in OCOM of 1%. The agreement was effective for twenty-four months.

           126.   The Employment Agreement provided an opportunity for a bonus. The

Physician earned this bonus only if he

           provides professional services on a full-time basis through Southwest
           Orthopaedic Specialists, PLLC (“SOS”) on terms mutually satisfactory to
           SOS and Physician for at least 18 months following the end of the term of
           this Agreement. [OCOM] believes that the terms to be offered by SOS at the
           end of the Term will be that Physician will receive all income attributable to
           his services, less a share of the overhead of SOS that will be agreed upon by
           the parties with no capital contribution or other “buy in” obligation.
           (emphasis added).50

If the Physician completed his eighteen months with SOS,

           [OCOM] shall pay to Physician, as a bonus compensation for the
           professional services provided during the Term, an amount equal to the lesser
           of (i) 75% of [OCOM’s] collections…for Physician’s services rendered
           during the Term of this Agreement that are in excess of the applicable Target
           Amount set forth in Exhibit A or (ii) $500,000.51




50
     See, e.g., Hume Agreement at pp. 2-5.
51
     Id.

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              b.     OCOM Rented SOS Clinic Space Based on the Volume and
                     Value of New Physicians’ Services.

       127.   Simultaneously with each new Physician’s employment agreement, OCOM

entered into a separate Rental Agreement with SOS, whereby OCOM would pay to SOS a

monthly rental fee for SOS providing the Physician a place to conduct clinical practice.

Under this Rental Agreement the Physician would appear as an SOS Doctor, be billed

under the SOS Tax ID, be integrated into SOS’ computer systems, have presence on SOS’

website, and for all outward appearances be an SOS Doctor. SOS paid monthly to OCOM

all receipts generated by the Physician from clinical and surgical services (i.e., not facility

fees, which OCOM billed directly).

       128.   The rental amounts OCOM paid to SOS increased monthly during the term

of the Physician’s employment with OCOM to reflect the increasing volume and value of

business referred and performed by the Physician. For example, the Rental Agreement for

Hume provided the following ramp up:




These escalating rental payments account for the increased volume and value of the

Physician’s services, which increase over time as the Physician establishes his practice.



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       129.   Once the Physician established himself—i.e., produced enough income such

that he would earn more as an SOS Doctor than an OCOM employee—the Physician would

terminate the Employment Agreement. OCOM would stop paying the Physician’s salary,

and the Physician would become an SOS Doctor subject to SOS’s internal financial

relationship.52




       130.   Once the Physician transitioned to SOS, Cruse would then orchestrate an

improper equity transaction described in Section V.A.1., supra, allowing the surgeon to

purchase additional OCOM Equity.

       131.   This relationship is plainly unlawful. The plain language of the Employment

and Rental Agreements, and the circumstances under which these transactions occurred

since 2007 are plainly violative of the strict liability Stark Law and demonstrate the intent

to induce and reward referrals in violation of the AKS.

       132.   In the wake of Tenet’s September 30, 2016 Consent Decree and NPA with

the Department of Justice, USP recognized that this continued unlawful employment


52
 A proportional equation based on production, which the SOS Doctors referred to as “eat
what you kill.” The SOS Doctors eventually formalized this in the 2016 SOS Operating
Agreement.

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scheme threatened Tenet’s compliance with the NPA. USP ordered Kimzey to dismantle

the arrangement immediately, and Kimzey anxiously informed the SOS Doctors that the

arrangement must immediately stop. On October 25, 2016, Kimzey hurriedly ordered

Relator to immediately wipe Dr. Disselhorst, the OCOM-employed Physician under the

scheme at the time, from the SOS system and website to hide the offense. Despite this, Dr.

Disselhorst continued to operate within the SOS system under the terms of the employment

agreement until joining SOS as a partner on January 1, 2017.

      133.   Since 2007, Defendants hired West, Hume, Levings, Reddick, Avant, and

Disselhorst pursuant to this unlawful arrangement. This arrangement constitutes a strict

liability Stark law violation. Further, it consists of a litany of unlawful kickbacks in

violation of the AKS. As such, all claims for reimbursement OCOM submitted to federal

healthcare programs since 2007, which a SOS Doctor referred to OCOM, are subject to

liability under the FCA and OKFCA.

      3.     THE SOS AND OCOM DEFENDANTS’ ADDITIONAL SCHEMES

      134.   The Equity and Employment Contract Schemes detailed in Sections V.A.1.

and V.A.2., respectively, infra, are sufficient to reach all referrals of DHS from the SOS

Defendants to OCOM from at least 2007. However, the SOS Defendants and the OCOM

Defendants entered into four additional financial relationships and kickbacks that violate

the Stark Law, AKS, FCA, and/or OKFCA. Although these four additional Schemes are

cumulative in the sense that they reach the same Government reimbursements as the Equity

and Employment Contract Schemes, the presence of these four additional Schemes (a)

demonstrates that the entire relationship between the SOS Defendants and the OCOM

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Defendants is fraught with illegal and improper financial relationships and kickbacks; and

(b) confirms that the SOS Defendants and OCOM Defendants acted with knowledge and

intent, which gives rise to civil penalties and treble damages under the FCA and OKFCA.

       135.   These four additional Schemes as between the SOS Defendants and OCOM

Defendants are the following: (i) the “Surgical Scrub Scheme”; (ii) the “Sham Lease

Scheme”; (iii) the “Office Space Scheme”; and (iv) the “Credit Card Scheme.” Each of

these four schemes separately violates the Stark Law, AKS, FCA, and/or OKFCA and

would allow the Government to recover all Government reimbursements to OCOM from

SOS Doctors during the duration of the Scheme. When these four schemes are considered

together, and in combination with the Equity and Employment Contract Schemes, the

relationship between the SOS Defendants and the OCOM Defendants is so tainted with

improper financial relationships and kickbacks that all OCOM reimbursements from the

Government for DHS from at least 2007 are reachable by the Stark Law, AKS, FCA, and/or

OKFCA.

              a.    The OCOM Defendants Covered the Cost of Medical Assistants
                    for Cruse and Langerman Because Cruse and Langerman Were
                    the Most Profitable and Influential Referring Physicians (the
                    “Surgical Scrub Scheme”).

       136.   The OCOM Defendants provided compensation for Langerman and Cruse’s

medical assistants in exchange for and to incentivize and reward continued high volume of

referrals.




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      137.   Langerman used a medical assistant called a “scrub tech.” In approximately

2002-2004, SOS employed Langerman’s scrub tech while Langerman personally

compensated him.

      138.   During Relator’s tenure with SOS, in approximately 2004, Langerman

sought to decrease the amount of money he personally paid for his personal scrub tech’s

compensation. Langerman was OCOM’s highest volume referring doctor at the time. He

used that influence to direct OCOM to hire his scrub tech as an OCOM employee for at

least 50% of the scrub tech’s current salary. Because of Langerman’s referrals to OCOM

and influence over OCOM and SOS Doctors, OCOM agreed to create this unwritten special

financial compensation relationship for Langerman’s benefit.

      139.   In or about 2005, Cruse followed suit. He directed OCOM to hire a scrub

tech using the same financial relationship as between Langerman and OCOM.

      140.   The OCOM Defendants have hired and retained other scrub techs for general

use by all physicians. However, the OCOM Defendants have not provided the personal

beneficial arrangement alleged herein to any physicians other than Langerman and Cruse.53

      141.   Because of Cruse and Langerman’s referrals to OCOM and influence over

OCOM and SOS Doctors, OCOM agreed to create these special financial compensation

relationships to benefit Cruse and Langerman individually.




53
   Other SOS Doctors and non-SOS physicians employ personal scrub techs and other
assistants.

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               b.        The OCOM Defendants Entered into a Sham and Commercially
                         Unreasonable Lease of an Empty Building Owned by Cruse And
                         Langerman to Appease Cruse and Langerman and Reward
                         Them for Their High Volume Of Referrals (the “Sham Lease
                         Scheme”).

       142.    Cruse and Langerman conspired with Hendley and Kimzey to extend

OCOM’s lease of property Cruse and Langerman own. Despite having no continuing need

for the facility and losing money on the deal, the OCOM Defendants readily agreed to

extend the lease, embracing yet another opportunity to appease and placate its most

influential referrers.

       143.    Cruse and Langerman equally own real property located at 8125 S. Walker

Ave., which includes a licensed Ambulatory Surgery Center known as Southwest

Ambulatory Surgery Center, LLC (“SASC”) located directly across the street from

OCOM.54 Cruse and Langerman own the property through their respective beneficial

ownership of 50% each of Southwest Orthopaedic Center, LLC (the “Center”). Throughout

the relevant period, Cruse and/or Langerman had commercial loans payable for their

respective interest in the Center.

       144.    Since August 1, 1998, OCOM has leased the SASC and office space from

the Center.55 Until sometime in 2013-2014, OCOM historically scheduled some surgical

cases to be performed at SASC. OCOM then expanded its operating room capacity,


54
  SASC is the single-member owner entity of OCOM. SASC is also an ambulatory surgical
center licensed by the Oklahoma Department of Health; however, the license was
reportedly limited in scope due to facility issues found upon inspection.
55
  The lessee was formally SASC, the single-member owner of OCOM. For consistency
and clarity purposes in explanation, “OCOM” is used here to designate the lessee.

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completely eliminating the need for the SASC operating room space. Accordingly, OCOM

stated its intention to allow the lease with the Center to expire on December 31, 2013.

       145.   Cruse and Langerman wanted the lease income to continue, so they used their

influence over OCOM to secure extended lease and rental payments from OCOM to the

Center. As thinly-veiled justification a fair market value study was obtained for the value

of the business OCOM conducted and for storage space at SASC, to which the SOS CFO

retorted in an email that the “FMV for an entity that loses $ should not be hard to

determine.” Regardless of the lack of value, OCOM acquiesced and on at least two separate

occasions from January 2014 through December 2014 executed lease extension

agreements. All the while, as OCOM lacked a proper business justification for the space,

the payments were clearly gratuitous. Relator estimates that Cruse and Langerman were

paid approximately $17,000 per month, or $204,000 in total, by OCOM under the sham

lease. These payments constitute illegal kickbacks.

       146.   Cruse and Langerman personally benefited by using their influence over

OCOM to continue rental payments for SASC under a sham lease. OCOM benefitted by

continuing to appease its most influential and highest volume referrers.

              c.     The OCOM Defendants Provided Cruse Free Office Space in
                     Exchange for His Referrals and Influence (the “Office Space
                     Scheme”).

       147.   Because of Cruse’s influence over OCOM and over the other SOS Doctors,

the OCOM Defendants have for years provided to Cruse free office space and equipment

for operating and managing his personal business interests and personal affairs, with no

written agreement and no consideration paid.

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       148.   Cruse was the beneficial owner of buildings leased by OCOM and in which

OCOM operates.56 Cruse is also the beneficial owner of the campus real property on which

both OCOM and SOS reside, known as Crystal Park Plaza, LLC (“CPP Campus”). Cruse

is the beneficial owner of and operates one or more entities that own, manage and/or govern

and oversee the CPP Campus.

       149.   Cruse directs and/or employs one or more individuals who assist in the

operation and management of the CPP Campus and who manage Cruse’s personal business

interests and personal affairs. This employee maintained an office at OCOM, which

OCOM provided at no cost and for no additional consideration.

              d.     The OCOM Defendants Allowed Cruse to Use His Personal
                     Credit Card to Purchase OCOM Surgical Equipment so that
                     Cruse Could Rack Up Reward Points (the “Credit Card
                     Scheme”).

       150.   During at least 2011, Cruse, as OCOM Board Chairman and Medical

Director, conspired with the OCOM Defendants to channel OCOM’s purchases of surgical

supplies through Cruse’s personal credit card. This allowed Cruse to earn credit card

reward points for these high-dollar purchases, which amounted to tens of thousands of

dollars monthly. OCOM would reimburse Cruse monthly for the credit card amount due

for such purchases, and Cruse would then keep the financial benefit from the accumulated

credit card reward points. At the time, Hendley was OCOM’s acting executive manager




56
  In April 2017, Cruse sold his real property interest in the OCOM buildings for $44.4
million. http://newsok.com/article/5547303 (last visited March 22, 2018).

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and agreed to and directed this arrangement be implemented through OCOM’s accounting

department.

B.     IMPROPER FINANCIAL RELATIONSHIPS AND KICKBACKS BETWEEN THE SOS
       DEFENDANTS AND THE OCOM DEFENDANTS WITH RESPECT TO THE
       FORMATION OF APO

       151.    The SOS Defendants and the OCOM Defendants further violated the Stark,

AKS, FCA, and/or OKFCA by forming and operating Anesthesia Partners of Oklahoma,

LLC, (“APO”). They designed and used APO to refer designated health services to

themselves (the “Anesthesia Company Scheme”). Based on a USPI/USPH model used

across the nation, OCOM’s CEO initiated the creation of APO as OCOM’s exclusive

anesthesia service provider. Using the USPI/USPH supplied structure and pattern for such

entities, APO’s ownership was a private club comprised of only the SOS Doctors, USP, and

Kimzey (individually). APO’s profit distributions to these owners varied directly with the

volume and value of the SOS Doctors’ referrals to OCOM. The SOS Doctors, USPI, and

Kimzey formed the company using USPI/USPH-provided boilerplate corporate documents

to provide exclusive anesthesia services at OCOM, driving additional profits to themselves.

In doing so, Defendants created a textbook self-referring financial relationship and kickback

Scheme. Since 2012, USP formed at least twenty-two similar companies in six states, where

USPI/USPH has facilities and physician-partnerships similar to OCOM, to perpetuate the

same fraudulent scheme. Like Defendants’ employment scheme, USP urgently ordered

Kimzey to dismantle the anesthesia company expeditiously by selling its shares back to the

SOS Doctors in fear of Tenet’s reprisal after entering into its Non-Prosecution Agreement.

Through this abrupt restructuring of APO, USP and Kimzey attempted to conceal their

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involvement in this unlawful agreement from the forthcoming NPA monitor. Because of the

improper financial relationship between the SOS Defendants and the OCOM Defendants

with respect to APO, all Government reimbursements to OCOM and APO from referrals

from SOS Doctors are subject to recovery under the Stark Law and the FCA.

       152.   In late 2015, Kimzey convinced the SOS Doctors that they were “leaving

money on the table” by allowing independent anesthesiologists to bill and collect for

anesthesia services for surgeries performed at OCOM. He encouraged them to follow a

nationally-employed USP model to create and own their own anesthesia company, which

would then be the exclusive anesthesia provider to OCOM. Kimzey told the SOS Doctors

that USP and Tenet used this type of arrangement throughout their facilities nationally for

years, and OCOM was perhaps the only facility failing to capture such revenue. The

thought of these lost profits was more than the SOS Doctors could bear; they quickly

authorized Kimzey to get the USPI/USPH-provided documents and form their own

anesthesia company under USP’s guidance.

       153.   Using the USPI/USPH-provided boilerplate corporate documents, USP and

Tenet arranged for the formation of the anesthesia company, Defendant APO. The SOS

Doctors, USP (via a new USP subsidiary called UAP Oklahoma), and Kimzey each

individually owned a portion, with each member contributing $49,000 for 10% (except

USP, who contributed only $1.00 for 10% because it provided the corporate documents

and architecture). APO obtained an NPI number so that it could submit claims for

reimbursement to federal healthcare programs.



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      154.   Following the USPI/USPH model and under Kimzey’s coordination, APO

then (i) entered into an exclusive agreement with OCOM to provide anesthesia services;

(ii) entered into contractor and/or employment agreements with one or more

anesthesiologists and Certified Registered Nurse Anesthetists (“CRNAs”); and (iii) entered

into a management agreement with UAP. When the SOS Doctors referred a patient to

OCOM, they were referring a patient for hospital services, including anesthesia. As

explained throughout this Complaint, the SOS Doctors had effective control over OCOM

Equity and its operations: Cruse was OCOM’s Chairman, a board member and Medical

Director; Langerman was a board member; another SOS Doctor was a rotating board

member; and Kimzey brought all OCOM matters (regarding equity and operations) to the

SOS Doctors and even regularly attended SOS Doctor meetings. And because the SOS

Doctors, in coordination with Kimzey and USP, could direct OCOM to enter into an

exclusive arrangement with APO, the SOS Doctors knew that a surgical referral to OCOM

was an anesthesia service referral to their company, APO—a two-for-one deal.

      155.   The arrangement constitutes an improper financial relationship between the

SOS Doctors, OCOM, and UAP that facilitates unlawful self-referrals of DHS. Further, the

venture constitutes blatant solicitation and payment of kickbacks to the SOS Doctors in

return for referral of federally-insured patients to OCOM. This financial relationship (and

business plan) for APO was based on and took into account the volume and value of SOS

Doctors’ referrals to OCOM, and the amount of remuneration provided to the SOS Doctors

depended directly on the volume and value of the SOS Doctors’ referrals to OCOM. The

Scheme involved little to no financial risk to the SOS Doctors because they alone

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controlled the amount of business they referred to OCOM and, thus, to APO. The initial

member contributions were to pay for the hiring of anesthesiologists and CRNAs until

APO’s billings could be collected. During the initial setup, the SOS Doctors had little to

no involvement with APO because Kimzey handled all the necessary management tasks as

directed by USP (e.g., the APO NPI number initially listed Kimzey as the primary contact,

and that continues today). Thereafter, the SOS Doctors were not involved in APO’s

operations beyond collecting their monthly distribution. Within months, it was reported to

Relator that each member received an initial monthly distribution of approximately

$20,000.

      156.   This relationship is nearly identical to a Physician-Owned Distributorship

(“POD”) or Physician-Owned Entity (“POE”), which are textbook violations of the AKS.57

Here, Defendants capture unlawful revenue for anesthesia services, where the traditional

POD involves capture of revenue from medical implants (e.g., surgical implants). This

relationship is also considered a highly suspect joint venture by the OIG, and as such was

termed the “company model” in OIG Advisory Opinion 12-06, which outlined the

“common elements of a suspect joint venture arrangement”:

      [A] health care provider in one line of business (hereafter referred to as the
      “Owner”) expands into a related health care business by contracting with an
      existing provider of a related item or service (hereafter referred to as the

57
  “PODs are inherently suspect under the anti-kickback statute,” with the parties’ intent
“evidenced by a POD’s characteristics, including the details of its legal structure; its
operational safeguards; and the actual conduct of its investors, management entities,
suppliers, and customers during the implantation phase and ongoing operations,” Dept. of
Health and Human Services, Office of Inspector General, Special Fraud Alert: Physician
Owned Entities, March 26, 2013.

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       “Manager/Supplier”) to provide the new item or service to the Owner’s
       existing patient population, including [F]ederal health care program patients.
       The Manager/Supplier not only manages the new line of business, but may
       also supply it with inventory, employees, space, billing, and other services.
       In other words, the Owner contracts out substantially the entire operation of
       the related line of business to the Manager/Supplier—otherwise a potential
       competitor—receiving in return the profits of the business as remuneration
       for its [F]ederal program referrals.

The Scheme allowed the SOS Doctors “to do indirectly what they cannot do directly; that

is, to receive compensation, in the form of a portion of the Requestor’s anesthesia services

revenues, in return for their referrals to the Requestor.”58 And, notwithstanding each

member (except USP) contributing $49,000.00 to the APO venture, the OIG considers this

model to “present more than a minimal risk of fraud and abuse regardless of the level of

the [entity’s] physician-owners’ contributions.”

       157.   This arrangement, based on USP’s model used nationally, was so blatantly

illegal that, following the execution of Tenet’s NPA, USP ordered Kimzey to immediately

sell USP and Kimzey’s interest to the SOS Doctors. USP needed to avoid potential review

by the forthcoming NPA Monitor, who would review Tenet’s (and its subsidiaries’)

relationships with referring physicians. USP realized that this unlawful practice could

compromise Tenet’s continued compliance with the NPA. Tenet’s NPA provides

       The Monitor’s work plan for the initial review shall include such steps as are
       reasonably necessary to conduct an effective initial review in accordance
       with the Mandate, including by developing an understanding, to the extent
       the Monitor deems appropriate, of the facts and circumstances surrounding
       any violations that may have occurred before the date of the Agreement. In
       developing such understanding the Monitor is to rely to the extent possible

58
 OIG Advisory Opinion No. 12-06, May 25, 2012 (“Requestor”—an anesthesiologist—
made a request to OIG for Advisory Opinion No. 12-06).

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         on available information and documents provided by Tenet. It is not intended
         that the Monitor will conduct his or her own inquiry into the historical events
         that gave rise to the Agreement.59

         158.   Fearing reprisal from Tenet for threatening that compliance, and in order to

afford USP plausible deniability as to the improper relationships and resultant referrals and

kickbacks, USP hurriedly ordered Kimzey to dismantle the relationship before Tenet’s

compliance monitor could uncover it. That day, the SOS Doctors voted to buy out USP and

Kimzey, and Kimzey then coordinated the purchase of USP and Kimzey’s APO shares.

The SOS Doctors continued to own APO.

         159.   Within 2016, APO submitted or caused to be submitted claims for payment

to federal healthcare programs for designated healthcare services, and remuneration was

paid to APO’s owners from reimbursements from federal healthcare programs. Because

USP manages APO—as USPI/USPH does with all the other anesthesia companies set up

nationally in this Scheme—USPI/USPH is submitting claims for payment for DHS on

behalf of APO and all the others nationally.

         160.   According to its most recent Form 10-K, Tenet owns twenty-two companies

similar to UAP Oklahoma through USPI/USPH. As Kimzey stated to Relator, Tenet and

USP perpetuated this scheme across six states in the U.S., with each such company using

a USP-supplied “kit”— boilerplate corporate formation and governance documents.60


59
     Tenet Non-Prosecution Agreement at 75, ¶12.
60
  Tenet’s SEC 10-K filing lists twenty-two subsidiaries named “…UAP…,” including:
Dreamland UAP Anesthesia, LLC (MO); Eye Center of Nashville UAP, LLC (TN);
Franklin Endo UAP, LLC (TN); GLS UAP Sugarland, LLC (TX); JFP UAP Sugarland,
LLC (TX); Lee’s Summit Endo UAP, LLC (MO); Mid State Endo UAP, LLC (TN); SKV
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        161.    USP propagated their uniform anesthesia model in six states since at least

2012. Based on Relator’s firsthand exposure to the Oklahoma model and Kimzey’s

representation to Relator that the Oklahoma model was set up and operated the same as

those in the other states, Relator alleges that all USP anesthesia companies (i.e., the “UAP”

companies) are engaged in the identical unlawful activities. Because USP alone possesses

and controls all of the specific information on each states’ corporations’ structures, Relator

does not know each states’ specific anesthesia companies or their owners; however,

because the USP Defendants designed all such states’ companies’ operations and structures

using the USPH/USPI-provided corporate structure and documents used in Oklahoma,

Relator alleges each operate virtually identically.

        162.    The USP Defendants’ organized and perpetrated their uniform National

Anesthesia Scheme in six states to provide kickbacks to their physician partners for their

patient referrals to the USP Defendants’ wholly or partially owned and/or managed

facilities.61




UAP Sugarland, LLC (TX); UAP Chattanooga Pain, LLC (TN); UAP Las Colinas Endo,
LLC (TX); UAP Lebanon Endo, LLC (TN); UAP Nashville Endoscopy, LLC (TN); UAP
of Arizona, Inc. (AZ); UAP of California, Inc. (CA); UAP of Missouri, Inc. (MO); UAP
of New Jersey, Inc. (NJ); UAP of Oklahoma, Inc. (OK); UAP of Tennessee, Inc. (TN);
UAP of Texas, Inc. (TX); UAP Sacramento, PC (CA); UAP San Antonio Endo, LLC (TX);
UAP Scopes, LLC (TX).
61
   Had the USP Defendants simply desired to control and manage the anesthesia services
at their facilities, they could have directly hired anesthesiologists and CRNAs at those
facilities. The profitability of the anesthesia services would have accrued up to
USPI/USPH, and through to Tenet, their corporate parent, as accreditive to Tenet’s
earnings per share. Instead, the USP Defendants chose to create an elaborate and illegal
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       163.   Relator witnessed firsthand Kimzey’s demand to the SOS Doctors that they

purchase Kimzey and USP’s membership interest in APO immediately after learning of

the Tenet NPA and soon-to-be-appointed Monitor. Kimzey stated the immediate

repurchase was necessary because Tenet had entered a NPA, a Monitor was coming, and

that either USP could own all of APO or the SOS Doctors could, but not both. Based on

the fact that the overall corporate scheme was orchestrated by the USP Defendants, the

hurried manner in which it was restructured after the NPA and before the Monitor’s

appointment, and the fact that the Monitor would be reviewing all of Tenet’s (and its

subsidiaries’) relationships with referring providers, Relator alleges that the USP

Defendants knew the Scheme was unlawful for not only APO, but for all twenty-two

comparable entities nationally, and that USP Defendants directed APO and the others be

restructured before the Monitor was appointed. Although the SOS Doctors’ purchase of

Kimzey and USP’s APO membership interest was reportedly effectuated, APO’s NPI

number listing still indicates Kimzey as the primary contact and manager.

C.     IMPROPER FINANCIAL RELATIONSHIPS AND KICKBACKS BETWEEN THE SOS
       DEFENDANTS AND THE INTEGRIS DEFENDANTS WITH RESPECT TO REFERRALS
       OF FEDERALLY-REIMBURSED HEALTHCARE SERVICES TO INTEGRIS SOUTH
       OKLAHOMA CITY HOSPITAL

       164.   The financial relationships between the SOS Defendants, on one hand, and

Integris Ambulatory Care Corporation (“Integris”) and Integris South Oklahoma City

Hospital Corporation (“ISMC”) (collectively “Integris Defendants”), on the other hand,



corporate Scheme to reward and incentivize its facilities’ referring physicians with profit
from anesthesia services.

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also violate the Stark Law, AKS, FCA, and/or OKFCA. As a result, all Government

reimbursements to Integris resulting from referrals of DHS from SOS Doctors from at least

August 2014 to present were improper. Additionally, all Government reimbursements to

SOS resulting from referrals of DHS from the ISMC E.R. were improper.62

      165.   The SOS Defendants and the Integris Defendants entered into an unlawful

financial agreement and kickback Scheme, wherein SOS agreed to provide exclusive

emergency room (“E.R.”) coverage and perform additional non-trauma elective surgeries

at ISMC. In exchange, Integris provided SOS an exclusive E.R. coverage contract and

payment, and referrals from the ISMC E.R. (the “E.R. Call Scheme”). This agreement

violated the Stark Law and AKS. The SOS Defendants’ and the Integris Defendants’

submission of claims for reimbursement pursuant to the agreement violated the FCA and

OKFCA.

      166.   While the contract for E.R. orthopedic call services exclusivity may have

seemed facially compliant, Integris CEO James Moore imposed an unwritten condition on

SOS before excluding other orthopedists and giving the SOS Doctors exclusivity: the SOS

Doctors were to “do more volume there.” And that they did, which resulted in a clear quid

pro quo Stark Law and AKS violation.

      167.   On August 1, 2014, SOS entered into an agreement with ISMC, whereby

SOS would receive payment from ISMC for providing orthopedic services to ISMC,



62
  The SOS claims for payment derived from referrals from ISMC to SOS referrals. This
includes clinic and surgery charges, but not facility charges.

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including highly lucrative E.R. call coverage. Under the arrangement, SOS received

$434,500.00 annually and had the potential to receive all referrals of orthopedic services

occurring at or required by ISMC. As noted above, this allowed SOS to increase volume

and revenue for its younger physicians.

       168.   As an inducement and solicitation to enter the arrangement, ISMC’s then

CEO, James Moore, requested and the SOS Doctors agreed to increase the number of

elective surgery cases they referred to and performed at ISMC.63

       169.   SOS Doctor West negotiated the deal with Moore. On February 25, 2014,

West told the SOS Doctors that he had told ISMC, “if we [(SOS)] do 80 cases a month

right now orthopedically, we are going to give you [(ISMC)] 110 cases a month. We are

going to, day one, we’re going to increase your volume.” Reddick added, “at no cost,” to

which West replied, “yea, we’re just going to do more volume there for you [(ISMC)].”

       170.   Upon the agreement’s annual renewal, the SOS Doctors discussed ISMC’s

demand that additional elective, non-trauma, non-E.R. surgeries needed to be performed at

ISMC by SOS Doctors or the agreement would not be renewed. During these discussions,

on April 26, 2016, West told the SOS Doctors that ISMC was “happy with volume overall.

Without saying ‘incentive’ they want to look at a way where they can look at case hours,

or however you do it, [for] our group, and what they’re doing there, and to kinda see if they

can maximize that to get guys to do, instead of just the trauma stuff, some more elective



63
  James Moore retired from ISMC, and then SOS hired him to replace Relator as SOS
Administrator upon Relator’s termination.

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stuff . . . . They want us to try to work on doing more elective stuff there, not just trauma

stuff.”

          171.   For the period from August 2013 to July 2014 (prior to the ISMC agreement),

all SOS Doctors referred an average of approximately 348 surgical charges monthly to

ISMC; from August 2014 to July 2015 (after the ISMC agreement), 489; and from August

2015 through March 2016 (eight months), 662. These patient referrals and surgical charges

included referrals for DHS to federal healthcare program patients.

          172.   Only five of the SOS Doctors actually performed the service and received

the compensation paid by ISMC under the ISMC agreement: Avant, Diesselhorst, Levings,

Reddick, and West. For the period from August 2013 to July 2014 (prior to the ISMC

agreement), these five SOS Doctors referred an average of 256 surgical charges to ISMC

monthly; from August 2014 to July 2015 (after the ISMC agreement), 428; and from

August 2015 through March 2016 (eight months), 578. The three other SOS Doctors not

performing the ISMC services referred only an average of ninety-two, sixty-one, and

eighty-four surgical charges to ISMC monthly during these periods, respectively. These

patient referrals and surgical charges included referrals for DHS to federal healthcare

program patients.

          173.   While SOS’s referrals to ISMC cannibalized revenue from SOS’s primary

improper financial relationship with OCOM, the SOS Doctors recognized the tradeoff as

an overall benefit to SOS. ISMC has an ICU and an extended inpatient physical therapy

department, where OCOM has neither. The SOS Doctors refer to ISMC cases that are more

medically appropriate for ISMC than OCOM. In exchange, they secured valuable E.R. call

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time payment, which allowed newer SOS Doctors to build their practices. This, in turn,

increased referrals from the ISMC E.R. back to SOS. The relationship also allowed the

SOS Doctors to leverage against Kimzey and OCOM so they could continue to negotiate

the most favorable deals possible with respect to OCOM.

      174.   All of the SOS Doctors benefited from the Integris orthopaedic services

agreement by receiving patient referrals for orthopaedic services from ISMC in return for

performing prescribed services at ISMC. Based on West’s statements and the SOS Doctors’

subsequent increasing referrals to ISMC, ISMC’s agreement was clearly conditioned on

SOS Doctors’ referring and performing a sufficient volume and value of additional elective

surgery cases at ISMC, including federal healthcare program patients.

D.    THE SOS DEFENDANTS’ DIRECT FCA VIOLATIONS

      175.   In addition to the preceding FCA and OKFCA violations predicated on

violations of the Stark Law and AKS, the SOS Defendants defrauded the federal healthcare

programs by directly submitting, causing to be submitted, or conspiring to submit false or

fraudulent claims for reimbursement for procedures that were not medically necessary or

not actually performed. The SOS Defendants’ submission of these “factually false” claims

violated the FCA and OKFCA.

      176.   First, the SOS Defendants trumped up unearned reimbursements by

deploying ultrasound machines throughout their practices and billing for unnecessary,

unused, or unsupervised ultrasonic guidance for injections. Second, Defendants

fraudulently billed for Levings’ P.A. services that were never actually performed.



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      1.     Defendants Submitted False Claims for Ultrasound Guidance That
             Was Not Medically Necessary or Never Actually Performed (the
             “Ultrasound Scheme”).

      177.   The SOS Defendants manufactured unearned reimbursements by deploying

ultrasound machines throughout their practices and billing for unnecessary, unused, or

unsupervised ultrasonic guidance for injections (the “Ultrasound Scheme”).

      178.   Levings pitched the idea for the Ultrasound Scheme to the other SOS Doctors

in mid-2012. Before this, SOS Doctors and P.A.s performed thousands of joint injections

without ultrasound, as SOS did not own an ultrasound machine or employ ultrasound

guidance. Levings proposed that SOS could receive additional reimbursement for clinic-

based joint injections by using ultrasound guidance and seeking reimbursement for CPT

code 76942.64 He explained that SOS Doctors and P.A.’s would not need to actually use

an ultrasound device for needle guidance, but that by merely “holding the device next to

the joint,” and then coding CPT 76942 and dictating “ultrasound guidance was used,” they

would receive a significantly higher reimbursement.65




64
   Providers use Current Procedural Terminology (“CPT”) codes to report, bill, and seek
reimbursement for medical, surgical, and diagnostic procedures and services. CPT 76942
indicates “ultrasonic guidance for needle placement (e.g., biopsy, aspiration, injection,
localization device), imaging supervision and interpretation.” Federal healthcare programs
reimburse for this procedure if (1) medically necessary, (2) properly documented, and (3)
the provider produces a retains an ultrasound image from the procedure.
65
  In 2013, CPT 76942 had a Medicare Allowable reimbursement amount of $179.93.
Source: Ingenix Optum Customized Fee Analyzer, 2013.

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       179.   From the second half of 2012 through February 2014, SOS Doctors

instructed Relator to acquire at least five ultrasound machines, including portable devices

for rural, “pack-in-and-pack-out” operations.

       180.   At no time did Levings or the other SOS Doctors discuss or inquire into the

required medical necessity, documentation, or supervision requirements for using CPT

76942. Relator informed the SOS Doctors of billing requirements for using the ultrasound

machines. For operational efficiency with SOS’s electronic medical record system, the

SOS Doctors authorized Relator to acquire technologically advanced ultrasound machines

that could be configured to automatically record the required image in the patient electronic

medical record, but never inquired as to what constituted medical necessity for use of the

machine.

       181.   Throughout this period, the SOS Doctors regularly and routinely directed

their P.A.s to use the ultrasound devices at every opportunity, regardless of whether the

SOS Doctor was on-site and in the room to supervise its use as required.66 Often, at least

two-to-three days weekly, P.A.s would employ an ultrasound machine while their

supervising physician was in surgery in another building (i.e., not on-site, not in the room,

and not supervising the P.A.).

       182.   From December 2012 through February 2014, the SOS Doctors and their

P.A.s employed the Ultrasound Scheme approximately 4,500 times on over 1,500 federal


66
  Medicare guidelines require physician supervision for PAs using the ultrasound device.
The physician must be on-site and in the room during the procedure. Medicare Benefit
Policy Manual, Chapter 15, § 80.

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healthcare program patients. They submitted claims for and received over $750,000 in total

reimbursement for CPT 76942, with over $250,000 of that from federal healthcare

programs.

      183.   SOS’s third-party billing company, ALN, recognized the spike in CPT 76942

claims. On January 24, 2014, ALN informed the SOS Doctors that CMS mandated that

each use of the ultrasound device be medically necessary, properly documented, and

supervised if administered by a P.A. ALN warned that the SOS Defendants risked False

Claims Act and other legal liability by misusing the device. ALN told the SOS Doctors that

payment for ultrasound services that were not medically necessary or that were performed

by P.A.s without supervision should be returned. The SOS Doctors then abruptly decreased

and eventually stopped using the ultrasound devices for injections.

      184.   The SOS Doctors then deliberately ignored the fact that they had wrongfully

profited from almost two years of improper reimbursements. They never requested a

review of the medical documents; they never inquired into the calculation of amounts they

had received; they never inquired into the proper procedure for returning the money to the

government as required by law; and they ignored Relator’s warnings that they should

consider such proper compliance actions.

      185.   The SOS Doctors, individually, directly and personally benefited from the

Ultrasound Scheme by unlawfully increasing revenues for themselves and their fellow SOS

Doctors.




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       2.     Defendants Fraudulently Billed for Physician Assistant Services (the
              “Levings P.A. Scheme”).

       186.   SOS and Levings routinely defrauded federal healthcare programs by

seeking reimbursement for P.A. services that were never performed (the “Levings P.A.

Scheme”).

       187.   On or about November 4, 2015, an SOS operations manager reported to

Relator their concern that Levings was fraudulently billing for P.A. services in surgery.

Relator investigated, and discovered that on certain days every week, Levings’s P.A.

conducted and billed for clinical operations in the SOS building while simultaneously

being billed as Levings’s surgical assistant in the OCOM building next door.67

       188.   On November 6, 2015, Relator informed Cruse and Langerman of Levings’

acts. Relator then gathered a sampling of data to verify the potentially fraudulent scheme.

Throughout the course of gathering the sampling of data, OCOM’s CEO, Kimzey, was

informed of the situation and assisted Relator in gathering the data, which indicated what

the operations manager suspected—that Levings was documenting and billing for his P.A.

as providing surgical assistant services at the same time the P.A. was conducting and billing

for clinical operations in a separate building. In some instances, the P.A. was recorded as

being in the Operating Room (“O.R.”) for only a few minutes; in other instances, longer;

and in some instances, none at all. Claims for payment were being made to federal




67
  Relator emphasizes the physical impossibility apparent in the timing signatures for these
bills. Given the distance between the two physical locations, there simply was no possible
way to explain the concurrent bills.

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healthcare programs for the P.A.’s simultaneous service in the SOS clinic and the OCOM

O.R.

       189.   The data also indicated that while the P.A. was recorded as being in the O.R.,

he was also (impossibly) simultaneously conducting clinical operations as recorded in the

SOS Electronic Health Record (“EHR”) computer system, including ordering services and

writing prescriptions. At the times when the P.A. was actually in the O.R., it was suspected

that Levings and his P.A. directed unlicensed staff to use the P.A.’s user ID and password

in the clinic to transact SOS clinical orders and prescriptions.

E.     FALSE CERTIFICATION UNDER THE FALSE CLAIMS ACT AND OKLAHOMA
       MEDICAID FALSE CLAIMS ACT

       190.   Several of Relator’s claims alleged herein turn on the fact that Defendants

lied to federal healthcare program administration about their compliance with relevant and

material laws. Simply, while Defendants may have provided the healthcare service in

question, they did so while engaged in an unlawful financial relationship or kickback

arrangement. As explained in Sections V.A. through V.D., supra, such relationships and

arrangements violate federal and state healthcare laws, which are material to the

government’s reimbursement decision—i.e., the government would not pay for the service,

even if correctly provided and billed, if it was rendered pursuant to such relationships or

arrangements. Therefore, Defendants’ claims for reimbursement for those services are false

and fraudulent under the FCA and OKFCA.




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       1.     Defendants Made Multiple False Certifications of Compliance with the
              Stark Law and AKS.

       191.   As a Medicare and Medicaid provider, OCOM attests to and expressly

certifies its compliance with the healthcare laws in, inter alia, Cost Reports.68 OCOM also

attests and expressly certifies its compliance with the healthcare laws in all claims for

payment sent to federal healthcare programs.69

       192.   As Medicare and Medicaid providers, SOS and the SOS Doctors expressly

certify their compliance with the healthcare laws in, inter alia, each claim for payment

made to federal healthcare programs.70



68
   Medicare-certified institutional providers are required to submit an annual Cost Report
to a Medicare Administrative Contractor. The Cost Report contains provider information
such as facility characteristics, utilization data, cost and charges by cost center (in total and
for Medicare), Medicare settlement data, and financial statement data. The Cost Report
requires attestation to the following: “MISREPRESENTATION OR FALSIFICATION
OF ANY INFORMATION CONTAINED IN THIS COST REPORT MAY BE
PUNISHABLE BY CRIMINAL, CIVIL AND ADMINISTRATIVE ACTION, FINE
AND/OR IMPRISONMENT UNDER FEDERAL LAW. FURTHERMORE, IF
SERVICES IDENTIFIED IN THIS REPORT WERE PROVIDED OR PROCURED
THROUGH THE PAYMENT DIRECTLY OR INDIRECTLY OF A KICKBACK OR
WERE OTHERWISE ILLEGAL, CRIMINAL, CIVIL AND ADMINISTRATIVE
ACTION, FINES AND/OR IMPRISONMENT MAY RESULT.” The Cost Report also
requires affirmative attestation that the signatory officer is “familiar with the laws and
regulations regarding the provision of the health care services, and that the services
identified in this cost report were provided in compliance with such laws and regulations.”
69
   Hospital claims are sent electronically or on a Form UB-92. A claim for payment
includes express certification as follows: “I understand that payment and satisfaction of
this claim will be from Federal and State funds, and that any false claims, statements, or
documents, or concealment of a material fact, may be prosecuted under applicable Federal
or State Laws.”
70
  Physician services claims for payment are sent electronically or on a Form 1500. A claim
for payment includes express certification as follows: “NOTICE: Anyone who
misrepresents or falsifies essential information to receive payment from Federal funds
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       193.   Defendants directly and/or (as an entity agent/official) affirmatively attested

to not violating, and expressly certified being in compliance with, the Stark Law, AKS,

Oklahoma kickback prohibitions, FCA, and the OKFCA. Defendants’ knew of the

individual and continuous violations complained of herein. Defendants knew that these

violations rendered each claim for payment by each Defendant to a federal healthcare

programs a false and/or fraudulent claim under the FCA and OKFCA. Despite this, from

2011 at the latest, year after year, in thousands of claims for payment and required reporting

to federal healthcare programs, Defendants attested to and certified their compliance with

material healthcare laws.

       2.     Defendants Falsely Certified Compliance with EHR Incentive
              Requirements.

       194.   Defendants made a separate set of false claims to the government for

payments designed to incentivize the implementation of an Electronic Health Record

(“EHR”) system.71 Defendants’ lack of compliance with the healthcare laws, and their

certification of compliance in their submission of claims for the incentive funds, rendered

those claims false and fraudulent under the FCA and OKFCA. These lies fraudulently



requested by this form may upon conviction be subject to fine or imprisonment under
applicable Federal laws.”
71
   “Beginning in 2011, the Electronic Health Records (“EHR”) Incentive Programs were
developed to encourage eligible professionals and eligible hospitals to adopt, implement,
upgrade (AIU), and demonstrate meaningful use of certified EHR technology. As of
October 2015, more than 479,000 health care providers received payment for participating
in the Medicare and Medicaid EHR Incentive Programs.” (emphasis added) See
https://www.cms.gov/regulations-and-
guidance/legislation/ehrincentiveprograms/basics.html.

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garnered over $300,000 in incentives for the SOS Doctors and an unknown amount for

OCOM.

        195.   Licensed Medicare providers—including Defendants—have been subject to

the federal government requirement to implement a certified EHR system. To encourage

providers to implement an EHR system, the government provided incentives in the form

of direct payments and avoidance of prospective decreases in reimbursement rates.

        196.   The government paired the EHR requirement with significant compliance

requirements, attestations, and certifications. These include providers’ affirmative

attestation of compliance with the Stark Law, AKS, FCA, and the OKFCA.

        197.   The EHR program includes, inter alia, measurement and metrics prescribed

by the federal government and known as Meaningful Use and Physician Quality Reporting

System (“MU/PQRS”). Under the EHR program, Medicare-licensed physicians and

entities adopt, implement, upgrade, and demonstrate meaningful use of Medicare-certified

technology in return for financial incentives from the government. A physician or entity’s

attestation to the EHR program requirements is a claim for payment to the federal

government, it avoids a prospective reimbursement rate decrease, and it includes an

affirmative certification that the physician or entity is in compliance with the Healthcare

Laws.

        198.   The attestation of each SOS Doctor includes a notice that any attesting doctor

that provides “false, incomplete or misleading information may be guilty of a criminal act

punishable under law and may be subject to civil penalties,” and that the attesting doctor

is “submitting a claim for Federal funds.” (emphasis added)

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      199.   Each and all of the SOS Doctors attested to and certified their compliance

with the EHR requirement in 2013, 2014, and 2015. Each and all received the federal

government incentive payments that in aggregate are over $300,000, and avoided a penalty

reimbursement percentage decrease.

      200.   OCOM, as a licensed Medicare hospital, is also subject to the federal

government requirement to implement EHR and must make attestation and certification to

receive federal government incentive payments and avoid a prospective reimbursement

rate decrease. The incentive for SOS to implement an EHR system was over $300,000

without including the value of SOS’s avoidance of an ongoing prospective decrease in

federal reimbursement payment rates for non-compliance.

      201.   OCOM CEO Kimzey reported to the SOS Doctors that OCOM successfully

made attestation and certification, received the federal government incentive payments,

and avoided the ongoing prospective reimbursement rate decrease in 2013, 2014, and 2015.

      3.     The SOS Doctors Pre-Signed Prescription Pads in Violation of the
             Law.

      202.   Defendants routinely rendered healthcare services to patients while

committing violations of Drug Enforcement Agency and Oklahoma licensure laws.

      203.   A number of SOS Doctors routinely pre-signed stacks of prescription forms,

and allowed and directed other, non-licensed or insufficiently-licensed personnel to

complete the forms and give prescriptions to patients in violation of 21 C.F.R. § 1306.05




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and 63 O.S. § 2-304(A)(4).72 On numerous occasions, Relator warned Defendants that this

conduct was illegal, would likely constitute healthcare fraud, and was especially reckless

and dangerous given the growing opioid crisis and unlawful demand for prescription

opioids.

       204.   The Oklahoma’s Bureau of Narcotics and Dangerous Drugs, and

Oklahoma’s medical licensure boards consider the pre-signing of prescription pads a

material violation of the law. As such, Defendants’ violation is material to the

government’s decision to reimburse for services provided pursuant to that violation.

F.     DEFENDANTS’ UNLAWFUL RETALIATION AGAINST RELATOR

       205.   The SOS Defendants unlawfully retaliated against Relator in violation of the

FCA and OKFCA. Throughout his employment, the SOS Defendants harassed, demoted,

and ultimately terminated Relator in response to his lawful attempts to stop Defendants’

violations of the FCA and OKFCA. Defendants breached Relator’s employment agreement

by not paying monies owed him unless he would enter into an arguably unlawful

agreement. Then, Defendants filed a harassing lawsuit against Relator in response to his


72
   21 C.F.R. § 1306.06: “Manner of issuance of prescriptions. (a) All prescriptions for
controlled substances shall be dated as of, and signed on, the day when issued and shall
bear the full name and address of the patient, the drug name, strength, dosage form, quantity
prescribed, directions for use, and the name, address and registration number of the
practitioner.”

63 O.S. § 2-304(A)(4): “Denial, Revocation or Suspension of Registration. A. A
registration, pursuant to Section 2-303 of this title, to manufacture, distribute, dispense,
prescribe, administer or use for scientific purposes a controlled dangerous substance shall
be limited, conditioned, denied, suspended or revoked by the Director upon a finding that
the registrant: … 4. Has failed to maintain effective controls against the diversion of
controlled dangerous substances to unauthorized persons or entities.”

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lawful attempts to curb Defendants’ fraud. The SOS Defendants’ actions against Relator

constitute unlawful retaliation in violation of the FCA, OKFCA, and Oklahoma State and

common law.

       1.       Relator Frequently and Repeatedly Warned Defendants of Their
                Noncompliance and Unlawful Conduct.

       206.     SOS employed Relator as its Administrator on a full time, part time, and/or

contract basis from approximately April 2002 until January 2017.73 Throughout his tenure

with SOS, Relator continuously and repeatedly expressed to the SOS Doctors, Hendley,

and Kimzey that the SOS organization lacked proper governance and needed to prioritize

compliance with healthcare laws.

       207.     Cruse and Langerman executed the original SOS Operating Agreement after

SOS’s inception on December 7, 1995. Cruse, Langerman, and the SOS Doctors effectively

abandoned that agreement even before Relator ever began working for SOS in 2002. On

September 27, 2016, the SOS Doctors finally entered into a formal Operating Agreement.

SOS lacked a formal governing body or governing terms for substantially all of Relator’s

tenure there.

       208.     Throughout Relator’s tenure with SOS beginning in 2002, Relator attended


73
   In April 2008, following Relator’s graduation from law school and admission to the
Oklahoma State Bar, Relator entered into a written employment agreement with SOS in
which Relator served part time as SOS’s Administrator, and would “from time to time
provide to SOS general suggestion, instruction, or information in regards to legal matters,”
SOS acknowledged that Allison was “expressly not hereunder engaged, employed, or
retained as legal representation to or defense of SOS, its members, managers, employees,
or agents, on any particular legal matter” and under which “no attorney-client relationship”
was created. See Exhibit D.

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SOS Doctor meetings. At those meetings, the SOS Doctors occasionally discussed OCOM-

related matters (often with OCOM’s CEO Kimzey in attendance). However, the SOS

Doctors and Kimzey expressly excluded Relator from direct management of OCOM-

related matters, including OCOM operations, equity transactions, and governance. Indeed,

Relator was an employee of SOS and a distinct third-party to OCOM. In Relator’s fifteen-

year tenure, he was never invited to nor attended an OCOM Board Meeting.

       209.   Cruse, Langerman, Kimzey, Hendley, USP, Tenet, Integris, and the SOS

Doctors handled those OCOM board matters directly. Notwithstanding Relator was an SOS

employee (with no responsibilities to or relationship with OCOM), Kimzey and the SOS

Doctors regularly discussed OCOM Equity matters at the SOS Doctors’ monthly business

meetings in Relator’s presence.

       210.   Relator primarily managed only the SOS clinical operation. In doing so, he

repeatedly emphasized to the SOS Doctors that SOS operations, the SOS Doctors’

practices, their coding, business practices and financial relationship were all highly

regulated activities. Long before he was licensed as an attorney, Relator, in his role as

Business Administrator, repeatedly impressed upon Defendants their own individual

responsibility with respect to statutory, regulatory, and contractual compliance. Of course,

after being licensed as an attorney, Relator continued to provide this same feedback to the

SOS Defendants in his continuing role as Business Administrator. On numerous occasions,

Relator warned Defendants that their conduct may violate healthcare laws.

              • Relator warned the SOS Defendants that pre-signing their prescription

                 pads violated the law;

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              • Relator warned the SOS Defendants that their improper billing of

                 ultrasound guidance was fraudulent;

              • Relator repeatedly warned the SOS Defendants that improper billing of

                 Levings’ P.A. services was fraudulent;

              • Relator repeatedly warned the SOS Defendants that their use of a “Cheat

                 Sheet” to bypass preauthorization requirements was fraudulent;74 and

              • Relator attempted to hold the SOS Defendants generally accountable to

                 healthcare laws.

       211.   After Relator disclosed the Levings P.A. Scheme, in late 2016, Physicians

Strategy Group (“PSG”) recommended that the SOS Doctors enter the highly-profitable

orthotics business.75 Relator confronted the SOS Doctors with the many steps,

requirements, time required, and difficulties involved in providing orthotics in compliance

with healthcare laws. The orthotics project required completing and signing CMS Form


74
  In or about mid-2015, to increase the volume of MRIs and physical therapy at OCOM,
Kimzey announced that OCOM would provide free pre-authorization services for SOS
patients needing MRI and PT services. This allowed OCOM to increase its patient volume
and SOS to decrease its overhead costs. Years earlier, SOS staff developed a “cheat sheet,”
which provided key answers to insurers’ common questions that would likely lead to
preauthorization. Relator discovered that SOS Doctors had instructed staff to use this cheat
sheet to bypass the screening function of the preauthorization process and thereby bill
federal healthcare programs for undocumented, unwarranted, or unnecessary services.
Relator cautioned Defendants that the cheat sheet could lead to fraud. Despite these
warnings, SOS continued to use the cheat sheet and provided it to OCOM for its use. This
use ended when an OCOM employee reported to Kimzey via email that continued use of
the cheat sheet “would be providing false information to the insurance companies.”
75
  SOS hired PSG, a subsidiary of USP and Tenet, to manage SOS clinical operations in
approximately the end of 2015.

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855-S, which required identifying management and making specific attestations—

including compliance with the Stark Law, AKS, and false claims prohibitions.

       212.   Relator presented the form to Kimzey and PSG for signatures in December

2016. PSG encouraged the SOS Doctors to ignore Relator and adopt a more expedient,

noncompliant process. Relator’s commitment to compliance obviously frustrated

Defendants, who seemed unwilling to diminish revenue from the new potential business

segment with the cost and time require to obey the law. As explained below, Kimzey

terminated Relator on behalf of SOS approximately thirty days after Relator sent him the

Form-855s for signature.

       2.     For the SOS Defendants, Relator “Knew Too Much.”

       213.   Defendants, perfectly cognizant of their unlawful conduct and afraid of

potential whistleblowers, attempted to hogtie Relator with an unduly burdensome

severance agreement. In late 2015, Langerman and Cruse initiated conversations with

Relator regarding a severance package in the event Relator was ever terminated without

cause. This severance required Relator to execute an agreement that would “lock up”

Relator and deter him from “coming after them” because Relator “knew too much.” Relator

refused to sign this agreement.

       214.   To distance Relator from their fraud, Defendants thereafter constructively

demoted Relator. They significantly decreased his job duties, hours, and compensation

from the type and amount of work Relator had performed since 2002. In approximately the

end of 2015, the SOS Doctors engaged Kimzey and a USP subsidiary management



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company to conduct and manage SOS clinical operations.76 Kimzey expressly barred

Relator from management meetings and conference calls which Relator had previously

managed and conducted.

      3.     The SOS Defendants Terminated Relator in Violation of His
             Employment Agreement.

      215.   Defendants grew increasingly weary of Relator’s calls for compliance. In

response, approximately thirty days after Relator sent Kimzey and PSG the CMS Form

855s for signature, Kimzey terminated Relator on behalf of SOS. Their actions violated

Realtor’s employment agreement and the FCA and OKFCA prohibitions against

whistleblower retaliation

      216.   On January 31, 2017, OCOM CEO Kimzey attended an SOS board meeting

which Relator was expressly told not to attend. Immediately following this meeting,

Kimzey terminated Relator without stating any reason and directed Relator to leave the

premises immediately.

      217.   SOS had employed Relator for fifteen years. Despite that, the SOS Doctors

had Kimzey—OCOM’s CEO, with no relationship to Relator—carry out Relator’s

termination and remove him from the SOS building. The fact that Kimzey regularly

attended SOS Doctor meetings and carried out their bidding vis-à-vis SOS employees

shows the extent of the inappropriate relationship between the SOS Defendants and the


76
   The USP subsidiary company conducts business and holds itself out as “Physicians
Strategy Group” (“PSG”), a subsidiary of USP. PSG is listed as a Tenet subsidiary in
Tenet’s SEC 10-K filing dated Feb. 2, 2018, and is subject to the terms and obligations
provided in Tenet’s Non-Prosecution Agreement and Monitor.

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OCOM Defendants. It evidences their knowledge of the impropriety of their conduct

pursuant to their relationship. It evidences Kimzey’s need to involve himself in the SOS

Defendants’ business. Kimzey knew Relator posed a threat to the SOS and OCOM

Defendants’ continued unlawful profit, and Kimzey’s role in Relator’s termination shows

the extent to which he and the SOS Defendants were willing to go to silence Relator.

       218.   Relator’s employment provided for payment of accrued paid time off at

severance. Over the next two days Relator unsuccessfully attempted to negotiate a different

severance agreement, rejecting two SOS-proposed agreements containing arguably

unlawful, against-public-policy provisions. SOS never paid Relator even the amounts due

him as an SOS employee.

       4.     Defendants Filed a SLAPP Action Against Relator Under State Law.

       219.   Based on Defendant SOS’s counsel’s statement in open court that an FBI

agent had approached an SOS employee for questioning, Defendants “suspected that

[Relator] had taken this to the government” and had filed a claim against them. They

continued their retaliatory campaign against Relator by filing a strategic lawsuit against

public participation (“SLAPP”) against him, ostensibly for various State claims related to

SOS’s purported concern over a possible HIPAA violation or trade secrets being used by

competitors. In attempting to censor, intimidate, and silence Relator with the burden of his

legal defense in response to his lawful attempts to compel their compliance, Defendants

further violated the FCA and OKFCA prohibitions against whistleblower retaliation, and

state and common law.



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              a.        SOS’s Attorney Admitted SOS Suspected Relator Had Filed a
                        Claim.

       220.   SOS’s Counsel admitted SOS suspected Relator had filed a claim in response

to his termination.77

       221.   Apparently78, in February or March 2017, the Federal Bureau of

Investigation approached an SOS employee as part of an investigation into Defendants’

conduct.

       222.   SOS’s counsel later admitted that SOS retained McAffee-Taft white-collar

criminal attorneys as corporate defense counsel after the FBI approached them “because of

an investigation.” On March 24, 2017, Relator received a text message from an SOS

employee stating “McAfee-Taft is here to talk to me. They said you filed a claim. ls that

true?” Pursuant to the sealing order on this matter, Relator did not respond. That day,

Relator received a letter from McAfee-Taft requesting return of materials in Relator’s

possession within ten days. Relator complied.

       223.   On May 2, 2017, SOS filed its State-law-based claim against Relator

(Oklahoma County, CJ-2017-2531) (“State Case”), which included an ex parte “urgent”

request for an injunction and hearing. In support of this “urgent” request, SOS told the

State-court judge they could not file tax returns without access to copies of documents

allegedly in Relator’s possession. Relator attested under oath to no longer having those


77
  As detailed above, Relator filed his first complaint and served disclosure upon the
government in this matter while he was still employed with SOS.
78
  Based on Defendant SOS’s counsel’s statement in open court in the State Case described
below.

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documents, which would have consisted of electronic copies of documents already in

SOS’s possession. Relator had no role in the production or filing of SOS tax returns at any

time during his employment.

       224.   At the hearing, the State Case Judge began by announcing her receipt of

correspondence from the DOJ and asked, “what does plaintiff [SOS] know about the

documents that have been produced to the Department of Justice and the Oklahoma

Attorney General’s office?” McAfee stated in response, “we don’t know anything about it,

your Honor, nor are we trying to find out anything about that. That’s what I would

represent.” Relator’s counsel then provided the aforementioned text message to the Court

from March 24. Only then did McAfee reveal to the State Court what they really knew: (i)

an SOS employee had been “contacted by an FBI agent for questioning…based on my

experience, that it may be related to [Relator]”; (ii) McAfee was “hired because of an

investigation”; and (iii) “we suspected that [Relator] had gone to the government.”

              b.     Relator Filed an Anti-SLAPP Motion Against SOS.

       225.   One day after the state court hearing, Relator filed an anti-SLAPP Motion to

Dismiss under 12 O.S. § 1430, et seq. Relator alleged SOS was misusing a State Court

procedure to harass, intimidate, and retaliate against Relator. Relator further alleged that

SOS was using the State Court procedure to confirm their suspicions of and learn about

Relator’s disclosure to the Government (i.e., details of this qui tam case, which had been

on file under seal since May 2016). The State Court sustained and denied in part the anti-

SLAPP Motion to Dismiss. Relator appealed on September 5, 2017 to the Oklahoma

Supreme Court (assigned to the Oklahoma Court of Civil Appeals, SD-116348). As of the

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date of filing of this Second Amended Complaint, the Oklahoma Court of Civil Appeals

has not issued an opinion, and the State Case has continued to be stayed by the State Case

Judge by agreement of the parties. Notwithstanding the pending status of the State Case,

SOS’s State Case action against Relator accomplished their plainly unlawful and improper

purpose of confirming Relator had made a report and disclosure to the government

regarding SOS and its affiliates’ business practices.

         226.   Relator continues to incur the cost of defense for the State Case and must

deal with the defamatory statements SOS made against him in public pleadings.

G.       TENET’S VIOLATION OF ITS NON-PROSECUTION AGREEMENT

         227.   Tenet stands in violation of its Consent Decree and NPA with the U.S.

Department of Justice.

         228.   Tenet purchased 51% of USPH in mid 2015. Subsequently, Tenet made

additional incremental purchases and now owns approximately 95% of USPH equity.

         229.   Tenet entered into a Consent Decree and NPA with the U.S. Department of

Justice on September 30, 2016.79 Tenant admitted it had “engaged in at least a ten-year

scheme to pay over $12 million to the owners and operators of a chain of prenatal care

clinics designed to induce the owners and operators to” refer government beneficiary

patients to Tenet facilities that received “over $146 million from the Medicaid and

Medicare program for the illegally referred patients.” Tenet settled the matter in exchange




79
     See Section IV (“Legal Framework”), supra.

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for $514 million and its execution of the NPA. The NPA is set to expire on November 1,

2020.80

         230.   Pursuant to the NPA, Tenet owes an affirmative obligation to promptly report

“any evidence or allegations of actual or potential violations of the Anti-kickback

Statute.”81 This obligation extends to Tenet, its subsidiaries, and its affiliates, which

includes USPI. It extends to entities that Tenet partially owns, which includes OCOM, and

Tenet employees, officers and agents, such as Kimzey and Hendley as USP employees,

and Cruse and Langerman as OCOM Board Members. As such, the violations alleged

herein are clearly subject to the NPA monitor reporting obligations. The NPA “is designed

and implemented to prevent and detect violations of the Anti-Kickback Statute and Stark

Law,” and does “not relieve Tenet of any otherwise applicable obligation to truthfully

disclose such matters to the [DOJ].”

         231.   The NPA provides no protection to Tenet against prosecution for future or

past conduct by its subsidiaries, present or former parents, affiliates, or itself.

         232.   The NPA further obligates Tenet to retain an independent compliance

monitor. Disclosure to the monitor does not relieve Tenet of any otherwise applicable

obligation to truthfully disclose such matters to the DOJ.

         233.   As described above, Defendants abruptly dismantled their Employment


80
  In response to Tenet’s breach of reporting obligations under the NPA (unrelated to the
violations Relator alleged in this Complaint), the DOJ extended Tenet’s penalty period
under the NPA from its original expiration date on February 1, 2020 to November 1, 2020.
81
     Tenet Healthcare Corporation, Form 10-K (2017), at 35.

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Agreement and Employee Rental scheme at the end of 2016, immediately after Tenet

entered into its NPA and before the Monitor was appointed.82 Kimzey told the SOS Doctors

emphatically that a Monitor was coming pursuant to the NPA, and the ten-year

arrangement must cease immediately and ordered Relator to wipe all record of Dr.

Disseldorst from SOS.

         234.   As described above, Defendants abruptly dismantled their Anesthesia

Company at the end of 2016. Kimzey told the SOS Doctors emphatically that a Monitor

was coming pursuant to the NPA, and the ownership in the Company must change

immediately; either USPI and Kimzey could not own it, or SOS Doctors could not own it.

         235.   On information and belief, Tenet failed to report these violations to the

monitor as required by the NPA. In fact, the Tenet SEC Form 10-K filed on February 26,

2018 reports only one monitor-involved scenario. That scenario occurred in Detroit in a

Tenet subsidiary and has nothing to do with the Defendants’ Employment Agreement and

Employee Rental Scheme or the Anesthesia Company.

         236.   The following slide, produced by Tenet’s largest Shareholder, Glenview

Capital Management, in a February 2, 2018 Proxy Statement characterizes accurately

Tenet’s long history of bad behavior.83




82
     See Section V.B., supra.
83
     Tenet Healthcare Corporation, Schedule 14A Proxy Statement, Filed Feb. 2, 2018, at 13.

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       237.   SOS filed the retaliatory state law claim against Relator in 2017, and given

the timing of the reported Detroit matter (4Q17-1Q18), it is reasonable to conclude Tenet

has not reported anything to the Monitor regarding the SOS and OCOM Defendants

notwithstanding that Relator pleaded in the State Case that Tenet and its subsidiaries were

active and involved business partners of SOS and therefore had imputed knowledge of

“actual or potential” violations through its agents Kimzey, Cruse, and Langerman, who

were/are subject to Tenet’s NPA.84




84
   Kimzey, OCOM CEO and a USP/Tenet employee, personally terminated Relator,
although Relator did not work for Kimzey or OCOM. Cruse and Langerman were OCOM
Board Members and thus subject to Tenet’s NPA.

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                                     VI.    CLAIMS

                                       Count One:
                    Violations of the Stark Law, 42 U.S.C. § 1395nn

       238.   The allegations set forth above are hereby incorporated as if fully set forth

herein. 85

       239.   The Stark Law provides

              if a physician (or an immediate family member of such
              physician) has a financial relationship with an entity specified
              in paragraph (2), then (A) the physician may not make a
              referral to the entity for the furnishing of designated health
              services for which payment otherwise may be made under this
              subchapter, and (B) the entity may not present or cause to be
              presented a claim under this subchapter or bill to any
              individual, third-party payor, or other entity for designated
              health services furnished pursuant to a referral prohibited
              under sub paragraph (A).

42 U.S.C.S. § 1395nn(a).

       240.   The Equity Scheme (paragraphs 107 through 123, supra)86: The SOS

Defendants and the OCOM Defendants violated the Stark Law through their Equity

Scheme. The OCOM Defendants entered into a prohibited financial relationship with each




85
  While unnecessary at this pleading stage, Relator alleges that Defendants’ conduct fails
to satisfy any Safe Harbor or exception. Defendants’ violative financial relationships
expressly take into account the volume and value of referrals of federally-reimbursed DHS.
86
  While Relator provides paragraph references through this Section, these references are
non-exhaustive. Relator incorporates by reference all allegations set forth above as if fully
set out in each paragraph below.

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of the SOS Doctors87 wherein OCOM, through its board, offered and sold OCOM Equity

to the SOS Doctors to reward their high volume of high value referrals and to incentivize

continued high volume of referrals. The SOS Doctors referred patients to OCOM for

Designated Health Services (“DHS”) pursuant to this prohibited financial relationship.

OCOM submitted claims for reimbursement to federal healthcare programs for DHS

rendered pursuant to these prohibited referrals.

       241.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): The SOS Defendants and the OCOM Defendants violated the Stark Law through

the Employment Contract Scheme. The SOS Defendants and the OCOM Defendants

entered into a prohibited financial relationship for over ten years whereby OCOM

compensated SOS for its recruitment of new physicians. OCOM did this to reward the SOS

Doctors for their high volume of high value referrals and to incentivize continued high

volume of referrals to OCOM. Throughout this period, the SOS Doctors referred patients

to OCOM for DHS pursuant to this prohibited financial relationship. OCOM submitted

claims for reimbursement to federal healthcare programs for DHS rendered pursuant to

these prohibited referrals.

       242.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra): SOS,

Cruse, Langerman, and the OCOM Defendants violated the Stark Law through the Surgical

Scrub Scheme. Langerman and Cruse entered into a financial relationship with OCOM in



87
  The SOS Doctors are Defendants Cruse, Langerman, Jones, Adham, West, Levings,
Hume, Reddick, and Avant. See Section II, supra.

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approximately 2004 whereby OCOM employed their scrub techs. This financial

relationship benefited Langerman and Cruse because it lowered their personal cost for their

personal scrub tech. OCOM did this to reward their high volume of high value referrals

and to incentivize continued high volume of referrals. Langerman and Cruse referred

patients to OCOM for DHS pursuant to this prohibited financial relationship. OCOM

submitted claims for reimbursement to federal healthcare programs for DHS rendered

pursuant to these prohibited referrals.

       243.   The Sham Lease Scheme (paragraphs 142 through 146, supra): SOS,

Cruse, Langerman, and the OCOM Defendants violated the Stark Law through the Sham

Lease Scheme. Since at least 2010, Cruse and Langerman had a financial relationship with

OCOM by OCOM’s leasing from them a building containing an ambulatory surgery center,

and extending that lease during a period in which OCOM performed no cases at the facility.

Langerman and Cruse referred patients to OCOM for DHS pursuant to this prohibited

financial relationship. OCOM submitted claims for reimbursement to federal healthcare

programs for DHS rendered pursuant to these prohibited referrals.

       244.   The Office Space Scheme (paragraphs 147 through 149, supra): Cruse

and the OCOM Defendants violated the Stark Law through the Office Space Scheme. Since

2004, Cruse entered into a prohibited financial relationship with OCOM whereby OCOM

provided Cruse free office and storage space. Cruse referred patients to OCOM for DHS

pursuant to this prohibited financial relationship. OCOM submitted claims for

reimbursement to federal healthcare programs for DHS rendered pursuant to these

prohibited referrals.

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       245.   The Credit Card Scheme (paragraph 150, supra): Cruse and the OCOM

Defendant violated the Stark Law through the Credit Card Scheme. For an unknown period

before and after June 2011, Cruse entered into a prohibited financial relationship with

OCOM whereby OCOM used Cruse’s credit card to purchase surgical supplies. This

allowed Cruse to receive compensation in the form of credit card reward points. Cruse

referred patients to OCOM for DHS pursuant to this prohibited financial relationship.

OCOM submitted claims for reimbursement to federal healthcare programs for DHS

rendered pursuant to these prohibited referrals.

       246.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

The SOS Defendants and the OCOM Defendants violated the Stark Law through the

Anesthesia Company Scheme. The SOS Doctors entered into a prohibited financial

relationship with OCOM whereby, indirectly via APO, SOS Doctors receive remuneration

from receipts generated from anesthesia services provided to patient referrals for DHS at

OCOM. The SOS Doctors who own APO referred patients to OCOM knowing they could

direct OCOM to, and OCOM would, use APO exclusively to provide anesthesia services

to these patients, and thereby cause APO to make claims for payment to federal healthcare

programs for these services. By and through their formation and ownership of APO and

APO’s exclusive relationship with OCOM, the SOS Doctors knew that a referral to OCOM

for DHS requiring anesthesia was a referral to APO. APO made claims for payment to

federal healthcare programs for these services for patients referred by the SOS Doctors.

       247.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): By and through their National Anesthesia Company Scheme, USPI and UPSH

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violated the Stark Law. USPI and USPH entered into a prohibited financial relationship

with at least twenty-two facilities owned at least in part and/or managed by USPI, USPH

and their affiliates. These financial arrangements were structured the same as the APO

model (supra) to allow referring physicians to receive remuneration from receipts

generated from anesthesia services provided to patient referrals for DHS. The Doctors who

own these anesthesia companies referred patients to the affiliated facilities knowing they

could direct the affiliated facility to, and it would, use the local anesthesia company

exclusively to provide anesthesia services to these patients, thereby causing claims for

payment to federal healthcare programs for these anesthesia services. By and through their

formation and ownership of UAP anesthesia companies, USPI and UPSH knew that

referrals for DHS requiring anesthesia would constitute a referral to the UAP entity. Those

UAP entities made claims for payment to federal healthcare programs for anesthesia

services for patients referred by their owners.

       248.   The E.R. Call Scheme (paragraphs 164 through 174, supra): The SOS

Defendants and the Integris Defendants violated the Stark Law through the E.R. Call

Scheme. The SOS Defendants entered into a prohibited financial relationship with ISMC

whereby certain SOS Doctors provided orthopedic services to ISMC in return for

compensation. As an unwritten but implicit condition of the agreement, the SOS Doctors

scheduled and performed elective surgical cases at ISMC in sufficient volume to satisfy

ISMC so that ISMC would maintain the relationship. SOS Doctors referred patients to

ISMC for DHS pursuant to this prohibited financial relationship. ISMC referred patients to

SOS for DHS pursuant to this prohibited financial relationship. ISMC and SOS submitted

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claims for reimbursement to federal healthcare programs for DHS rendered pursuant to

these prohibited referrals.

       249.   Additional Prohibited Financial Relationships: The SOS Defendants and

the OCOM Defendants entered into additional prohibited financial relationships which

violated the Stark Law. OCOM and USP provided free services to SOS, such as the free

pre-authorization services for MRI and PT (paragraph 210 “Cheat sheet”), create a

financial relationship between SOS and OCOM. This financial relationship was not in

writing. It was provided only to SOS by OCOM because OCOM took into account the

volume and value of SOS Doctors’ referrals. OCOM’s objective in so doing was to secure

more referrals from SOS, and to assist SOS in lowering SOS’s overhead costs.

       250.   Each of the aforementioned prohibited financial relationships took into

account the volume and value of the referring Defendants’ referrals of DHS. But for the

referring Defendants’ high volume of referrals, the value of these referrals, and the leverage

and influence Cruse, Langerman, and the other SOS Doctors wield, the financial

relationship would not have been created.

       251.   From the time Defendants implemented each of these financial relationships,

all referrals from the SOS Defendants to OCOM and/or ISMC violated the Stark Law.

From the time Defendants implemented each of these financial relationships, all referrals

from ISMC to SOS violated the Stark Law.

       252.   From the time each of these financial relationships were implemented, all

claims for payment made by SOS, OCOM, and ISMC to federal healthcare programs

violated the Stark Law.

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       253.   Violation of the Stark Law is a material consideration made by federal

healthcare programs of whether to make payment, and if federal healthcare programs

would have known of the violations described herein, the federal healthcare programs

would not have made payment.

       254.   Because of each of the aforementioned prohibited financial relationships, the

SOS Defendants were prohibited from making referral to OCOM, APO, or ISMC for the

furnishing of DHS for which payment otherwise may be made by federal healthcare

programs. All referrals the SOS Defendants made to OCOM, APO, or ISMC during the

pendency of the aforementioned prohibited financial relationships violated the Stark Law.

       255.   Because of each of the aforementioned prohibited referrals of DHS, OCOM,

APO, and ISMC were prohibited from presenting or causing to be presented a claim to

federal healthcare programs, all claims OCOM, APO, and ISMC submitted to federal

healthcare programs pursuant to the aforementioned prohibited referrals violated the Stark

Law.

       256.   Pursuant to the Stark Law, the SOS Defendants and OCOM Defendants are

liable to the United States and the State of Oklahoma for damages in at least the amount of

all federally-funded reimbursements to OCOM resulting from SOS referrals from 2007

through 2017.

       257.   Pursuant to the Stark Law, the SOS Defendants and Integris Defendants are

liable to the United States and the State of Oklahoma for damages in at least the amount of

all federally-funded reimbursements to Integis resulting from SOS referrals and to SOS

resulting from Integris referrals from 2014 to present.

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                                          Count Two:
                  Violations of the False Claims Act, 31 U.S.C. § 3729, et seq.
                 Predicated on Violations of the Stark Law, 42 U.S.C. § 1395nn

          258.    The allegations set forth above are hereby incorporated as if fully set forth

herein.

          259.    A knowing violation of the Stark Law subjects all such claims for payment

made to the government by OCOM and ISMC as a result of these referrals, to the FCA.

Defendants’ submission of reimbursement claims to the government for services rendered

while the Defendant was in violation renders these claims false or fraudulent under the

FCA.

          260.    The Equity Scheme (paragraphs 107 through 123, supra): By and through

their Equity Scheme, the SOS Defendants and the OCOM Defendants violated the Stark

Law. Pursuant to this Stark Law violation, the SOS Defendants and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or

approval to the Government.88

          261.    The Employment Contract Scheme (paragraphs 124 through 133,

supra): By and through their Employment Contract Scheme, the SOS Defendants and the

OCOM Defendants violated the Stark Law. Pursuant to this Stark Law violation, the SOS

Defendants and the OCOM Defendants knowingly presented, or caused to be presented

false or fraudulent claims for payment or approval to the Government.


88
  As used in this Section (Section VI “Counts”), “Government” refers to the United States
Government, the Government of the State of Oklahoma, and the relevant agencies
administering federal or state healthcare programs under each, as applicable.

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      262.    The Surgical Scrub Scheme (paragraphs 136 through 141, supra): By

and through their Surgical Scrub Scheme, Cruse, Langerman, and the OCOM Defendants

violated the Stark Law. Pursuant to this Stark Law violation, the SOS Defendants and the

OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government.

      263.    The Sham Lease Scheme (paragraphs 142 through 146, supra): By and

through their Sham Lease Scheme, Cruse, Langerman, and the OCOM Defendants violated

the Stark Law. Pursuant to this Stark Law violation, Cruse, Langerman, and the OCOM

Defendants knowingly presented, or caused to be presented false or fraudulent claims for

payment or approval to the Government.

      264.    The Office Space Scheme (paragraphs 147 through 149, supra): By and

through their Office Space Scheme, Cruse and the OCOM Defendants violated the Stark

Law. Pursuant to this Stark Law violation, Cruse and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government.

      265.    The Credit Card Scheme (paragraph 150, supra): By and through their

Credit Card Scheme, Cruse and the OCOM Defendants violated the Stark Law. Pursuant

to this Stark Law violation, Cruse and the OCOM Defendants knowingly presented, or

caused to be presented a false and/or fraudulent claim for payment or approval to the

Government.

      266.    The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

By and through their Anesthesia Company Scheme, the SOS Defendants and the OCOM

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Defendants violated the Stark Law. Pursuant to this Stark Law violation, the SOS

Defendants and the OCOM Defendants knowingly presented, or caused to be presented

false and/or fraudulent claims for payment or approval to the Government.

      267.    The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): By and through their National Anesthesia Scheme, USPI and UPSH violated

the Stark Law. Pursuant to this Stark Law violation, USPI and USPH knowingly presented,

or caused to be presented false and/or fraudulent claims for payment or approval to the

Government.

      268.    The E.R. Call Scheme (paragraphs 164 through 174, supra): By and

through their E.R. Call Scheme, the SOS Defendants and the Integris Defendants violated

the Stark Law. Pursuant to this Stark Law violation, the SOS Defendants and the Integris

Defendants knowingly presented, or caused to be presented false and/or fraudulent claims

for payment or approval to the Government.

      269.    Certification (paragraphs 190 through 204, supra): By and through their

affirmative attestation of full compliance without violations of the Stark Law, The SOS

Defendants, the OCOM Defendants, and the Integris Defendants expressly falsely certified

compliance in Cost Reports, provider agreements, claims for payments, and the EHR

program. Each of the aforementioned violations of the Stark Law rendered the claims

submitted during the pendency of the respective violation a false and/or fraudulent claim

under the FCA and OKFCA.

      270.    At all relevant times and for each of Defendants’ Schemes—the Equity,

Employment Contract, Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia

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Company, and E.R. Call Schemes—Defendants had actual knowledge, acted in deliberate

ignorance, or acted in reckless disregard of the false and/or fraudulent nature of the claims

for reimbursement they submitted or caused to be submitted.

          271.   Violation of the Stark Law is material to federal healthcare programs’

consideration of whether to reimburse a claim; if federal healthcare programs had known

of the violations described herein, the federal healthcare programs would not have made

payment.

          272.   Pursuant to the FCA, the SOS Defendants and the OCOM Defendants (and

their related/affiliated owners and operators) are liable to the United States for civil

penalties as set forth therein, plus three (3) times the amount of damages—which is at least

the amount of all federally-funded reimbursements to OCOM resulting from SOS referrals

from 2007 to 2017—and reasonable costs and attorney fees.

          273.   Pursuant to the FCA, the SOS Defendants and the Integris Defendants (and

their related/affiliated owners and operators) are liable to the United States for civil

penalties as set forth therein, plus three (3) times the amount of damages—which is at least

the amount of all federally-funded reimbursements to ISMC resulting from SOS referrals

and to SOS resulting from ISMC referrals from 2014 to Present—and reasonable costs and

attorney fees.

                                    Count Three:
            Violations of the False Claims Act, 31 U.S.C. § 3729, et seq.
   Predicated on Violations of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)

          274.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

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      275.   Violation of the Anti-Kickback Statute (“AKS”) subjects all such claims for

payment made to the government by OCOM and ISMC as a result of these referrals, to the

FCA. Defendants’ submission of reimbursement claims to the government for services

rendered while the Defendant was in violation renders that claim false or fraudulent under

the FCA.

      276.   The Equity Scheme (paragraphs 107 through 123, supra): Through the

Equity Scheme, the SOS Defendants and the OCOM Defendants violated the AKS. The

SOS Defendants knowingly solicited and received remuneration in the form of OCOM

Equity in return for, and as reward for, referrals to OCOM of services for which payment

may be made in whole or in part under a federal health care program. The OCOM

Defendants knowingly offered and/or paid remuneration to the SOS Defendants in the form

of OCOM Equity in return for, and as reward for, referrals to OCOM of services for which

payment may be made in whole or in part under a federal health care program. Pursuant to

these AKS violations, the SOS Defendants and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government. The SOS Doctors referred federal healthcare program patients to OCOM

for DHS on account of these kickbacks. OCOM submitted claims for reimbursement to

federal healthcare programs for the DHS it provided pursuant to these unlawful referrals.

      277.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): By and through their Employment Contract Scheme, the SOS Defendants and the

OCOM Defendants violated the AKS. For over ten years, the SOS Defendants knowingly

solicited and received remuneration in the form of monthly rental payments, compensation,

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and bonuses for SOS’s recruitment of new physicians. For over ten years, the OCOM

Defendants knowingly offered and/or paid remuneration in the form of monthly rental

payments, compensation, and bonuses for SOS’s recruitment of new physicians. Pursuant

to these AKS violations, the SOS Defendants and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government. The SOS Doctors referred federal healthcare program patients to OCOM

for DHS on account of these kickbacks. OCOM submitted claims for reimbursement to

federal healthcare programs for the DHS it provided pursuant to these unlawful referrals.

       278.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra): By

and through their Surgical Scrub Scheme, Langerman, Cruse, and the OCOM Defendants

violated the AKS. Langerman and Cruse knowingly solicited and received remuneration

in the form of OCOM hiring and compensating Langerman and Cruse’s personal scrub

techs in return for, and as reward for, referrals of federally-insured patients for services at

OCOM. The OCOM Defendants knowingly offered and paid remuneration in the form of

OCOM hiring and compensating Langerman and Cruse’s personal scrub techs in return

for, and as reward for, referrals of federally-insured patients for services at OCOM.

Pursuant to these AKS violations, Cruse, Langerman, and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or

approval to the Government. Cruse and Langerman referred federal healthcare program

patients to OCOM for DHS on account of these kickbacks. OCOM submitted claims for

reimbursement to federal healthcare programs for the DHS it provided pursuant to these

unlawful referrals.

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       279.   The Sham Lease Scheme (paragraphs 142 through 146, supra): By and

through their Sham Lease Scheme, Cruse, Langerman, and the OCOM Defendants violated

the AKS. Cruse and Langerman knowingly solicited and received remuneration in the form

of OCOM continuing lease payments for a facility it did not use in return for, and as reward

for, referrals of federally-insured patients for services at OCOM. The OCOM Defendants

knowingly offered and paid remuneration in the form of OCOM continuing lease payments

for a facility it did not use in return for, and as reward for, referrals of federally-insured

patients for services at OCOM. Pursuant to these AKS violations, Cruse, Langerman, and

the OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government. Cruse and Langerman referred federal

healthcare program patients to OCOM for DHS on account of these kickbacks. OCOM

submitted claims for reimbursement to federal healthcare programs for the DHS it provided

pursuant to these unlawful referrals.

       280.   The Office Space Scheme (paragraphs 147 through 149, supra): By and

through their Office Space Scheme, Cruse and the OCOM Defendants violated the AKS.

For approximately the last ten years, Cruse knowingly solicited and received remuneration

in the form of free office space provided by OCOM to Cruse for his personal business

interests and personal affairs in return for, and as reward for, patient referrals for federally-

insured patients for services at OCOM. The OCOM Defendants knowingly offered and

paid remuneration in the form of free office space provided by OCOM to Cruse for his

personal business interests and personal affairs in return for, and as reward for, patient

referrals for federally-insured patients for services at OCOM. Pursuant to these AKS

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violations, Cruse and the OCOM Defendants knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government. Cruse

referred federal healthcare program patients to OCOM for DHS on account of these

kickbacks. OCOM submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       281.   The Credit Card Scheme (paragraph 150, supra): By and through their

Credit Card Scheme, Cruse and the OCOM Defendants violated the AKS. Cruse knowingly

solicited and/or received indirect remuneration in the form of credit card reward points for

OCOM’s purchase of surgical goods and supplies in return for, and as reward for, patient

referrals for federally-insured patients for services at OCOM. The OCOM Defendants

knowingly offered and/or paid indirect remuneration in the form of credit card reward

points for OCOM’s purchase of surgical goods and supplies in return for, and as reward

for, patient referrals for federally-insured patients for services at OCOM. Pursuant to these

AKS violations, Cruse and the OCOM Defendants knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government. Cruse

referred federal healthcare program patients to OCOM for DHS on account of these

kickbacks. OCOM submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       282.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

By and through their Anesthesia Company Scheme, the SOS Doctors, Kimzey, and USP

violated the AKS. These Defendants knowingly solicited, received, offered, and/or paid

remuneration in the form of distributions from APO in return for, and as reward for, patient

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referrals for federally-insured patients for DHS, specifically, anesthesia services. The SOS

Doctors who own APO refer patients to OCOM knowing OCOM will exclusively use APO

to provide anesthesia services to these patients, thereby causing APO to make claims for

reimbursement to federal healthcare programs for these services. APO made claims for

payment to federal healthcare programs for these services for patients referred by the SOS

Doctors. By and through their Anesthesia Company Scheme, the SOS Defendants and the

OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the United States Government.

       283.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): By and through their National Anesthesia Company Scheme, USPI and UPSH

violated the AKS. USPI and USPH entered into a prohibited financial relationship with at

least twenty-two facilities owned at least in part and/or managed by USPI, USPH and their

affiliates. These financial arrangements were structured the same as the APO model (supra)

to allow referring physicians to receive remuneration from receipts generated from

anesthesia services provided to patient referrals for DHS. The Doctors who own these

anesthesia companies referred patients to the affiliated facilities knowing they could direct

the affiliated facility to, and it would, use the local anesthesia company exclusively to

provide anesthesia services to these patients, thereby causing claims for payment to federal

healthcare programs for these anesthesia services. By and through their formation and

ownership of UAP anesthesia companies, USPI and UPSH knew that referrals for DHS

requiring anesthesia would constitute a referral to the UAP entity. Those UAP entities

made claims for payment to federal healthcare programs for anesthesia services for patients

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referred by their owners. By and through their National Anesthesia Company Scheme,

USPI and USPH knowingly presented, or caused to be presented false or fraudulent claims

for payment or approval to the Government.

       284.   The E.R. Call Scheme (paragraphs 164 through 174, supra): By and

through their E.R. Call Scheme, the SOS Defendants and the Integris Defendants violated

the AKS. Since August 2014 and continuing today, the SOS Defendants knowingly

solicited and/or received remuneration in the form of ISMC providing an exclusive

orthopaedic services contract to SOS in return for, and as reward for, patient referrals for

federally-insured patients for services at ISMC. The Integris Defendants knowingly offered

and/or paid remuneration in the form of ISMC providing an exclusive orthopaedic services

contract to SOS in return for, and as reward for, patient referrals for federally-insured

patients for services at ISMC. Pursuant to these AKS violations, the SOS Defendants and

the Integris Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government. The SOS Defendants referred federal

healthcare program patients to OCOM for services on account of these kickbacks. The

Integris Defendants submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       285.   Defendants USP, USPI, USP Holding Company, Inc., Integris, and Tenet, in

their roles as owners and/or operators of OCOM, violated the AKS by knowingly agreeing

with the soliciting, receiving, offering, and/or paying remuneration in the various forms

and unlawful arrangements described herein, in return for, and as reward for, referral of

federally-insured patients for DHS.

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       286.   The free services provided by OCOM and USP to SOS, such as the free pre-

authorization services for MRI and PT, constitutes the soliciting, receiving, offering, and/or

paying remuneration between SOS and OCOM. This financially beneficial relationship is

not in writing. OCOM provided it only to SOS because OCOM took into account the

volume and value of SOS Doctors’ referrals. OCOM’s objective in so doing was to secure

more referrals from SOS, and to assist SOS in lowering its overhead costs.

       287.   By and through their affirmative attestation of full compliance without

violations of the AKS, the SOS Defendants, the OCOM Defendants, and the Integris

Defendants expressly falsely certified compliance in Cost Reports, provider agreements,

claims for payments, and the EHR program. Each of the aforementioned violations of the

AKS rendered the claims submitted during the pendency of the respective violation a false

and/or fraudulent claim under the FCA and OKFCA.

       288.   At all relevant times and for each of Defendants’ Schemes—the Equity,

Employment Contract, Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia

Company, and E.R. Call Schemes—Defendants had actual knowledge, acted in deliberate

ignorance, or acted in reckless disregard of the false and/or fraudulent nature of the claims

for reimbursement they submitted or caused to be submitted.

       289.   Violation of the AKS is material to federal healthcare programs’

consideration of whether to reimburse a claim; if federal healthcare programs had known

of the violations described herein, the federal healthcare programs would not have made

payment.



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          290.   Pursuant to the FCA, the SOS Defendants and the OCOM Defendants (and

their related/affiliated owners and operators) are liable to the United States for civil

penalties as set forth therein, plus three (3) times the amount of damages—which is at least

the amount of all federally-funded reimbursements to OCOM resulting from SOS referrals

from 2007 to 2017—and reasonable costs and attorney fees.

          291.   Pursuant to the FCA, the SOS Defendants and the Integris Defendants (and

their related/affiliated owners and operators) are liable to the United States for civil

penalties as set forth therein, plus three (3) times the amount of damages—which is at least

the amount of all federally-funded reimbursements to ISMC resulting from SOS referrals

and to SOS resulting from ISMC referrals from 2014 to Present—and reasonable costs and

attorney fees.

                                       Count Four:
           Violations of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A) and (B)
                                 “Factually False Claims”

          292.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          293.   Section 3729(a)(1) of the False Claims Act creates liability for “[a]ny person

who(A) knowingly presents, or causes to be presented a false or fraudulent claim for

payment or approval;” or “(B) knowingly makes, uses, or causes to be made or used, a false

record or statement material to false or fraudulent claim…”

          294.   The Ultrasound Scheme (paragraphs 177 through 185, supra): By and

through their Ultrasound Scheme, the SOS Defendants presented and/or caused to be

presented false or fraudulent claims for payment or approval to the federal healthcare

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programs. The SOS Defendants made, used, and/or caused to be made and/or used false

records and/or statements to request payment from federal healthcare programs. These

claims sought reimbursement for ultrasound guidance for injections when (1) that

ultrasound guidance was not medically necessary; (2) that ultrasound guidance was not

actually used; or (3) a P.A. used the ultrasound guidance without the required level of

supervision. All claims the SOS Defendants submitted to federal healthcare programs for

reimbursement are subject to the FCA and OKFCA as false claims. The SOS Defendants

knew these claims were false or fraudulent. The SOS Defendants’ misrepresentations to

the federal healthcare programs were material to the Governments’ payment decision.

      295.   The Levings P.A. Scheme (paragraphs 186 through 189, supra): By and

through their Levings P.A. Scheme, the SOS Defendants submitted and/or caused to be

submitted false or fraudulent claims for payment or approval to the federal healthcare

programs. The SOS Defendants made, used, and/or caused to be made and/or used false

records and/or statements to request payment from federal healthcare programs for

Levings’s improperly billed P.A. service. Therefore, all claims by these Defendants made

to those programs for reimbursement are subject to the FCA and OKFCA as false claims.

The SOS Defendants knew these claims were false or fraudulent. The SOS Defendants’

misrepresentations to the federal healthcare programs was material to the Governments’

payment decision.

      296.   Defendants’ False Claims of EHR Compliance (paragraphs 194 through

201, supra): The SOS Defendants and the OCOM Defendants submitted and/or caused to

be submitted false or fraudulent claims for payment or approval to the federal healthcare

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programs. The SOS Defendants and the OCOM Defendants made, used, and/or caused to

be made and/or used false records and/or statements to request payment from federal

healthcare programs. Therefore, all claims by these Defendants made to those programs

for reimbursement are subject to the FCA and OKFCA as false claims. The SOS

Defendants and the OCOM Defendants knew these claims were false or fraudulent. The

SOS Defendants’ and the OCOM Defendants’ misrepresentations to the federal healthcare

programs was material to the Governments’ payment decision.

          297.   Violation of 31 U.S.C. § 3729(a) is a material consideration made by federal

healthcare program administration of whether to make payment. If the reimbursing

administration would have known of the violations described herein, it would not have

made payment.

          298.   Pursuant to the FCA, the SOS Defendants are liable to the United States for

civil penalties as set forth therein, plus three (3) times the amount of damages, and

reasonable costs and attorney fees.

          299.   Pursuant to the FCA, the OCOM Defendants are liable to the United States

for civil penalties as set forth therein, plus three (3) times the amount of damages, and

reasonable costs and attorney fees.

                                          Count Five:
                 Violations of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)
                       Predicated on False Certification of Compliance

          300.   The allegations set forth above are hereby incorporated as if fully set forth

herein.



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       301.   By their violations of the AKS, Stark Law, FCA, and OKFCA, and their

affirmative attestation of full compliance without violations of each, Defendants expressly

falsely certified compliance in Cost Reports, claims for payments, and the EHR program,

all of which are material to the Government’s decision to pay claims for reimbursement

under federal healthcare programs.

       302.   Falsely certifying compliance when in knowing violation of the AKS, Stark

Law, FCA, and/or OKFCA, is a material consideration of federal healthcare programs in

reimbursing claims submitted to the program.

       303.   Federal healthcare programs relied on the Defendants’ certification as being

truthful, honest, and accurately representing Defendants’ assertion that they had not

individually or collectively violated the Stark Law, AKS, FCA, and/or OKFCA.

       304.   Throughout the entire relevant period, Defendants would not have been paid

by federal healthcare programs but for Defendants’ affirmative and express false

certifications in Cost Reports, attestations, EHR certifications, and individual claims for

payment.

       305.   Violation of the Stark Law, AKS, FCA, and/or OKFCA renders all claims

for reimbursement made to federal healthcare programs subject to the FCA and OKFCA.

       306.   Violation of 31 U.S.C. § 3729(a)(1)(B) is a material consideration made by

federal healthcare programs of whether to reimburse. If the programs’ administrations

would have known of the violations described herein, they would not have made payment.

       307.   Pursuant to the FCA and the OKFCA, the SOS Defendants and the OCOM

Defendants (and their related/affiliated owners and operators) are liable to the United States

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and the State of Oklahoma for civil penalties as set forth therein, plus three (3) times the

amount of damages—which is at least the amount of all federally-funded reimbursements

to OCOM resulting from SOS referrals from 2007 until present—and reasonable costs and

attorney fees.

          308.    Pursuant to the FCA and the OKFCA, the SOS Defendants and Integris

Defendants (and their related/affiliated owners and operators) are liable to the United States

and the State of Oklahoma for civil penalties as set forth therein, plus three (3) times the

amount of damages—which is at least the amount of all federally-funded reimbursements

to ISMC resulting from SOS referrals and to SOS resulting from ISMC referrals from 2014

until present—and reasonable costs and attorney fees.

                                           Count Six:
                 Violations of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G)
                                    “Reverse False Claims”

          309.    The allegations set forth above are hereby incorporated as if fully set forth

herein.

          310.    The False Claims Act, 31 U.S.C. § 3729(a)(1)(G), creates liability for “[a]ny

person who…knowingly makes, uses, or causes to be made or used, a false record or

statement material to an obligation to pay or transmit money or property to the

Government, or knowingly conceals or knowingly and improperly avoids or decreases an

obligation to pay or transmit money or property to the Government…”

          311.    Defendants knew that they have/had received reimbursement from the

government for which they were not entitled because of their various schemes violating the

Stark Law, AKS, FCA, and/or the OKFCA.

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          312.   Defendants deliberately disregarded their duty to return wrongly received

reimbursement and disregarded their duty to even consider whether self-reporting was

required under the Healthcare Laws.

          313.   Throughout the entire relevant period, Defendants would not have been paid

by federal healthcare programs but for Defendants’ affirmative and express false

certifications in Cost Reports, attestations, EHR certifications, and individual claims for

payment, each repeatedly in deliberate disregard for their duty to return wrongly received

reimbursement.

          314.   Violation of the Stark Law, AKS, FCA, and/or OKFCA renders all claims

for payment made to federal healthcare programs subject to the FCA and OKFCA.

          315.   Violation of 31 U.S.C. § 3729(a)(1)(G) is a material consideration made by

federal healthcare program administration of whether to make payment. If federal

healthcare program administration would have known of the violations described herein, it

would not have made payment.

          316.   Pursuant to the FCA and OKFCA, Defendants are liable to the United States

and the State of Oklahoma for civil penalties as set forth therein, plus three (3) times the

amount of damages, and reasonable costs and attorney fees.

                                      Count Seven:
           Conspiracy to Violate the False Claims Act, 31 U.S.C. § 3729(a)(1)(C)

          317.   The allegations set forth above are hereby incorporated as if fully set forth

herein.




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       318.   The False Claims Act, 31 U.S.C. § 3729(a)(1)(C), creates liability for “[a]ny

person who…conspires to commit a violation of [the FCA]…”

       319.   Through the Schemes alleged above—the Equity, Employment Contract,

Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia Company, E.R. Call,

Ultrasound, and Levings P.A. Schemes—Defendants conspired to violate the FCA.

       320.   The Equity Scheme (paragraphs 107 through 123, supra): The SOS

Defendants and the OCOM Defendants agreed as part of a single plan to use OCOM Equity

transactions to induce and reward the SOS Doctors’ high volume of high value referrals to

OCOM. The SOS Defendants and OCOM Defendants acted in furtherance of this

conspiracy on several occasions by orchestrating improper OCOM Equity transactions.

       321.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): For over ten years, the SOS Defendants and the OCOM Defendants agreed as part

of a single plan to assume the cost of SOS’s recruitment of new physicians. For over ten

years, the SOS Defendants and OCOM Defendants acted in furtherance of this conspiracy

by hiring and employing West, Hume, Levings, Reddick, Avant, and Disselhorst pursuant

to this unlawful arrangement.

       322.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra):

Langerman, Cruse, and the OCOM Defendants entered into an agreement and single plan

wherein OCOM hired and compensated Langerman and Cruse’s personal scrub techs in

return for, and as reward for, referrals of federally-insured patients for services at OCOM.

Langerman, Cruse, and the OCOM Defendants acted in furtherance of this conspiracy.



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       323.   The Sham Lease Scheme (paragraphs 142 through 146, supra): Cruse,

Langerman, and the OCOM Defendants agreed as part of a single plan to extend the lease

for a facility it did not use in return for, and as reward for, referrals of federally-insured

patients for services at OCOM. Cruse, Langerman, and the OCOM Defendants acted in

furtherance of this conspiracy, as evidenced by the payment and receipt of rent payments

and continued referrals.

       324.   The Office Space Scheme (paragraphs 147 through 149, supra): For

approximately the last ten years, Cruse and the OCOM Defendants agreed as part of a

single plan to provide Cruse free office space for his personal business interests and

personal affairs in return for, and as reward for, patient referrals for federally-insured

patients for services at OCOM. Cruse and the OCOM Defendants acted in furtherance of

this conspiracy, as evidenced by OCOM’s provision and Cruse’s use of that office space

for approximately ten years.

       325.   The Credit Card Scheme (paragraph 105, supra): Cruse and the OCOM

Defendants agreed as part of a single plan permit Cruse to use his personal credit card for

OCOM surgical supply purchases in order to accrue reward points. Cruse and the OCOM

Defendants acted in furtherance of this conspiracy, as evidenced by OCOM’s use of

Cruse’s personal credit card for such purchases.

       326.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

The SOS Defendants and the OCOM Defendants agreed as part of a single plan to form

and own and anesthesia company, which OCOM would use exclusively for anesthesia



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services. The SOS Defendants and OCOM Defendants acted in furtherance of this

conspiracy by forming, owning, and operating APO.

       327.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): USPI and USPH agreed as part of a single plan to form and own at least

twenty-two “UAP” anesthesia companies in six states, which local hospitals would use

exclusively for anesthesia services. USPI and USPH acted in furtherance of this conspiracy

by designing, forming or assisting in the formation of, owning, and operating or assisting

in the operation of these UAP entities to induce and reward referring physicians.

       328.   The E.R. Call Scheme (paragraphs 164 through 174, supra): The SOS

Defendants and the Integris Defendants agreed as part of a single plan that SOS would

provide exclusive orthopaedic services at ISMC in return for, and as reward for, patient

referrals for federally-insured patients for services at ISMC. The SOS Defendants and the

Integris Defendants have acted in furtherance of this conspiracy since August 2014 and

continue to act in furtherance of it today.

       329.   Each of the individual Defendants acted overtly, both independently and

collectively, to conspire to construct, orchestrate, and conceal the various Schemes

described herein.

       330.   By such overt acts of conspiracy, the Defendants violated the FCA and the

OKFCA. Conspiracy to violate AKS, Stark Law, FCA, and/or OKFCA renders all claims

for payment made to federal healthcare programs subject to the FCA and OKFCA.

       331.   Throughout the entire relevant period, Defendants would not have been paid

by federal healthcare programs but for Defendants’ affirmative and express false

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certifications in cost reports, attestations, EHR certifications, and individual claims for

payment, each repeatedly in deliberate disregard for their duty to not engage in conspiracies

to violate the AKS, Stark Law, FCA, and OKFCA.

          332.   Violation of 31 U.S.C. § 3729(a)(1)(C) is a material consideration made by

federal healthcare program administration of whether to make payment. If federal

healthcare program administrations would have known of the violations described herein,

the federal healthcare program administrations would not have made payment.

          333.   Pursuant to the FCA and OKFCA, Defendants are liable to the United States

and the State of Oklahoma for civil penalties as set forth therein, plus three (3) times the

amount of damages, and reasonable costs and attorney fees.

                                    Count Eight:
             Violation of the False Claims Act, 31 U.S.C. § 3729, et seq.
    Predicated on Violation of Consent Decree and Non-Prosecution Agreement
                    Against Defendant Tenet Healthcare System

          334.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          335.   Tenet failed to exercise that level of diligence it was obligated to exercise by

the NPA in managing and monitoring USP and its subsidiaries (paragraphs 227 through

237, supra).

          336.   Tenet failed to report to the DOJ or its compliance monitor its knowledge of

“actual or potential” violations.

          337.   As such, Tenet stands in violation of its NPA.




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         338.   Tenet’s violation of its NPA constitutes a violation of the FCA. Relator has

standing to bring such a claim on behalf of the government despite the fact that he was not

party to the NPA.

                                        Count Nine:
     Violations of the Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053.1 et
            seq., Predicated on Violations of the Stark Law, 42 U.S.C. § 1395nn

         339.   The allegations set forth above are hereby incorporated as if fully set forth

herein.89

         340.   Knowing violation of the Stark Law subjects all such claims for payment

made to the government by OCOM and ISMC as a result of these referrals, to the OKFCA.

Defendants’ submission of reimbursement claims to the government for services rendered

while the Defendant was in violation renders that claim false or fraudulent under the

OKFCA.

         341.   The Equity Scheme (paragraphs 107 through 123, supra): By and through

their Equity Scheme, the SOS Defendants and the OCOM Defendants violated the Stark

Law. Pursuant to this Stark Law violation, the SOS Defendants and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or




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   While unnecessary at this pleading stage, Relator alleges that Defendants’ conduct fails
to satisfy any Safe Harbor or exception as it has been repeatedly controlled by, offered, and
provided to the SOS Doctors’ inequitably. Defendants’ violative financial relationships
expressly take into account the volume and value of the SOS Doctors’ referrals of
federally-reimbursed DHS to OCOM.

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approval to the Government.90

      342.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): By and through their Employment Contract Scheme, the SOS Defendants and the

OCOM Defendants violated the Stark Law. Pursuant to this Stark Law violation, the SOS

Defendants and the OCOM Defendants knowingly presented, or caused to be presented

false or fraudulent claims for payment or approval to the Government.

      343.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra): By

and through their Surgical Scrub Scheme, Cruse, Langerman, and the OCOM Defendants

violated the Stark Law. Pursuant to this Stark Law violation, the SOS Defendants and the

OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government.

      344.   The Sham Lease Scheme (paragraphs 142 through 146, supra): By and

through their Sham Lease Scheme, Cruse, Langerman, and the OCOM Defendants violated

the Stark Law. Pursuant to this Stark Law violation, Cruse, Langerman, and the OCOM

Defendants knowingly presented, or caused to be presented false or fraudulent claims for

payment or approval to the Government.

      345.   The Office Space Scheme (paragraphs 147 through 149, supra): By and

through their Office Space Scheme, Cruse and the OCOM Defendants violated the Stark

Law. Pursuant to this Stark Law violation, Cruse and the OCOM Defendants knowingly


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  As used in this Section (Section VI “Counts”), “Government” refers to the United States
Government, the Government of the State of Oklahoma, and the relevant agencies
administering federal or state healthcare programs under each, as applicable.

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presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government.

       346.   The Credit Card Scheme (paragraph 150, supra): By and through their

Credit Card Scheme, Cruse and the OCOM Defendants violated the Stark Law. Pursuant

to this Stark Law violation, Cruse and the OCOM Defendants knowingly presented, or

caused to be presented a false and/or fraudulent claim for payment or approval to the

Government.

       347.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

By and through their Anesthesia Company Scheme, the SOS Defendants and the OCOM

Defendants violated the Stark Law. Pursuant to this Stark Law violation, the SOS

Defendants and the OCOM Defendants knowingly presented, or caused to be presented

false and/or fraudulent claims for payment or approval to the Government.

       348.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): USPI and UPSH violated the Stark Law through the national Anesthesia

Scheme. Pursuant to this Stark Law violation, the USPI and USPH Defendants knowingly

presented, or caused to be presented false and/or fraudulent claims for payment or approval

to the Government.

       349.   The E.R. Call Scheme (paragraphs 164 through 174, supra): By and

through their E.R. Call Scheme, the SOS Defendants and the Integris Defendants violated

the Stark Law. Pursuant to this Stark Law violation, the SOS Defendants and the Integris

Defendants knowingly presented, or caused to be presented false and/or fraudulent claims

for payment or approval to the Government.

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       350.   Certification (paragraphs 190 through 204, supra): By and through their

affirmative attestation of full compliance without violations of the Stark Law, The SOS

Defendants, the OCOM Defendants, and the Integris Defendants expressly falsely certified

compliance in Cost Reports, provider agreements, claims for payments, and the EHR

program. Each of the aforementioned violations of the Stark Law rendered the claims

submitted during the pendency of the respective violation a false and/or fraudulent claim

under the FCA and OKFCA.

       351.   At all relevant times and for each of Defendants’ Schemes—the Equity,

Employment Contract, Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia

Company, National Anesthesia, and E.R. Call Schemes—Defendants had actual

knowledge, acted in deliberate ignorance, or acted in reckless disregard of the false and/or

fraudulent nature of the claims for reimbursement they submitted or caused to be

submitted.

       352.   Violation of the Stark Law is material to federal healthcare programs’

consideration of whether to reimburse a claim; if federal healthcare programs had known

of the violations described herein, the federal healthcare programs would not have made

payment.

       353.   Pursuant to the OKFCA, the SOS Defendants and the OCOM Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to OCOM resulting from SOS

referrals from 2007 to 2017—and reasonable costs and attorney fees.

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          354.   Pursuant to the OKFCA, the SOS Defendants and the Integris Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to ISMC resulting from SOS

referrals and to SOS resulting from ISMC referrals from 2014 to Present—and reasonable

costs and attorney fees.

                                     Count Ten:
 Violations of the Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053.1 et
seq. Predicated on Violations of the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)

          355.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          356.   Violation of the Anti-Kickback Statute (“AKS”) subjects all such claims for

payment made to the government by OCOM and ISMC as a result of these referrals, to the

OKFCA. Defendants’ submission of reimbursement claims to the government for services

rendered while the Defendant was in violation renders that claim false or fraudulent under

the OKFCA.

          357.   The Equity Scheme (paragraphs 107 through 123, supra): Through the

Equity Scheme, the SOS Defendants and the OCOM Defendants violated the AKS. The

SOS Defendants knowingly solicited and received remuneration in the form of OCOM

Equity in return for, and as reward for, referrals to OCOM of services for which payment

may be made in whole or in part under a federal health care program. The OCOM

Defendants knowingly offered and/or paid remuneration to the SOS Defendants in the form

of OCOM Equity in return for, and as reward for, referrals to OCOM of services for which

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payment may be made in whole or in part under a federal health care program. Pursuant to

these AKS violations, the SOS Defendants and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government. The SOS Doctors referred federal healthcare program patients to OCOM

for DHS on account of these kickbacks. OCOM submitted claims for reimbursement to

federal healthcare programs for the DHS it provided pursuant to these unlawful referrals.

      358.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): By and through their Employment Contract Scheme, the SOS Defendants and the

OCOM Defendants violated the AKS. For over ten years, the SOS Defendants knowingly

solicited and received remuneration in the form of monthly rental payments, compensation,

and bonuses for SOS’s recruitment of new physicians. For over ten years, the OCOM

Defendants knowingly offered and/or paid remuneration in the form of monthly rental

payments, compensation, and bonuses for SOS’s recruitment of new physicians. Pursuant

to these AKS violations, the SOS Defendants and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government. The SOS Doctors referred federal healthcare program patients to OCOM

for DHS on account of these kickbacks. OCOM submitted claims for reimbursement to

federal healthcare programs for the DHS it provided pursuant to these unlawful referrals.

      359.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra): By

and through their Surgical Scrub Scheme, Langerman, Cruse, and the OCOM Defendants

violated the AKS. Langerman and Cruse knowingly solicited and received remuneration

in the form of OCOM hiring and compensating Langerman and Cruse’s personal scrub

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techs in return for, and as reward for, referrals of federally-insured patients for services at

OCOM. The OCOM Defendants knowingly offered and paid remuneration in the form of

OCOM hiring and compensating Langerman and Cruse’s personal scrub techs in return

for, and as reward for, referrals of federally-insured patients for services at OCOM.

Pursuant to these AKS violations, Cruse, Langerman, and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or

approval to the Government. Cruse and Langerman referred federal healthcare program

patients to OCOM for DHS on account of these kickbacks. OCOM submitted claims for

reimbursement to federal healthcare programs for the DHS it provided pursuant to these

unlawful referrals.

       360.   The Sham Lease Scheme (paragraphs 142 through 146, supra): By and

through their Sham Lease Scheme, Cruse, Langerman, and the OCOM Defendants violated

the AKS. Cruse and Langerman knowingly solicited and received remuneration in the form

of OCOM continuing lease payments for a facility it did not use in return for, and as reward

for, referrals of federally-insured patients for services at OCOM. The OCOM Defendants

knowingly offered and paid remuneration in the form of OCOM continuing lease payments

for a facility it did not use in return for, and as reward for, referrals of federally-insured

patients for services at OCOM. Pursuant to these AKS violations, Cruse, Langerman, and

the OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government. Cruse and Langerman referred federal

healthcare program patients to OCOM for DHS on account of these kickbacks. OCOM



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submitted claims for reimbursement to federal healthcare programs for the DHS it provided

pursuant to these unlawful referrals.

       361.   The Office Space Scheme (paragraphs 147 through 149, supra): By and

through their Office Space Scheme, Cruse and the OCOM Defendants violated the AKS.

For approximately the last ten years, Cruse knowingly solicited and received remuneration

in the form of free office space provided by OCOM to Cruse for his personal business

interests and personal affairs in return for, and as reward for, patient referrals for federally-

insured patients for services at OCOM. The OCOM Defendants knowingly offered and

paid remuneration in the form of free office space provided by OCOM to Cruse for his

personal business interests and personal affairs in return for, and as reward for, patient

referrals for federally-insured patients for services at OCOM. Pursuant to these AKS

violations, Cruse and the OCOM Defendants knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government. Cruse

referred federal healthcare program patients to OCOM for DHS on account of these

kickbacks. OCOM submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       362.   The Credit Card Scheme (paragraph 150, supra): By and through their

Credit Card Scheme, Cruse and the OCOM Defendants violated the AKS. Cruse knowingly

solicited and/or received indirect remuneration in the form of credit card reward points for

OCOM’s purchase of surgical goods and supplies in return for, and as reward for, patient

referrals for federally-insured patients for services at OCOM. The OCOM Defendants

knowingly offered and/or paid indirect remuneration in the form of credit card reward

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points for OCOM’s purchase of surgical goods and supplies in return for, and as reward

for, patient referrals for federally-insured patients for services at OCOM. Pursuant to these

AKS violations, Cruse and the OCOM Defendants knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government. Cruse

referred federal healthcare program patients to OCOM for DHS on account of these

kickbacks. OCOM submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       363.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

By and through their Anesthesia Company Scheme, the SOS Doctors, Kimzey, and USP

violated the AKS. knowingly solicited, received, offered, and/or paid remuneration in the

form of distributions from APO in return for, and as reward for, patient referrals for

federally-insured patients for DHS, specifically, anesthesia services. The SOS Doctors who

own APO refer patients to OCOM knowing OCOM will exclusively use APO to provide

anesthesia services to these patients, thereby causing APO to make claims for

reimbursement to federal healthcare programs for these services. APO made claims for

payment to federal healthcare programs for these services for patients referred by the SOS

Doctors. By and through their Anesthesia Company Scheme, the SOS Defendants and the

OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government.

       364.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): By and through their National Anesthesia Company Scheme, USPI and UPSH

violated the AKS. USPI and USPH entered into a prohibited financial relationship with at

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least twenty-two facilities owned at least in part and/or managed by USPI, USPH and their

affiliates. These financial arrangements were structured the same as the APO model (supra)

to allow referring physicians to receive remuneration from receipts generated from

anesthesia services provided to patient referrals for DHS. The Doctors who own these

anesthesia companies referred patients to the affiliated facilities knowing they could direct

the affiliated facility to, and it would, use the local anesthesia company exclusively to

provide anesthesia services to these patients, thereby causing claims for payment to federal

healthcare programs for these anesthesia services. By and through their formation and

ownership of UAP anesthesia companies, USPI and UPSH knew that referrals for DHS

requiring anesthesia would constitute a referral to the UAP entity. Those UAP entities

made claims for payment to federal healthcare programs for anesthesia services for patients

referred by their owners. By and through their National Anesthesia Company Scheme,

USPI and USPH knowingly presented, or caused to be presented false or fraudulent claims

for payment or approval to the Government.

       365.   The E.R. Call Scheme (paragraphs 164 through 174, supra): By and

through their E.R. Call Scheme, the SOS Defendants and the Integris Defendants violated

the AKS. Since August 2014 and continuing today, the SOS Defendants knowingly

solicited and/or received remuneration in the form of ISMC providing an exclusive

orthopaedic services contract to SOS in return for, and as reward for, patient referrals for

federally-insured patients for services at ISMC. The Integris Defendants knowingly offered

and/or paid remuneration in the form of ISMC providing an exclusive orthopaedic services

contract to SOS in return for, and as reward for, patient referrals for federally-insured

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patients for services at ISMC. Pursuant to these AKS violations, the SOS Defendants and

the Integris Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government. The SOS Defendants referred federal

healthcare program patients to OCOM for services on account of these kickbacks. The

Integris Defendants submitted claims for reimbursement to federal healthcare programs for

the DHSs it provided pursuant to these unlawful referrals.

       366.   Defendants USP, USPI, USP Holding Company, Inc., Integris, and Tenet, in

their roles as owners and/or operators of OCOM, violated the AKS by knowingly agreeing

with the soliciting, receiving, offering, and/or paying remuneration in the various forms

and unlawful arrangements described herein, in return for, and as reward for, referral of

federally-insured patients for DHS.

       367.   The free services provided by OCOM and USP to SOS, such as the free pre-

authorization services for MRI and PT, constitutes the soliciting, receiving, offering, and/or

paying remuneration between SOS and OCOM. This financially beneficial relationship is

not in writing. OCOM provided it only to SOS because OCOM took into account the

volume and value of SOS Doctors’ referrals. OCOM’s objective in so doing was to secure

more referrals from SOS, and to assist SOS in lowering its overhead costs.

       368.   By and through their affirmative attestation of full compliance without

violations of the AKS, the SOS Defendants, the OCOM Defendants, and the Integris

Defendants expressly falsely certified compliance in Cost Reports, provider agreements,

claims for payments, and the EHR program. Each of the aforementioned violations of the



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AKS rendered the claims submitted during the pendency of the respective violation a false

and/or fraudulent claim under the FCA and OKFCA.

       369.   At all relevant times and for each of Defendants’ Schemes—the Equity,

Employment Contract, Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia

Company, and E.R. Call Schemes—Defendants had actual knowledge, acted in deliberate

ignorance, or acted in reckless disregard of the false and/or fraudulent nature of the claims

for reimbursement they submitted or caused to be submitted.

       370.   Violation of the AKS is material to federal healthcare programs’

consideration of whether to reimburse a claim; if federal healthcare programs had known

of the violations described herein, the federal healthcare programs would not have made

payment.

       371.   Pursuant to the OKFCA, the SOS Defendants and the OCOM Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to OCOM resulting from SOS

referrals from 2007 to 2017—and reasonable costs and attorney fees.

       372.   Pursuant to the OKFCA, the SOS Defendants and the Integris Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to ISMC resulting from SOS

referrals and to SOS resulting from ISMC referrals from 2014 to Present—and reasonable

costs and attorney fees.

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                                  Count Eleven:
 Violations of the Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053.1 et
     seq., Predicated on Violations of Oklahoma Anti-Kickback Prohibitions

          373.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          374.   The Oklahoma Medicaid Program Integrity Act (“OMPIA”), 56 Okla. Stat.

§ 1005, outlaws kickbacks in connection with the Oklahoma Medicaid Program.

          375.   Violation of the OMPIA subjects all such claims for payment made to the

government by OCOM and ISMC as a result of these referrals, to the OKFCA. Defendants’

submission of reimbursement claims to the government for services rendered while the

Defendant was in violation renders that claim false or fraudulent under the OKFCA.

          376.   The Equity Scheme (paragraphs 107 through 123, supra): Through the

Equity Scheme, the SOS Defendants and the OCOM Defendants violated the OMPIA. The

SOS Defendants knowingly solicited and received remuneration in the form of OCOM

Equity in return for, and as reward for, referrals to OCOM of services for which payment

may be made in whole or in part under a federal health care program. The OCOM

Defendants knowingly offered and/or paid remuneration to the SOS Defendants in the form

of OCOM Equity in return for, and as reward for, referrals to OCOM of services for which

payment may be made in whole or in part under a federal health care program. Pursuant to

these OMPIA violations, the SOS Defendants and the OCOM Defendants knowingly

presented, or caused to be presented false or fraudulent claims for payment or approval to

the Government. The SOS Doctors referred federal healthcare program patients to OCOM



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for DHS on account of these kickbacks. OCOM submitted claims for reimbursement to

federal healthcare programs for the DHS it provided pursuant to these unlawful referrals.

       377.   The Employment Contract Scheme (paragraphs 124 through 133,

supra): By and through their Employment Contract Scheme, the SOS Defendants and the

OCOM Defendants violated the OMPIA. For over ten years, the SOS Defendants

knowingly solicited and received remuneration in the form of monthly rental payments,

compensation, and bonuses for SOS’s recruitment of new physicians. For over ten years,

the OCOM Defendants knowingly offered and/or paid remuneration in the form of monthly

rental payments, compensation, and bonuses for SOS’s recruitment of new physicians.

Pursuant to these OMPIA violations, the SOS Defendants and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or

approval to the Government. The SOS Doctors referred federal healthcare program patients

to OCOM for DHS on account of these kickbacks. OCOM submitted claims for

reimbursement to federal healthcare programs for the DHS it provided pursuant to these

unlawful referrals.

       378.   The Surgical Scrub Scheme (paragraphs 136 through 141, supra): By

and through their Surgical Scrub Scheme, Langerman, Cruse, and the OCOM Defendants

violated the OMPIA. Langerman and Cruse knowingly solicited and received remuneration

in the form of OCOM hiring and compensating Langerman and Cruse’s personal scrub

techs in return for, and as reward for, referrals of federally-insured patients for services at

OCOM. The OCOM Defendants knowingly offered and paid remuneration in the form of

OCOM hiring and compensating Langerman and Cruse’s personal scrub techs in return

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for, and as reward for, referrals of federally-insured patients for services at OCOM.

Pursuant to these OMPIA violations, Cruse, Langerman, and the OCOM Defendants

knowingly presented, or caused to be presented false or fraudulent claims for payment or

approval to the Government. Cruse and Langerman referred federal healthcare program

patients to OCOM for DHS on account of these kickbacks. OCOM submitted claims for

reimbursement to federal healthcare programs for the DHS it provided pursuant to these

unlawful referrals.

       379.   The Sham Lease Scheme (paragraphs 142 through 146, supra): By and

through their Sham Lease Scheme, Cruse, Langerman, and the OCOM Defendants violated

the OMPIA. Cruse and Langerman knowingly solicited and received remuneration in the

form of OCOM continuing lease payments for a facility it did not use in return for, and as

reward for, referrals of federally-insured patients for services at OCOM. The OCOM

Defendants knowingly offered and paid remuneration in the form of OCOM continuing

lease payments for a facility it did not use in return for, and as reward for, referrals of

federally-insured patients for services at OCOM. Pursuant to these OMPIA violations,

Cruse, Langerman, and the OCOM Defendants knowingly presented, or caused to be

presented false or fraudulent claims for payment or approval to the Government. Cruse and

Langerman referred federal healthcare program patients to OCOM for DHS on account of

these kickbacks. OCOM submitted claims for reimbursement to federal healthcare

programs for the DHS it provided pursuant to these unlawful referrals.

       380.   The Office Space Scheme (paragraphs 147 through 149, supra): By and

through their Office Space Scheme, Cruse and the OCOM Defendants violated the

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OMPIA. For approximately the last ten years, Cruse knowingly solicited and received

remuneration in the form of free office space provided by OCOM to Cruse for his personal

business interests and personal affairs in return for, and as reward for, patient referrals for

federally-insured patients for services at OCOM. The OCOM Defendants knowingly

offered and paid remuneration in the form of free office space provided by OCOM to Cruse

for his personal business interests and personal affairs in return for, and as reward for,

patient referrals for federally-insured patients for services at OCOM. Pursuant to these

OMPIA violations, Cruse and the OCOM Defendants knowingly presented, or caused to

be presented false or fraudulent claims for payment or approval to the Government. Cruse

referred federal healthcare program patients to OCOM for DHS on account of these

kickbacks. OCOM submitted claims for reimbursement to federal healthcare programs for

the DHS it provided pursuant to these unlawful referrals.

       381.   The Credit Card Scheme (paragraph 150, supra): By and through their

Credit Card Scheme, Cruse and the OCOM Defendants violated the OMPIA. Cruse

knowingly solicited and/or received indirect remuneration in the form of credit card reward

points for OCOM’s purchase of surgical goods and supplies in return for, and as reward

for, patient referrals for federally-insured patients for services at OCOM. The OCOM

Defendants knowingly offered and/or paid indirect remuneration in the form of credit card

reward points for OCOM’s purchase of surgical goods and supplies in return for, and as

reward for, patient referrals for federally-insured patients for services at OCOM. Pursuant

to these OMPIA violations, Cruse and the OCOM Defendants knowingly presented, or

caused to be presented false or fraudulent claims for payment or approval to the

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Government. Cruse referred federal healthcare program patients to OCOM for DHS on

account of these kickbacks. OCOM submitted claims for reimbursement to federal

healthcare programs for the DHS it provided pursuant to these unlawful referrals.

       382.   The Anesthesia Company Scheme (paragraphs 151 through 163, supra):

By and through their Anesthesia Company Scheme, the SOS Doctors, Kimzey, and USP

violated the OMPIA. These Defendants knowingly solicited, received, offered, and/or paid

remuneration in the form of distributions from APO in return for, and as reward for, patient

referrals for federally-insured patients for DHS, specifically, anesthesia services. The SOS

Doctors who own APO refer patients to OCOM knowing OCOM will exclusively use APO

to provide anesthesia services to these patients, thereby causing APO to make claims for

reimbursement to federal healthcare programs for these services. APO made claims for

payment to federal healthcare programs for these services for patients referred by the SOS

Doctors. By and through their Anesthesia Company Scheme, the SOS Defendants and the

OCOM Defendants knowingly presented, or caused to be presented false or fraudulent

claims for payment or approval to the Government.

       383.   The National Anesthesia Company Scheme (paragraphs 151 through

163, supra): By and through their National Anesthesia Company Scheme, USPI and UPSH

violated the OMPIA. USPI and USPH entered into a prohibited financial relationship with

at least twenty-two facilities owned at least in part and/or managed by USPI, USPH and

their affiliates. These financial arrangements were structured the same as the APO model

(supra) to allow referring physicians to receive remuneration from receipts generated from

anesthesia services provided to patient referrals for DHS. The Doctors who own these

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anesthesia companies referred patients to the affiliated facilities knowing they could direct

the affiliated facility to, and it would, use the local anesthesia company exclusively to

provide anesthesia services to these patients, thereby causing claims for payment to federal

healthcare programs for these anesthesia services. By and through their formation and

ownership of UAP anesthesia companies, USPI and UPSH knew that referrals for DHS

requiring anesthesia would constitute a referral to the UAP entity. Those UAP entities

made claims for payment to federal healthcare programs for anesthesia services for patients

referred by their owners. By and through their National Anesthesia Company Scheme,

USPI and USPH knowingly presented, or caused to be presented false or fraudulent claims

for payment or approval to the Government.

       384.   The E.R. Call Scheme (paragraphs 164 through 174, supra): By and

through their E.R. Call Scheme, the SOS Defendants and the Integris Defendants violated

the OMPIA. Since August 2014 and continuing today, the SOS Defendants knowingly

solicited and/or received remuneration in the form of ISMC providing an exclusive

orthopaedic services contract to SOS in return for, and as reward for, patient referrals for

federally-insured patients for services at ISMC. The Integris Defendants knowingly offered

and/or paid remuneration in the form of ISMC providing an exclusive orthopaedic services

contract to SOS in return for, and as reward for, patient referrals for federally-insured

patients for services at ISMC. Pursuant to these OMPIA violations, the SOS Defendants

and the Integris Defendants knowingly presented, or caused to be presented false or

fraudulent claims for payment or approval to the Government. The SOS Defendants

referred federal healthcare program patients to ISMC for services on account of these

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kickbacks. ISMC referred federal healthcare program patients to SOS for services on

account of these kickbacks. The SOS and Integris Defendants submitted claims for

reimbursement to federal healthcare programs for the DHSs it provided pursuant to these

unlawful referrals.

       385.   Defendants USP, USPI, USP Holding Company, Inc., Integris, and Tenet, in

their roles as owners and/or operators of OCOM, violated the OMPIA by knowingly

agreeing with the soliciting, receiving, offering, and/or paying remuneration in the various

forms and unlawful arrangements described herein, in return for, and as reward for, referral

of federally-insured patients for DHS.

       386.   The free services provided by OCOM and USP to SOS, such as the free pre-

authorization services for MRI and PT, constitutes the soliciting, receiving, offering, and/or

paying remuneration between SOS and OCOM. This financially beneficial relationship is

not in writing. OCOM provided it only to SOS because OCOM took into account the

volume and value of SOS Doctors’ referrals. OCOM’s objective in so doing was to secure

more referrals from SOS, and to assist SOS in lowering its overhead costs.

       387.   By and through their affirmative attestation of full compliance without

violations of the OMPIA, The SOS Defendants, the OCOM Defendants, and the Integris

Defendants expressly falsely certified compliance in Cost Reports, provider agreements,

claims for payments, and the EHR program. Each of the aforementioned violations of the

OMPIA rendered the claims submitted during the pendency of the respective violation a

false and/or fraudulent claim under the OKFCA.

       388.   At all relevant times and for each of Defendants’ Schemes—the Equity,

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Employment Contract, Surgical Scrub, Sham Lease, Office Space, Credit Card, Anesthesia

Company, and E.R. Call Schemes—Defendants had actual knowledge, acted in deliberate

ignorance, or acted in reckless disregard of the false and/or fraudulent nature of the claims

for reimbursement they submitted or caused to be submitted.

       389.   Violation of the OMPIA is material to federal healthcare programs’

consideration of whether to reimburse a claim; if federal healthcare programs had known

of the violations described herein, the federal healthcare programs would not have made

payment.

       390.   Pursuant to the OKFCA, the SOS Defendants and the OCOM Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to OCOM resulting from SOS

referrals from 2007 to 2017—and reasonable costs and attorney fees.

       391.   Pursuant to the OKFCA, the SOS Defendants and the Integris Defendants

(and their related/affiliated owners and operators) are liable to the State of Oklahoma for

civil penalties as set forth therein, plus three (3) times the amount of damages—which is

at lease the amount of all Medicaid-funded reimbursements to ISMC resulting from SOS

referrals and to SOS resulting from ISMC referrals from 2014 to Present—and reasonable

costs and attorney fees.




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                                Count Twelve:
 Violations of the Oklahoma Medicaid False Claims Act, 63 Okla. Stat. § 5053.1 et
                         seq.—“Factually False Claims”

          392.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          393.   The Ultrasound Scheme (paragraphs 177 through 185, supra): By and

through their Ultrasound Scheme, the SOS Defendants presented and/or caused to be

presented false or fraudulent claims for payment or approval to the federal healthcare

programs. The SOS Defendants made, used, and/or caused to be made and/or used false

records and/or statements to request payment from federal healthcare programs. These

claims sought reimbursement for ultrasound guidance for injections when (1) that

ultrasound guidance was not medically necessary; (2) that ultrasound guidance was not

actually used; or (3) a P.A. used the ultrasound guidance without the required level of

supervision. All claims the SOS Defendants submitted to federal healthcare programs for

reimbursement are subject to the FCA and OKFCA as false claims. The SOS Defendants

knew these claims were false or fraudulent. The SOS Defendants’ misrepresentations to

the federal healthcare programs were material to the Governments’ payment decision.

          394.   The Levings P.A. Scheme (paragraphs 186 through 189, supra): By and

through their Levings P.A. Scheme, the SOS Defendants submitted and/or caused to be

submitted false or fraudulent claims for payment or approval to the federal healthcare

programs. The SOS Defendants made, used, and/or caused to be made and/or used false

records and/or statements to request payment from federal healthcare programs for

Levings’s improperly billed P.A. service. Therefore, all claims by these Defendants made

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to those programs for reimbursement are subject to the FCA and OKFCA as false claims.

The SOS Defendants knew these claims were false or fraudulent. The SOS Defendants’

misrepresentations to the federal healthcare programs was material to the Governments’

payment decision.

      395.   Defendants’ False Claims of EHR Compliance (paragraphs 194 through

201, supra): The SOS Defendants and the OCOM Defendants submitted and/or caused to

be submitted false or fraudulent claims for payment or approval to the federal healthcare

programs. The SOS Defendants and the OCOM Defendants made, used, and/or caused to

be made and/or used false records and/or statements to request payment from federal

healthcare programs. Therefore, all claims by these Defendants made to those programs

for reimbursement are subject to the FCA and OKFCA as false claims. The SOS

Defendants and the OCOM Defendants knew these claims were false or fraudulent. The

SOS Defendants’ and the OCOM Defendants’ misrepresentations to the federal healthcare

programs was material to the Governments’ payment decision.

      396.   By their violations of the FCA, and the OKFCA, all claims Defendants made

to the OHCA for payment are subject to the OKFCA as false claims.

      397.   Throughout the relevant periods for each such arrangement, each of these

Defendants have submitted or caused to be submitted claims for payment to Oklahoma

Medicaid and other State healthcare programs for DHS for federally-insured patients.

      398.   Violation of the FCA, and/or OKFCA renders all claims for payment made

to a federal healthcare program administration subject to the FCA and OKFCA.



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          399.   Violation of 63 Okla. Stat. § 5053.1 is a material consideration made by

federal healthcare program administration of whether to make payment. If the reimbursing

administration would have known of the violations described herein, it would not have

made payment.

          400.   Pursuant to the OKFCA, the SOS Defendants and the OCOM Defendants are

liable to the State of Oklahoma for civil penalties as set forth therein, plus three (3) times

the amount of damages, and reasonable costs and attorney fees.

                                      Count Thirteen:
                             Violations of the False Claims Act
                    Prohibition Against Retaliation, 31 U.S.C. § 3730(h)

          401.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          402.   The SOS Defendants retaliated against Relator in violation of the FCA

(paragraphs 205 through 226, supra). Relator disclosed the Levings P.A. Scheme to SOS

Doctors, refused to be SOS’s attorney, and reminded the SOS Doctors of their duties under

the law. Defendant SOS and the SOS Doctors attempted to intimidate Relator and

thereafter decreased Relator’s job duties, hours and compensation.

          403.   Relator warned the SOS Defendants about their pre-signing of prescription

pads, the Ultrasound Scheme, the use of cheat sheets to circumvent preauthorization, and

compliance related to their orthotic endeavors. The SOS Defendants ignored these

warnings and ultimately retaliated against Relator for making them.




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          404.   SOS, via OCOM CEO Kimzey, terminated Relator on January 31, 2017,

without cause, and thereafter failed to make payment of the amounts owed Relator as an

SOS employee.

          405.   When SOS learned of a government investigation and suspected Relator had

made a disclosure, SOS hired McAfee white-collar criminal defense attorneys and brought

suit against Relator in State Court.

          406.   Under the FCA Relator is entitled to relief for such damages, including

reinstatement, two times the amount of back pay, interest on the back pay, and

compensation for any special damages sustained from the discrimination, including

litigation costs and reasonable attorneys’ fees.

                                     Count Fourteen:
                  Violation of the Oklahoma Medicaid False Claims Act
                  Prohibition Against Retaliation, 63 Okla. Stat. § 5053.5

          407.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          408.   The SOS Defendants retaliated against Relator in violation of the OKFCA

(paragraphs 205 through 226, supra). When Relator disclosed the Levings P.A. Scheme to

SOS Doctors, refused to be SOS’s attorney, and reminded the SOS Doctors of their duties

under the law, Defendant SOS and the SOS Doctors attempted to intimidate Relator and

thereafter decreased Relator’s job duties, hours and compensation.

          409.   Relator warned the SOS Defendants about their pre-signing of prescription

pads, the Ultrasound Scheme, the use of cheat sheets to circumvent preauthorization



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requirements, and compliance related to their orthotic endeavors. The SOS Defendants

ignored these warnings and ultimately retaliated against relator for making them.

          410.   SOS, via OCOM CEO Kimzey, terminated Relator on January 31, 2017,

without cause, and thereafter failed to make payment of amounts due Relator as an SOS

employee.

          411.   When SOS learned of a government investigation and suspected Relator had

made a disclosure, SOS hired white-collar criminal defense attorneys from the lawfirm of

McAfee-Taft and brought suit against Relator in State Court.

          412.   Under the OKFCA Relator is entitled to relief for such damages, including

reinstatement, two times the amount of back pay, interest on the back pay, and

compensation for any special damages sustained from the discrimination, including

litigation costs and reasonable attorneys’ fees.

                                     VII.   JURY TRIAL

          413.   The allegations set forth above are hereby incorporated as if fully set forth

herein.

          414.   Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the

Plaintiff/Relator hereby demands trial by jury.

          WHEREFORE, Relator, on behalf of himself, the United States, and the State of

Oklahoma, prays that the Court enter judgment against Defendants in an amount equal to

three times the amount of damages the United States and the State of Oklahoma have

sustained because a Defendants’ actions plus a civil penalty of between $5,500 and $11,000

for each violation under the FCA and between $5,000 and $10,000 under the OKFCA; that

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Relator be awarded an amount that the Court decides is reasonable for collecting the civil

penalty and damages, which shall be at least 15% and not more than 25% of the proceeds

of the action or settlement of the claim if the United States and/or the State of Oklahoma

intervenes, and not less than 25% nor more than 30% of the proceeds of the action or

settlement of the claim if the United States and/or the State of Oklahoma does not

intervene; that the Relator be awarded all costs and expenses incurred, including reasonable

attorney’s fees and costs; that Relator be awarded an amount equal to two times the amount

of back pay, interest on the back pay, and compensation for any special damages sustained

as a result of the retaliation, including litigation costs and reasonable attorneys’ fees; and

that the Court order all such other relief as the Court may deem appropriate.

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                        Respectfully submitted,

                         /s Michael Burrage

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                             CERTIFICATE OF SERVICE

I hereby certify that on June 14, 2018, I filed the attached document with the Clerk of

Court. Based on the records currently on file in this case, the Clerk of Court will transmit

a Notice of Electronic Filing to those registered participants of the Electronic Case Filing

System.

                                          /s Michael Burrage

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